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Rebecca L. Hill, USB # 06246
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Salt Lake City, Utah 84111
Telephone:(801) 323-5000

Attorneysfor Defendant Viad Corp.f/k/a
The Dial Corporation


                          UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH,CENTRAL DIVISION

 HOWARD WADE AND
 DEANNA LYNN WADE,                                     DECLARATION OF REBECCA L.
                                                      HILL IN SUPPORT OF DEFENDANT
 Plaintiffs,                                                   VIAD CORP.'S
                                                      NOTICE OF REMOVAL PURSUANT
 v.                                                           TO 28 U.S.C.§ 1442

 INDUSTRIAL SUPPLY COMPANY,INC.
 et al.,
                                                               Case No.
 Defendants.




        Pursuant to 28 U.S.C. § 1746, 1, Rebecca L. Hill, states as follows:

        1.      I am a resident of Salt Lake City, Utah and I am over eighteen years of age.

        2.      I am counsel of record representing Defendant Viad Corp. f/k/a The Dial

 Corporation ("Viad") sued erroneously herein as successor-in-interest to Griscom Russell Co.

("Griscom-Russell")in the above-captioned suit. As counsel, I have personal knowledge of all of

 the matters set forth herein, except as to those matters stated upon information belief, which I in

 good faith believe to be true.

        3.      Attached hereto as Exhibit A is a true copy ofthe Summons and Original Complaint


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and Jury Demanded ("Complaint") in the matter of Howard Dean et al. v. Industrial Supply

Company et al., filed in the Third Judicial District Court, in and for Salt Lake County, State of

Utah on December 29, 2021, Case No. 210907011.

       4.      Attached hereto as Exhibit B is a true copy of the Declaration of Charles R.

Cushing, Ph.D., P.E.

       5.      Attached hereto as Exhibit C is a true copy ofthe Declaration of Rear Admiral Ben

J. Lehman, U.S. Navy, Ret., including attachments and affidavits thereto, that was submitted in

the action styled Genevieve Schroeder et al. v. A. W. Chesterton, et al., United States District Court

for the Central District of California (Civil Docket No.: CV11-00738(VBK).

       6.      Attached hereto as Exhibit D is true copy of the slip opinion issued in Reaser v.

Allis Chambers Corp., CV 08-1296-SVW (SSx (C.D. Cal. June 23, 2008).

       7.      Attached hereto as Exhibit E is a true copy of the Notice of Filing of Notice of

Removal which I caused to be, or will cause to be, timely filed in the Third Judicial District Court

in and for Salt Lake County, State of Utah.

DATED 14th       day of February, 2022.




                                               Rebecca L. Hill
                                               Attorney for Defendant Viad Corp.f/k/a
                                               The Dial Corporation




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                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     01/13/2022
                                                                                                     CT Log Number 540879436
  TO:         Jennie Kaleta
              VIAD CORP
              7000 E 1ST AVE
              SCOTTSDALE, AZ 85251-4304

  RE:         Process Served in Utah

  FOR:        Viad Corp (Domestic State: DE)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                                 Re: HOWARD WADE and DEANA LYN WADE // To: Viad Corp
  DOCUMENT(S) SERVED:                              --
  COURT/AGENCY:                                    None Specified
                                                   Case # 210907011
  NATURE OF ACTION:                                Asbestos Litigation - Personal Injury
  ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Midvale, UT
  DATE AND HOUR OF SERVICE:                        By Certified Mail on 01/13/2022 postmarked: "Not Post Marked"
  JURISDICTION SERVED :                            Utah
  APPEARANCE OR ANSWER DUE:                        None Specified
  ATTORNEY(S) / SENDER(S):                         None Specified
  ACTION ITEMS:                                    CT has retained the current log, Retain Date: 01/13/2022, Expected Purge Date:
                                                   01/18/2022

                                                   Image SOP

                                                   Email Notification, Jonathan Massimino jmassimino@viad.com

                                                   Email Notification, Jennie Kaleta jkaleta@ges.com

                                                   Email Notification, Lynne Kelly lkelly@viad.com

                                                   Email Notification, Kaitlyn Fleming kfleming@ges.com

                                                   Email Notification, Carolyn Whyte cwhyte@viad.com

  REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                   1108 E. South Union Avenue
                                                   Midvale, UT 84047
                                                   866-665-5799
                                                   SouthTeam2@wolterskluwer.com
  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
  relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
  of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                     Page 1 of 2 / OM
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                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      01/13/2022
                                                                                                      CT Log Number 540879436
  TO:         Jennie Kaleta
              VIAD CORP
              7000 E 1ST AVE
              SCOTTSDALE, AZ 85251-4304

  RE:         Process Served in Utah

  FOR:        Viad Corp (Domestic State: DE)




  advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
  therein.




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                                                                          _CERTIFIED-MAIL•
                                                 Case 2:22-cv-00097-HCN Document 2-1 Filed 02/14/22 PageID.15 Page 5 of 321


                  N EMEROFF
                  LAW FIRM
                   N ATIONAL TRIAL LAWYERS


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                                                                             VIAD CORP.f/k/a the DIAL CORPORATION,
                                                                             individually and as successor in
                                                                             interest to GRISCOMB-RUSSELL COMPANY
                                                                             c/o CT Corporation System
                                                                             1 108 East South Union Avenue
                                                                             Midvale, UT 84047
 Case 2:22-cv-00097-HCN Document 2-1 Filed 02/14/22 PageID.16 Page 6 of 321




Richard I. Nemeroff,#13966
THE NEMEROFF LAW FIRM
A PROFESSIONAL CORPORATION
5532 Lillehammer Lane, Suite 100
Park City, UT 84098
Tel: 435-602-4470
Fax: 435-602-4471
E-mail: ricknemeroff@nemerofflaw.com
Attorneys for Plaintiffs


                      IN THE THIRD JUDICIAL DISTRICT COURT

                IN AND FOR SALT LAKE COUNTY,STATE OF UTAH


HOWARD WADE AND
DEANA LYNN WADE,
                                                             SVINIONS
            Plaintiffs,
                                                            Case No. 210907011
      V.

INDUSTRIAL SUPPLY COMPANY,                                Judge Randall Skanchy
INC., et al.,

            Defendants.


                           STAIE OP VTA.71TO DEPENDANT:

WAD CORP. FIcia the DIAL CORPORATION,individually and as successor in
interest to GRISCOMB-RUSSELL COMPANY
c/o CT Corporation System
1108 East South Union Avenue
Midvale, UT 84047

        You are hereby summoned and required to file an answer in writing to the attached Complaint
with the clerk of the above-entitled Court at 450 South State Street, Salt Lake City, Utah 84101, and to
serve upon or mail to Plaintiffs' attorney, Richard I. Nemeroff, The Nemeroff Law Firm, 3355 West
Alabama Street, Suite 650, Houston, Texas 77098, a copy of said answer, pursuant to §1 Paragraph 4 of
In Re: Asbestos Litigation Case Management Order No. 1 within forty five (45) days after service of this
Summons upon you.




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       If you fail to do so,judgment by default will be taken against you for the relief demanded in said
Complaint, which has been filed with the clerk of said Court and a copy of which is hereby annexed and
herewith served upon you.

        I declare under criminal penalty under the law of Utah that everything stated in this document is
true.

        DATED this 6th day of January 2022.

                                             THE NEMEROFF LAW FIRM
                                             A PROFESSIONAL CORPORATION




                                             Richard I. Nemeroff, l quire
                                             Attorney for the Plaintiffs




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  Richard I. Nemeroff, #13966
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  Attorneys for Plaintiffs



                         IN THE THIRD JUDICIAL DISTRICT COURT

                    MT AND FOR SALT LAKE COUNTY,STATE OF UTAH


   HOWARD WADE and
   DEANA LYN WADE,                                      ORIGINAL COMPLAINT
                                                        AND JURY DEMANDED
               Plaintiffs,


         V.


   INDUSTRIAL SUPPLY COMPANY,
                                                          case No.21090701 1
   INC., et al.
                                                              Judge Randall Skanchy
               Defendants,



                               CIVIL ACTION COMPLAINT

         PLAINTIFFS, Howard Wade and Deana Lyn Wade, his wife, by and through their

  attorneys, the Nemeroff Law Firm, A Professional Corporation, hereby bring this Civil Action

 Complaint, whereof the following is a statement:
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                                   JURISDICTION AND VENUE

          1.      This Court has personal jurisdiction over the Defendants because the Defendants

  are duly licensed to do business in the State of Utah and/or at all material times are or have been

  engaged in business in the State of Utah.

         2.       Each defendant identified on Exhibit A is amenable to suit in the State of Utah by

  reason of having sold, distributed, and/or installed the aforementioned asbestos-containing products

  in Utah or by reason ofhaving placed the same into the stream ofcommerce for use in Utah,and by reason

  ofhaving committed tortious acts against the Plaintiff in this state in addition to Defendants other

  general construction product business sales.

         3.       Venue is proper in Salt Lake County, Utah in that one or more Defendants maintain

  its principal office or principal place of business in Salt Lake County under Section 78-13-7,

  U.C.A., 1953.

                                           BACKGROUND

         4.       Plaintiffs, Howard Wade and Deana Lyn Wade, his wife,(hereinafter "Plaintiffs),

  are citizens and residents of Washington County in the State of Utah.

         5.       Plaintiffs bring this action for monetary damages as a result of Plaintiff, Howard

  Wade, contracting an incurable asbestos cancer that Mr. Wade was diagnosed with as a result of

  breathing asbestos dust. Plaintiff Howard Wade was diagnosed with Malignant Mesothelioma, a

  signal tumor for exposure to asbestos, on or about October 5, 2021.

         6.       Mr. Wade was exposed to asbestos through his work with and around asbestos-

  containing products while working at the following locations:


         1964-1968: St. George Wastewater Treatment plant; St. George, UT


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          11/1968-08/1973: US Navy —San Diego, CA; Great Lakes, IL; Long Beach, CA

          1977-1989: St. George Waste Water Plant; St. George, UT

  The activities of cutting, chipping, mixing, sanding, sawing, scraping, grinding, and sweeping of

  asbestos-containing products that occurred in association with the work performed by Mr. Wade

  and other workers working around Mr. Wade with asbestos-containing products exposed him to

  great quantities of asbestos. These asbestos exposures continued as asbestos-containing dust

  accumulated on his work clothes and was transported to his cars and home.

         7.      Asbestos dust released from construction and commercial and/or industrial

  equipment related work activities is generally invisible to the naked eye. During the time period

  that Mr. Wade was exposed to asbestos, the manufacturers of asbestos products prohibited

  warnings ofthe lethal hazards of breathing asbestos dust, often affirmatively choosing not to issue

  a warning at all, despite the fact that these asbestos companies knew that breathing asbestos dust

  could be fatal. When the asbestos dust is breathed in, it can cause asbestos cancer decades later.

  The scientific and regulatory communities around the world are in unanimous agreement that all

  types of asbestos released from asbestos products, including chrysotile asbestos,cause cancer, and

  that there is no safe level of exposure to asbestos.

         8.      Each of the Defendants knew or should have known through industry,

  epidemiological, and medical studies, the existence of which were unknown to Plaintiffs, of the

  health hazards inherent in the asbestos-containing products they were specifying, using, selling,

  supplying, and/or manufacturing.

         9.      All of the named defendants listed on the attached list, which is incorporated by

  reference herein, are amenable to jurisdiction in the courts of Utah by virtue of their respective


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  conduct of substantial and/or systematic business in Utah which subjects them to the jurisdiction

  of the Utah courts pursuant to the Utah Long-Arm Statute. Each defendant corporation does or in

  the past mined, manufactured, processed, imported, converted, compounded, supplied, installed,

  replaced, repaired, used, and/or retailed substantial amounts of asbestos and/or asbestos-

  containing products, materials, or equipment, which are or in the past were sold, distributed, and

  used in Utah.

                                        CAUSES OF ACTION

            10.   Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

  herein.

            11.   At all material times, Defendants are or were miners, manufacturers, distributors,

  processors, importers, converters, compounders, and/or retailers of asbestos and/or asbestos-

  containing products, materials or equipment.

            12.   Each ofthe Defendants named in Exhibit A conducted business in the State ofUtah, has

  produced, manufactured or distributed asbestos and/or asbestos products with the reasonable expectation

  that such products were so used or consumed, and/or has committed the tortuous acts set forth below.

            13.   The Defendants, acting through their agents, servants, and/or employees caused,

  and have caused in the past, certain asbestos and asbestos-containing materials, products or

  equipment to be placed in the stream of commerce with the result that said asbestos and asbestos-

  containing materials, products or equipment came into use by the Plaintiff.

            14.   The dangers of breathing asbestos were first published in the medical literature in

  the 1890s. By the late 1950s, there were hundreds of medical articles highlighting the dangers of

  being around asbestos dust. Confidential corporate documents from the named defendant



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  companies reveal that(a)the dangers of asbestos were well understood;(b)asbestos was cheaper

  to use in the products than replacement substances such as clay;(c) the product manufacturing

   industry actively fought governmental regulation and the banning ofasbestos. To this day industry

   has been successful in their lobbying efforts to keep asbestos legal in the United States.

          15.     Throughout the course of his employment, Plaintiff worked with and/or was

  exposed to the asbestos and asbestos-containing materials, products or equipment mined,

   manufactured, processed, imported, converted, distributed, compounded, and/or sold by the

  Defendants. Investigation is ongoing, but upon information and belief, most of Plaintiffs

  exposure to asbestos occurred within the state of Utah.

          16.     During the course and scope of his employment, Plaintiff was exposed to

  Defendants' asbestos and asbestos-containing materials, products or equipment, which exposure

  directly and proximately caused him to develop an illness known and designated as Mesothelioma.

          17.    Defendants, acting by and through its servants, agents and employees, duly

  authorized and acting within the scope and authority of their employment, had a duty to use,

  specify, design, manufacture and sell products that were not unreasonably dangerous or defective

  and/or a duty to warn the Plaintiff and foreseeable users ofsaid products ofthe dangers and defects

  which the Defendants created, knew, or, within the exercise of reasonable care, should have

  known. Defendants knew or should have known that these asbestos-containing materials would

  be used or handled by Plaintiff and others working in close proximity to him in a way that resulted

  in the release of airborne asbestos fibers, and that without the exercise of reasonable care in

  establishing and enforcing safe work practices, Plaintiff would be exposed to these asbestos fibers.

          18.    Plaintiff, worked with and around asbestos and/or asbestos-containing products,



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  materials or equipment that were manufactured, processed, distributed, supplied and/or sold by

  Defendants during his employment at various locations identified in paragraph 6. Defendants

  knew or should have known that persons in the position of Plaintiff would come into contact with

  and would work in close proximity to said products.

          19.    Plaintiffs sustained injuries caused by no fault of their own and which could not be

  avoided through the use of his reasonable care largely because Defendants affirmatively chose not

  to warn of asbestos dangers or advise of safe work practices. Plaintiffs development of an

  asbestos-related disease was directly and proximately caused by the negligence and carelessness

  of Defendants in that they manufactured, processed, sold, supplied or otherwise put said asbestos

  or asbestos-containing products, materials or equipment, into the market and into the stream of

  commerce, while they knew, or in the exercise of ordinary care should have known, that said

  products were deleterious, poisonous, cancer-causing and/or inherently dangerous and harmful to

  Plaintiffs body, lungs, respiratory system, skin, health, and general well-being. Further,

  defendants knew or in the exercise of reasonable care should have known that Plaintiff would not

  know of such danger to his health.

         20.     Plaintiffs illness and disability are the direct and proximate result ofthe negligence

  and carelessness of defendants, in that, the defendants knew, or in the exercise of ordinary care

  should have known, that the asbestos and asbestos-containing materials, products or equipment

  were deleterious, poisonous, and highly harmful to Plaintiff's body, lungs, respiratory system,

  skin, and health.

         21.     The actions ofthe defendants described and alleged above were wrongful under Utah

  Products Liability Act in one or more ofthe following ways:



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       (a)   Said asbestos-containing products were unreasonably defective in one or more of
             the following ways:

             1.     in that said products were and are unavoidably unsafe, and defendants
                    affirmatively chose how to warn, selecting to carry improper, inadequate
                    and incorrect warnings about their asbestos dust hazards about which the
                    defendants knew or should have known;

             2.     in that said products were and are unreasonably dangerous, in that they were
                    and are dangerous to an extent beyond that which the ordinary worker or
                    bystander in the position of the plaintiff would contemplate;

             3.     in that any warnings, information and/or safety instruction said products
                    may have carried, were improper and inadequate in that they affirmatively
                    determined the information told users and/or others, including the plaintiff,
                    leading to inadequate and unreasonable communication of the hazards and
                    dangers ofcoming in contact with said products, including the risk ofcancer
                    and death.

       (b)   The defendants knew or should have known that said asbestos-containing products
             were inherently dangerous to those who used them, yet the defendants affirmatively
             chose not to use reasonable and/or ordinary care in seeing to it that said products
             carried proper, adequate and correct warnings of the dangers of said products, and
             the exposure of the plaintiff and others like the plaintiff to these products was
             reasonably foreseeable to the defendants;

       (c)   The defendants breached warranties, either implied or expressed, in that these
             products were not fit and/or safe for their known and intended purposes and uses.

             1.     The Defendants impliedly warranted that said asbestos materials were of
                    good and merchantable quality, safe, and fit for their intended use.

             2.     The implied warranty made by the Defendants that the asbestos and
                    asbestos-containing materials, products, or equipment were of good and
                    merchantable quality and for the particular intended use was breached and
                    that certain harmful, poisonous, and deleterious matter was given off into
                    the atmosphere wherein the plaintiff carried out his duties while working
                    with or in the vicinity of asbestos and asbestos-containing materials,
                    products, or equipment.

             3.     As a direct and proximate result of the implied warranty of good and
                    merchantable quality and fitness for the particular intended use, plaintiff
                    developed an illness, to-wit: Malignant Mesothelioma.



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          22.     Defendants, at the time of designing, manufacturing, distributing, selling, or

  otherwise placing asbestos and/or asbestos-containing products, materials or equipment into the

  stream of commerce, knew, or in the exercise of reasonable care, should have known about the

  insurable risks associated with their products. The products in question were defective at the time

  they left the control of the Defendants.

          23.     Defendants were negligent and breached their duty ofdue care to Plaintiff by taking

  the affirmative actions as previously alleged to avoid harm to the Plaintiff and other foreseeable

  users, in light of the reasonably foreseeable and insurable dangers caused by the design,

  manufacture, sale, distribution of the asbestos and/or asbestos-containing products, materials or

  equipment at issue in the stream of commerce.

          24.     The hazards posed by exposure to asbestos and/or asbestos-containing products,

  materials or equipment and the resulting injuries and damages to Plaintiff were reasonably

  foreseeable, or should have been reasonably foreseen by Defendants.

          25.     As a direct and proximate result of the aforesaid negligent acts and/or omissions by

  the Defendants, Plaintiff Howard Wade developed Malignant Mesothelioma, as a consequence of

  which, through no fault of his own, he is severely injured, disabled and damaged.

         26.      During, before, and after Plaintiff's exposure to asbestos products manufactured,

  installed or otherwise used by Defendants, the Defendants falsely represented facts, including the

  dangers of asbestos exposure, to Plaintiff in the particulars alleged in the paragraphs above, while

  Defendants each had actual knowledge of said dangers of asbestos exposure to persons such as

  Plaintiff, and while Defendants each knew of the falsity of their representations and/or made the

  representations in reckless disregard of their truth or falsity.



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         27.     The foregoing affirmative representations were material conditions precedent to

  Plaintiffs continued exposure to asbestos-containing products, and defendants each intended that

  Plaintiff act upon the representations by continuing his exposure to the asbestos pr'oducts. Plaintiff

  was ignorant of the falsity of Defendants' representations and rightfully relied upon the

  representations.

         28.     As a direct and proximate result of Plaintiffs reliance upon Defendants' false

         representations, plaintiff has suffered injury and damages hereinafter described.

         29.     The Defendants were all miners, manufacturers, assemblers, sellers, users,

  distributors and/or suppliers of asbestos products and were engaged in the business of using,

  manufacturing or facilitating the manufacture of asbestos products, or representing themselves as

  manufacturers of asbestos products, or were professional vendors of asbestos or asbestos-

  containing products, which were expected to and did reach, including but not limited to, each of

  the locations where Mr. Wade was exposed.

         30.     At all times material hereto, the Defendants knew or should have known of the

  harmful effects and/or harmful dangers of working with asbestos and/or asbestos-containing

  products, materials, or equipment and exposures to inhalable asbestos.

         31.     Defendants had a duty to warn individuals working at the Plaintiffs jobsites,

  including but not limited to Plaintiff, of the dangers associated with the use and/or inhalation of

  asbestos dust and fibers.

         32.     Despite Defendants' knowledge of the insurable harm and/or potential harm

  associated with the use and/or inhalation of dust and fibers from asbestos and/or asbestos-

  containing products, materials, or equipment, the Defendants affirmatively chose the level of



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  warning by either not warning and/or inadequately warning Plaintiff of the dangers of asbestos

  and asbestos dust.

         33.    The products mined, manufactured, sold, distributed, supplied and/or used by these

  defendants were defective, unreasonably dangerous, insurable and unreasonably dangerous per se,

  to Plaintiff who was an intended and foreseeable user and bystander who was exposed to these

  products. These defects include, without limitation, the following:

        (a)     The mining, manufacture, assemble, sale, supply, distribution and use of products
                that are unreasonably dangerous, or unreasonably dangerous per se;

        (b)     The mining, manufacture, sale, supply, distribution and use of products that possess
                inherent and known properties that make them unreasonably dangerous by
                presenting high potential for causing serious injury, such as respiratory disease,
                cancer, and other health problems to the Plaintiff who would be foreseeably
                exposed to them in as a result of their intended use;

        (c)     The affirmative act of not warning or insufficiently warning of the hazards these
                products would present in the course of their normal foreseeable use or intended
                use;

        (d)     Providing inadequate cautions, warnings, and/or hazard statements and/or
                explanations with its products which should have been designed to provide to the
                Plaintiff knowledge about the hazards caused by exposure to their products and
                how to eliminate such hazards;

        (e)     Providing inadequate product inserts, informative brochures, employee training
                literature, posters, safety instructions and/or other written materials with their
                products which should have been designed to provide to the Plaintiff knowledge
                about the hazards caused by exposure to its products and how to eliminate such
                hazards;

        (0      Conducting inadequate on-site personnel training sessions with exposed workers
                which should have been designed to provide to the workers' knowledge about the
                hazards caused by exposure to the products, and how to eliminate the hazards;

        (g)     Inadequately testing and researching their products as to the hazards created during
                their use and providing incomplete results ofsuch tests and research to the intended
                or foreseeable users of exposed individuals such as Plaintiff;




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          (h)     Inadequately inspecting workplaces in which their products were being used to
                  determine whether the products being used were deleterious to the health of
                  exposed workers or individuals;

         (i)      Inadequately inspecting their products to assure sufficiency and adequacy of
                  warnings and safety cautions;

        (i)      Inadequately designing, processing and transporting their products in a manner
                 intended to minimize exposure during normal working conditions;

         (k)     Inadequately designing their products when the nature of the product did not
                 require use of asbestos mineral or where alternate, equally suitable substances were
                 readily available;

        (1)      Defects in the composition and construction of these products;

        (m)      Affirmatively specifying and marketing their products without the express
                 agreement that necessary engineering controls, work practices, and other industrial
                 hygiene controls would be implemented in conjunction with use of the products
                 after it was known or should have been known that adequate protective measures
                 were not being implemented;

        (n)      Issuing inadequate recalls of their defective product or manufacturing a reasonably
                 safer alternative;

        (o)      Inadequately packaging their products so that they could be safely transported,
                 handled, stored or disposed of;

        (p)      Implementing inadequate precautions and industrial hygiene measures to protect
                 Plaintiff and exposed workers when installing, repairing, or tearing out asbestos
                 and/or asbestos-containing products, materials, or equipment including, but not
                 limited to, providing protection from dust and fibers emanating from the
                 installation, repair, and/or removal process; using or implementing inadequate local
                 ventilation, warnings, cleaning procedures and other appropriate safety and
                 industrial hygiene measures;

        (q)      Affirmatively acting unreasonably under the totality of the circumstances.

         34.     Defendants manufactured, processed and/or sold asbestos and/or asbestos-

  containing products and materials, and these products were used by Plaintiff and others working

  around Plaintiff at Plaintiff's worksites. It was foreseeable that Plaintiff would be exposed to these

  asbestos-containing products and materials manufactured, processed, sold, specified and/or used


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   by Defendants. Thus, Defendants had a duty to warn individuals, including but not limited to the

  Plaintiff, of the dangers associated with the use and/or inhalation of dust and fibers from asbestos

  and/or asbestos-containing products, materials, or equipment.

          35.      Despite Defendants' knowledge of the insurable harm and/or potential harm

  associated with the use and/or inhalation of dust and fibers from asbestos and/or asbestos-

  containing products, materials, or equipment, the Defendants acted unreasonably in providing

  inadequate warnings and/or instructions as to the hazards associated with exposure to asbestos

  and/or asbestos-containing products, materials, or equipment.

          36.      At the time the asbestos and/or asbestos-containing products, materials, or

  equipment left Defendants' control without adequate warning or instruction, Defendants created

  an unreasonably dangerous condition that it knew or should have known would pose a substantial

  risk of harm to a reasonably foreseeable claimant, such as the Plaintiff. In the alternative, after the

  asbestos-containing products left Defendants' control, Defendant became aware of or in the

  exercise of ordinary care should have known that their product posed a substantial risk of harm to

  a reasonably foreseeable user or bystander, such as the Plaintiff, and failed to take reasonable steps

  to give adequate warning or instruction or to take any other reasonable action under the

  circumstances.

         37.     It was the continuing duty of the defendants to advise and warn purchasers,

  consumers, and users, and all prior purchasers, consumers, and users, of all dangers,

  characteristics, potentialities and/or defects discovered subsequent to their initial marketing or sale

  of said asbestos and asbestos products.

         38.     The defendants breached these duties by:



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         (a)    Choosing to inadequately warn the plaintiff of the dangers, characteristics, and/or
                potentialities ofthe product or products when they knew or should have known that
                the exposure to the product(s) would cause disease and injury;

        (b)      Choosing not to warn the plaintiff ofthe dangers to which the plaintiff was exposed
                 when they knew or should have known of the dangers;

        (c)      Exercising unreasonable care to warn the plaintiff of what would be safe, sufficient,
                 and properly protective clothing, equipment, and appliances when working with,
                 near or during exposure to asbestos and asbestos products;

        (d)      supplying asbestos or asbestos products that were packaged, bagged, boxed and/or
                 supplied to the plaintiff in packaging, bagging, boxes or other containers that were
                 inadequate and/or improper;

        (e)     supplying asbestos or asbestos products that were delivered to and reached the
                plaintiff without adequate or proper handling instructions, face masks and/or
                respirators;

        (0      Choosing to inadequately test or choosing not to test the asbestos and asbestos
                products in order to ascertain the extent of dangers involved upon exposure;

        (g)     Conducting inadequate research or exercising reasonable care in order to ascertain
                the dangers involved upon exposure;

        (h)     Choosing not to remove the product or products from the market when the
                defendant corporations knew or should have known of the hazards of exposure to
                asbestos and asbestos products;

        (i)     Once the dangers, hazards, and potentialities of exposure to asbestos were
                discovered, choosing not to adequately to warn and apprise plaintiff ofthe dangers,
                hazards, and potentialities discovered;

        (1)     generally using unreasonable, careless, and negligent conduct in the contracting for,
                mining, milling processing, manufacturing, designing, testing, assembling,
                fashioning, fabricating, packaging, supplying, distributing, delivering, marketing,
                and/or selling of their asbestos and asbestos products.

         39.    Defendants affirmatively chose not provide adequate warnings as to the hazards

  associated with exposure to asbestos and/or asbestos-containing products, materials, or equipment

  or to provide proper instructions on the use, handling, and storage of asbestos and/or asbestos-



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  containing products, materials, or equipment. Defendants' affirmative acts caused Mr. Wade to

  develop Malignant Mesothelioma as a consequence of which Plaintiffs have been injured and

  damaged and claims damages of the Defendants in negligence and strict liability.

         40.     The defective conditions of Defendants' products and fault, as noted above, are a

  proximate cause of Plaintiff's injuries complained of herein.

         41.     As a result of the Defendants' failure to warn, the Plaintiffs suffered and will

  continue to suffer the following injuries and damages hereinafter alleged.

         42.     Plaintiff and others in his position worked in close proximity to the asbestos and

  asbestos-related materials used or manufactured by the Defendants, and the exposure and hazard

  to each of them, in Plaintiffs presence, as well as others in his position, was known, or in the

  exercise of reasonable care should have been anticipated by the Defendants.

         43.     The Defendants have known or should have known since at least 1929, and possibly

  as early as 1890, of medical and scientific data which clearly indicates that asbestos and asbestos-

  containing products were hazardous to the health and safety of the Plaintiff and others in the

  Plaintiffs position. Prompted by pecuniary motives, the Defendants, individually and collectively,

  ignored and chose not to act upon said medical and scientific data and conspired to deprive the

  public, and particularly the users, of said medical and scientific data, depriving them, therefore, of

  the opportunity of free choice as to whether or not to expose themselves to the asbestos products

  of said defendants. As a result, the Plaintiff has been severely damaged as is set forth below.

         44.     The Defendants fraudulently misrepresented or chose not to disclose the dangers of

  asbestos exposure from 1929 through the 1980s, thus denying Plaintiff the knowledge with which

  to take necessary safety precautions such as periodic x-rays and medical examinations and



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  avoiding further dust exposure. Specifically, Defendants' affirmative and fraudulent conduct

  included the following acts and failures to act:


         (a)     Inadequately warning prior users when the Defendants had knowledge of the need
                 for monitoring due to prior exposure;

         (b)     Choosing not to issue recall type letters to prior users;

         (c)     frustrating the publication of articles and literature from the 1930s through at least
                 1979;

         (d)     rejection by top management of advice of corporate officials to warn ofthe hazards
                 of their asbestos products; such rejection being motivated by the possibility of
                 adverse effects on sales and profits; and

         (e)     The intentional inadequacy of(and delay in the use of) the warnings on asbestos
                 products.


         45.     The acts of the Defendants, and each of them, as hereinabove set forth were

  fraudulent and done with willful disregard ofthe safety of Plaintiff and others similarly situated at

  a time when Defendants, had knowledge, or should have had knowledge of the dangerous effect

  of asbestos and asbestos-containing materials, products or equipment upon the body of human

  beings, including Plaintiff and others similarly situated, and even though forewarned by tests,

  standards, promulgations of rules and regulations, statutes, and ordinances recognized by the

  Defendants and subscribed to by them, nevertheless placed into the stream of commerce, for their

  own profit, this dangerous asbestos material with full knowledge that it was being used and would

  be used in the future to the detriment of the health of Plaintiff and others similarly situated, and

  Plaintiff is thereby entitled to punitive damages.

         46.     The affirmative acts of Defendants constituted fraudulent misrepresentation in that

  a false representation was made as a statement of fact, the statement was untrue and known to be


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  so by its maker, the statement was made with the intent of inducing a reliance thereon, and the

  Plaintiff relied on the statement to his detriment. In the alternative, the affirmative acts of

  Defendants constituted fraudulent non-disclosure in that Defendants intentionally withheld

   information to induce individuals such as Plaintiff to continue to purchase or use their asbestos

  containing products. Defendants hid known facts with the intent or expectation to cause a mistake

   by another to exist or to continue, or in order to induce the latter to enter into a transaction.

          47.     Accordingly, as a result of the Defendants' conduct in which they acted in willful,

   wanton, gross negligence and in total disregard for the health and safety of the user or consumer,

  such as Plaintiff, Plaintiffs therefore seek exemplary and punitive damages against Defendants to

  punish the defendants for their actions, which were willful, wanton, gross, and in total disregard

  ofthe health and safety of the users and consumers of their products.



                                       LOSS OF CONSORTIUM


          48.     Plaintiffs incorporate by reference all other relevant allegations in this complaint.

          49.     Plaintiff Deana Lyn Wade is, and at all times since February 1, 1974, has been the

 lawful spouse of Plaintiff Howard Wade. At the time that Howard Wade was diagnosed with

 mesothelioma, Deana Lyn Wade was cohabitating with Howard Wade and enjoying his

 companionship and care.

          50.     As a direct and proximate result of the conduct described in the above allegations

  of this Complaint, Plaintiff Deana Lyn Wade has suffered, and will suffer, loss of consortium and

  damage to the marital and social relationship including, but not limited to, the loss of Howard

  Wade's services, comfort, affection, and the effects of Howard Wade's disease upon Plaintiff


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   Deana Lyn Wade and their relationship and daily activities, due to his injuries and disabilities.

  They have further incurred expenses for medical attention rendered to Howard Wade and will

  continue to incur such expenses.

          51.     WHEREFORE, Plaintiffs demand compensatory damages and trial by jury on all

  issues so triable in this cause.




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                                        PUNITIVE DAMAGES

            52.   Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

  herein.

            53.   As a result ofthe willful, wanton and gross misconduct and gross negligence ofthe

  Defendants as alleged herein, the Plaintiffs seek and request punitive or exemplary damages.

  Defendants malicious and outrageous disregard for the safety of users of asbestos products,

  including but not limited to their intentional concealment ofthe dangers ofasbestos that they knew.

  Their conscious refusal to warn users of those dangers evidences a conscious indifference to the

  safety and health of users and bystanders of the products they profited from selling. Defendants'

  internal documents reveal that they knew of the hazards of asbestos by at least the mid-1960s, yet

  Defendants concealed the hazards of asbestos from consumers and bystanders to maintain their

  bottom line. Plaintiffs' injuries are the result of Defendants willful and malicious or intentionally

  fraudulent conduct, or conduct that manifests a knowing and reckless indifference toward, and a

  disregard of, the rights of others. Defendants knew that a high degree of probability existed that

  Defendants' conduct would result in substantial harm, that Defendants' conduct is highly

  unreasonable or an extreme departure from ordinary care and that a high degree of danger was

  apparent due to Defendants' actions. Plaintiffs, therefore, for the sake of example and by way of

  punishing Defendants,seek punitive damages,according to proof. Defendants' acts and omissions

  constitute misconduct that is grossly negligent, willful, wanton, malicious and/or outrageous.

         54.      As a result of the willful, wanton and gross misconduct and gross negligence of the

  Defendants as alleged herein, the Plaintiffs seek and request statutory punitive damages and

  reasonable attorney's fees.



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                                                DAMAGES

            55.    Plaintiffs incorporate by reference the preceding paragraphs as if fully set for

  herein.

            56    As a result of the development of asbestos related diseases, Plaintiff has suffered

  and sustained very serious injuries to his person, to wit: Malignant Mesothelioma, a terminal

  asbestos cancer.

            57    Plaintiff has further suffered and will suffer great pain, disfigurement, physical

  impairment, extreme nervousness, and mental anguish as a direct result of the aforesaid injuries.

            58. Plaintiffs verily believe that Howard Wade's injuries and illnesses are recurrent in

  nature and that he will be forced to suffer same for the remainder of his life; that his enjoyment of

  life has been greatly impaired; that he has suffered substantial lost wages and loss of earning

  capacity; and further, that his expected life span has been greatly shortened.

            59.    Plaintiffs allege that as a result of the aforesaid illnesses, they have been forced to

  incur large amounts of medical expenses by way of doctor and drug bills and verily believes that

  they will be forced to incur additional expenses in an effort to treat Mr. Wade's illnesses as

  aforesaid alleged.

         60.       Plaintiffs require or will require domestic help and nursing care due to his

  disabilities and have been or will be required to pay for such domestic help and nursing services.

            61.    Prior to the onset of his symptoms, Plaintiff was extremely active and participated

  in numerous hobbies and activities, and as a result of his illnesses, Plaintiff has been and will be

  prevented from engaging in some of said activities that were normal to him prior to developing




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  symptoms from asbestos-related lung disease. Plaintiff has been and will otherwise be prevented

  from participating in and enjoying the benefits of a full and complete life.

          WHEREFORE,the Plaintiffs verily believe they are entitled to actual damages against the

  Defendants by reason of said negligence, strict liability, gross negligence, breach of warranty,

  fraudulent misrepresentation, fraudulent non-disclosure, failure to warn and other breaches of duty

  as alleged herein proximately caused by the fault of the Defendants, and claim lost wages, special

  damages, punitive and exemplary damages, including attorney's fees, statutory punitive damages

  and reasonable attorney's fees.

          WHEREFORE,the Plaintiffs pray forjudgment against all Defendants for actual damages,

  lost wages, special damages, punitive and exemplary damages, including attorney's fees, statutory

  and punitive damages and reasonable attorney's fees, in amounts to be determined by statute or by

  the trier of fact, plus the costs of this action.


          PLAINTIFFS REQUEST TRIAL BY JURY ON ALL ISSUES SO TRIABLE.


                                                      THE NEMEROFF LAW FIRM


                                                             /s/Richard I. Nemerolf
                                                      Richard I. Nemeroff,#13966
                                                      5532 Lillehammer Lane, Ste. 100
                                                      Park City, UT 84098
                                                      Tel: 435-602-4470
                                                      Fax: 435-602-4471
                                                      E-mail: ricknemeroff@nemerofflaw.com

                                                      Attorney for Plaintiffs




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                                           EXHIBIT A

                              DEFENDANT SERVICE LIST

  INDUSTRIAL SUPPLY COMPANY,INC.
  do Chris Bateman
  1635 S 300 W
  Salt Lake City, UT 84115

   AIR & LIQUID SYSTEMS CORPORATION AS SUCCESSOR BY MERGER TO
   BUFFALO PUMPS,INC
   Air & Liquid Systems Corp., as successor by merger to Buffalo Pumps, Inc.
   874 Oliver Street
   North Tonawanda, NY 14120-3298

  ALDER CONSTRUCTION COMPANY
  c/o Bruce C. Alder
  3939 S 500 W
  Salt Lake City, UT 84123

  AMERON INTERNATIONAL CORPORATION
  c/o CT Corporation System
  1 108 E. South Union Ave.
  Midvale, UT 84047

  ARMSTRONG INTERNATIONAL, WC.
  900 Maple Street
  Three Rivers, MI 49093

  AURORA PUMP COMPANY
  c/o Corporation Service Company
  15 West South Temple, Suite 600
  Salt Lake City, UT 84101

  BLAKE ELECTRIC CO.
  c/o Teddy Jay Lewis
  625 South 1000 West
  Richfield, UT 84701

  BW/IP,INC.
  5215 N. O'Conner Boulevard, Suite 2300
  Irving, TX 75039


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   CARRIER CORPORATION INDIVIDUALLY AND AS SUCCESSOR-IN-INTEREST TO
   BRYANT HEATING & COOLING SYSTEMS
   do United Agent Group, Inc.
   2825 East Cottonwood Parkway,#500
   Salt Lake City, UT 84121

  CBS CORPORATION, A DELAWARE CORPORATION F/K/A VIACOM INC.
  SUCCESSOR-BY-MERGER TO CBS CORPORATION, A PENNSYLVANIA
  CORPORATION F/K/A WESTINGHOUSE ELECTRIC CORPORATION
  Westinghouse Electric Corporation and as successor-in-interest to BF Sturtevant
  c/o Eckert Seamans Cherin & Mellott, LLC
  Case Management & Technology Center
  600 Grant Street, 5th Floor
  Pittsburgh, PA 15219

  CHICAGO PNEUMATIC TOOL COMPANY LLC
  c/o C T Corporation System
  208 South LaSalle Street, Suite 814
  Chicago, IL. 60604

  CLARK-RELIANCE CORPORATION,INDIVIDUALLY AND AS SUCCESSOR IN
  INTEREST TO JERGUSON GAGE & VALVE COMPANY
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE. 19801

  CRANE CO.
  do CT Corporation System
  1 108 E. South Union Ave.
  Midvale, UT 84047

  ELLIOTT COMPANY
  c/o CT Corporation System
  1 108 E. South Union Ave.
  Midvale, UT 84047

  FLOWSERVE CORPORATION AS SUCCESSOR TO DURIRON INC. AND DURCO
  INTERNATIONAL INC.
  5215 N. O'Conner Boulevard, Suite 2300
  Irving, TX 75039



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   FLOWSERVE US INC., SOLELY AS SUCCESSOR TO EDWARD VALVES INC.,
   ROCKWELL MANUFACTURING COMPANY,NORDSTROM VALVES INC. AND
   MCCANNA CORPORATION
   c/o CT Corporation System
   1 108 E. South Union Ave.
   Midvale, UT 84047

   FMC CORPORATION,ON BEHALF OF ITS FORMER NORTHERN PUMP COMPANY
   c/o CT Corporation System
   1 108 E. South Union Ave.
   Midvale, UT 84047

   GENERAL ELECTRIC COMPANY
   c/o CT Corporation System
   1 108 E. South Union Ave.
   Midvale, UT 84047

   GORMAN-RUPP COMPANY
   do Corporation Service Company
   50 West Broad Street
   Suite 1300
   Columbus, OH 43215

   VIAD CORP. f/k/a the DIAL CORPORATION,individually and as successor in
   interest to GRISCOMB-RUSSELL COMPANY
   c/o CT Corporation System
   1 108 East South Union Avenue
   Midvale, UT 84047

  The Gorman-Rupp Company, individually and as successor-in-interest to Griscomb-
  Russell Company
  c/o Corporation Service Company
  50 West Broad Street
  Suite 1300
  Columbus, OH 43215

   GOULDS PUMPS,INCORPORATED
   do CT Corporation System
   1 108 E. South Union Ave.
   Midvale, UT 84047




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   GREENE TWEED & COMPANY,INC.
   2075 Detwiler Road,
   Kulpsville, Pennsylvania 19443

   GRINNELL LLC
   c/o CT Corporation System
   1 108 E. South Union Ave.
   Midvale, UT 84047

  HERCULES,LLC
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE 19801

  IMO INDUSTRIES,INC.
  c/o CT Corporation System
  1 108 E. South Union Ave.
  Midvale, UT 84047

  ITT LLC
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE 19801

  MILWAUKEE VALVE COMPANY INC.
  c/o CT Corporation
  301 S. Bedford Street, Suite 1
  Madison, WI. 53703

  MW CUSTOM PAPERS, LLC
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE. 19801

  ROBERTSHAW CONTROLS COMPANY
  Oo The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE. 19801




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  STERLING FLUID SYSTEMS(USA)LLC
  2005 Dr. Martin Luther King Jr. Street
  Indianapolis, IN. 46202-1165

  VELAN VALVE CORPORATION
  94 Avenue C
  Williston, VT. 05495-9732

  WARREN PUMPS,LLC
  CT Corporation - Los Angeles
  818 West 7th Street, 2nd Floor
  Los Angeles, CA 90017-3407




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Salt Lake City, Utah 8411 I
Telephone:(801) 323-5000

Attorneysfor Defendant Viad Corp..f/k/a
The Dial Corporation


                          UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH,CENTRAL DIVISION

HOWARD WADE AND
DEANNA LYNN WADE,                                       DECLARATION OF CHARLES E.
                                                            CUSHING,Ph.D., P.E.
Plaintiffs,

 .
                                                               Case No.
INDUSTRIAL SUPPLY COMPANY,INC. et
al.,

Defendants.




        Pursuant to 28 U.S.C. § 1746, I, Charles E. Cushing, Ph.D., P.E., under penalty of perjury

and of my own knowledge, declare and states as follows:

        1.     I am the president of C.R. Cushing & Co., Inc., Naval Architects, Marine

Engineers and Transportation Consultants. Attached as Exhibit 1 is a true, complete and correct

copy of my curriculum vitae. I respectfully submit this Affidavit in support of any assertion that
                                                                                               of
Viad Corp ("Viad") has been sued in its capacity as a person acting under an officer or agency

the United States within the meaning of 28 U.S.C. § 1442(a)(1). This Declaration is based upon

m y experience, education and training as a naval architect and marine engineer, which includes


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my involvement in the design, construction, and/or conversion of more than 250 ocean-going

vessels. It is also based upon my knowledge, experience, research and familiarity of and with

the history of the design, construction and operation of the United States Naval vessels during

World War 11. This includes knowledge and familiarity with the contracting practices and

requirements utilized by the U.S. Navy in constructing these vessels and as applied to its

suppliers and contractors.

       2.      Plaintiffs allege in this case that Viad is the successor in interest to Griscom-

Russell Company ("Griscom-Russell"). Plaintiffs further allege that Plaintiff Howard Wade was

exposed to asbestos while serving in the United States Navy from November of 1968 to August

of 1973 in the locations of San Diego, CA, Great Lakes IL, and Long Beach, CA.

       3.      Griscom-Russell is a defunct company that manufactured evaporators and fuel oil

heaters used on some U.S. Navy vessels in the 1940s and 1950s. .

       4.       The United States Navy was intimately involved in the manufacture of any

Griscom-Russell equipment used on U.S. Navy vessels, as the equipment manufactured for those

vessels was designed and built to meet precise and exacting specifications of the U.S. Navy.

Moreover, pursuant to the U.S. Navy's specifications, Griscom-Russell would not have been able

to affix to its products any type of warning or cautionary statements concerning alleged health

hazards from the installation, use or maintenance of the products. Whether certain equipment

used aboard U.S. Naval vessels should have warnings, and the content and format of any such

warnings, was determined solely by the U.S. Navy. Griscom-Russell would have had no

discretion whatsoever to affix any warnings of its own to products it delivered for installation on

Navy ships.


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           5.      Moreover, the U.S. Navy had precise specifications for any informational

    manuals delivered with Griscom-Russell equipment. Again, Griscom-Russell would have had

    no discretion to deviate from such specification, and U.S. Navy participated intimately in the

    preparation of this kind of information and exercised specific direction and control over contents.

           6       The Griscom-Russell equipment manufactured for use on U.S. Navy vessels

    would have been manufactured without any insulation and shipped to the shipyards without

    insulation. The equipment would have been totally insulated at the shipyard. or after installation

    on the vessels. by others using insulation purchased from others. The U.S. government

    specified. designed and approved very precise specifications governing how the shipyard should

    insulate the equipment and the type of materials the shipyard should use to insulate the

    equipment.



            I declare under penalty of perjury that the fOregoing is true and accurate. Executed this

     itPday of February, 2022.


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               Curriculum Vitae of Charles R. Cushing


                  EXHIBIT 1
                            TO DECLARATION OF
                            CHARLES R. CUSHING
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                                  CHARLES R.CUSHING,                 P.E.

     Employer:       C. R, Cushing & Co,,Inc.
                     Naval Architects, Marine Engineers & Transportation Consultants
                                      7'h
                     30 Vesey Street, Floor`
                     New York,New York 10007
     Position:       President
     Education:      U.S. Merchant Marine Academy,B.S.(Marino Transportation) 1956
                     Massachusetts Institute ofTechnology,B,S.(Naval Architecture and Marine
                        Engineering) 1960
                     State University ofNew York,US.,(Ocean Transportation) 1972
                     University of Wales,Cardiff University, Ph.D.(Maritime Studies), 1997

      Experience:
      C. R. Cushing & Co„ Inc., is a firm of naval architects, marine engineers and transportation
      consultants founded In 1968 by Charles R. Cushing. Dr. Cushing has been responsible for the
      design, construction, conversion, repair and/or refurbishment of over 250 ocean-going vessels in
      most major shipyards in the U.S,, Europe and the Far East.

      Dr, Cushing has personally directed and/or executed the concept, contract design, strategic
      planning, plan approval, supervision and construction of tankers, tank barges, containerships,
      LNG ships, tugs, bulk carriers, roll-on/roll-off vessels, offshore pipe laying vessels, jacket
      delivery barges, passenger ships, and other types of vessels.

      Risk analyses, safety audits, energy audits, corrosion studies, vessel maintenance, manning,
      collision avoidance, pollution prevention, navigation, coatings, automation, pumping, noise,
      vibration, hydrodynamics, and air quality monitoring typify the fields of Dr. Cushing's expertise.

      Assignments ranging from port and terminal projects, economic analyses, material handling
      studies, marine operation and maintenance studies, automation studies, planned maintenance and
      repair systems all fall under his realm of expertise. He has been responsible for the design of
      numerous types of intermodal shipping containers°, the purchase, inspection, and testing of
      containers, container refrigeration equipment, container chassis, and container handling
      equipment. He authored the United States Coast Guard Tankerrnan's Manual.

      Dr. Cushing served as Chief Naval Architect at Sea-Land Service, Inc, from 1961 to 1968 where
      his accomplishments include the design and conversion of45 containerships, the development of
      cranes and cargo handling systems, He holds a number of patents in maritime and Intermodal
      technology,

      Prior to his graduation fi•om MET,he sailed as a cadet and a licensed deck officer on a number of
      U.S.-flag general cargo and passenger vessels. Ho has been Involved in cargo handling operations
      In the United States, South America, Southeast Asia, Australia, New Zealand,the Far East,
      Middle East, Aflica, and Europe.




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     I   Professional Associations:

         American Bureau of Shipping, Naval Architecture Committee,Past Member,
         American Bureau ofShipping, Committee on Cargo Containers,Past Member
         American National Standards Institute MI-15 Committee,Member
         American Society ofHeating, Refrigeration and Air Conditioning Engineers, Member,No.3031973
         American Society of Mechanical Engineers, Fellow,No.261040
         American Society of Naval Engineers, Naval Member,No.00549
         Charter Engineer, U.K., Engineering Council No. 152957
         Chemical Transportation Advisory Board,Past Member
         Chemical Transportation Advisory Board Subcommittee on Bulk Terminals/Tank Vessels,Past Member
         EuroEngineer,European Union
         Global Maritime and Transportation School(GMATS),Member,Board of Directors to 2012
         Institute ofMarine Engineering Science and Technology,Fellow
         Institut° Pan Americano de Ingenierla Naval,Member IM-605
         International Cargo Handling and Coordination Association, Member
         International Standards Organization, TC-I04,Past U.S. Delegate
         Japan Society of Naval Architects and Ocean Engineers, Member
         Korean Society of Naval Architects, Member
         Professional Engineer, State of Mississippi,Reg. No,03537
         Lloyds Register of Shipping, U.S. Con-unlace,Past Chairman; Technical Committee,Post Chairman
         Marine Board, Member,2004 to 2010
         Maritime Resource Center,Past Chairman
         MIT Club of New York, Member
         National Academy ofEngineering — Elected 2004
         National Academy of Sciences - NRC,Ship Structures Committee,Past Member
         National Fire Protection Association,Member No-, 105205
         National Shipbuilding Research Program, Blue Ribbon Panel Member
         National Safety Council, Member
         New York City Port Council,Past Member
         New York Yacht Club, Member
         North East Coast Institution of Engineers and Shipbuilders,Past Member
         Nautical Institute, Member No.98 12550
         Royal Institute of Naval Architects,Fellow
         Royal Institute of Navigation, Member
         Society ofMarktline Arbitrators, Member
         Soolety of Naval Architects and Marine Engineers, Life Member,Fellow, No. 1080010
         SNAME Fellows Committee, past Chairman
         SNAME Finance Committee,Member
         SNAME Ship Technical Operating Committee, Member
         Sperry Board of Awards, Chairman 1991/1992
         State University of New York(Maritime Colleg4 Engineering Advisory Committee, Member
         U.S.C.G., SOLAS Working Group on Container Safety - Member and past U.S. Delegate
         U.S. Merchant Marine Academy,Trustee, 2005 to 2007.
         U.S. Merchant Marine Academy Alumni Association. President, 1986-1990
         U.S. Merchant Marine Academy, Engineering Advisory Board, Member
         U.S. Merchant Marine Academy Foundation, Chairman, 1982-1986
         Webb institute (Naval Architecture), Board Member; Fellow; Executive Committee; Finance Committee;
         Chairman; Audit Committee; Planning Committee to 2010
         Naval Studies Board 2008 to date
                                                    2
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       Awards:

      The Admiral E.S. Land Medal for Excellence in Naval Architecture, USMMA, 1956
      The Marine Man-of-the-Year, 1970, USMMAISNAME
      The Alumnus-of-the-Year, 1991,USMMA
      The International Maritime Hall of Fame,2000
      The Admiral E.& Land Medal for Outstanding Contributions in the Marine Field, MAME,2000

      Other Professional Activities:

      • Authored numerous publications for professional societies, trade publications and industry
        conferences, Contributed chapters in the Society of Naval Architecture and Marine
        Engineers' Ship Design and 1993 Historical Transactions.

      • Adjunct Professor at World Maritime University in Malmo, Sweden and Dalian, China
        teaching The Ship_Acquisition Process and Maritime Accident Investigation, 1987 to date,

      • Lecturer at Massachusetts Institute of Technology, Webb Institute, University of Michigan,
        United States Merchant Marine Academy, Industrial College of the Armed Forces, Marine
        Engineers Beneficial Association, OMATS,and elsewhere.

      • Serves as a director, officer or committee member of numerous educational, professional and
        industry organizations,

      • Chairman,founder and principal shareholder in Oiltest,Inc,

      • U.S. Naval Reserve,30 years, retired 1982.

      • Member National Academy ofEngineering, elected 2004,




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 6
     Attorneys for Defendant
7    VIADCORP
 8
                         UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11 GENEVIEVE SCHROEDER, KEITH            ) Case No: CV 11-00738 R (VBKx)
     SCHROEDER, CRAIG SCHROEDER,)
12
                                               ) DECLARATION OF REAR
13                  Plaintiff,                 ) ADMIRAL (USN,RETIRED) BEN J.
                                               ) LEHMAN IN SUPPORT TO
14
            vs.                                ) DEFENDANT VIAD CORP'S
15                                             ) OPPOSITION TO PLAINTIFFS'
     A.W.CHESTERTON COMPANY:                   ) MOTION TO REMAND
16
     FMC CORPORATION as successor in )
17   interest to NORTHERN PUMP                 )
     COMPANY; GENERAL ELECTRIC ) DATE:                    March21,2011
18
     COMPANY; GOULDS PUMPS (IPG), ) TIME:                 10:00 a.m.
19   INC.; IMO INDUSTRIES INC.,                ) DEPT.:   8
     individually and as successor in interest )
20
     to DE LAV AL TURBINE, INC., and )
21   WARRENPUMPS,INC.;                         )
22
     INGERSOLL-RAND COMPANY,                   )
     individually and as successor in interest )
23   to TERRY STEAM TURBINE                    )
24   COMPANY; METALCLAD                        )
     INSULATION CORPORATION;                   )
25   RAPID AMERICAN CORPORATION;)
26   VIACOM, INC., individually and as         )
     successor by merger to CBS                )
27   CORPORATION f/k/a                         )
28
     WESTINGHOUSE ELECTRIC                     )
                                       l
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1 CORPORATION successor-in-interest          )
 2   to BF STURTEVANT CO.; VIAD               )
     Corp, f/k:/a THE DIAL                    )
 3   CORPORATION, individually and as         )
 4   successor-in-interest to GRISCOM-        )
     RUSSELL COMPANY; YARWAY                  )
 5   CORPORATION; FLOWSERVE dba               )
 6   BYRON JACKSON PUMPS and                  )
     DOES 1 through 100, Inclusive,           )
 7                                            )
 8                     Defendants.            )
                                              )
 9   ______________                           )
10

11            DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN                      J.
12                                        LEHMAN
13         I, Ben J. Lehman, under penalty of pe1jury and of my own personal
14   knowledge, state the following:
15                I.      I am a retired Rear Admiral of the United States Navy. Before
16   joining the Navy in 1942, I received a Bachelor of Mechanical Engineering degree
17   from the College of the City of New York. After joining the Navy, I was ordered
18   to study naval architecture and marine engineering at Massachusetts Institute of
19 Technology (MIT).        Later, I completed the United States Post-Graduate School
20 program in Naval Engineering Design at the Naval Academy in Annapolis. The
21   curriculum was primarily in electrical and mechanical engineering. I received a
22 Master of Science in Mechanical Engineering from Harvard University in 1949. I
23 have also studied Design Philosophy and Advanced Stress Analysis at Stanford
24 University.
25               I joined the United States Navy in 1942 and remained on active duty
26 until 1946. While on active duty in the United States Navy, I served as Ship
27 Superintendent and Dry Docking Officer at the Brooklyn Navy Yard between 1942
28 and 1944.
                                       2
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 I               In 1946, I left active duty and joined the Naval Reserve. In 1950, I
 2 returned to active duty and was assigned as a Ship Superintendent at the San
 3 Francisco Naval Shipyard from 1950 to 1952.           I was then transferred to the
 4 Assistant Industrial Manager Office in San Francisco from 1952 to 1954 as a
 5 Planning Officer.

 6               In 1954, I returned to the Naval Reserve where I was a member and
 7   then Commanding Officer of Naval Reserve Engineering Companies.
 8               I was promoted to Rear Admiral in 1977 in the Naval Reserve.
 9               I worked as an engineer at General Electric Company between 1946
10 and 1948. I held the positions of Director of Engineering and Vice-President of
II   Engineering at two major ship building companies between 1969 and 1975.
12   During all these periods, I have maintained close contact with the U.S. Navy,
13 including pe1iods of active duty in the Department of Defense and the Naval Sea
14 Systems Command in Washington, D.C. I have been an independent consultant

15   since 1975 providing engineering consultation services to vmious industries
16 including the shipbuilding industry. During my Naval service, I have personally

17   been responsible for the creation of Navy specifications for the procurement of
18   materials and machinery for use on Navy ships. A true, complete and accurate
19 copy of my cuniculum vitae is attached as Exhibit 1.

20               2.     Based on my experience, professional training and education, I
21   am familiar with the plans, designs and specifications used in the construction and
22 repair of commercial and Navy ships.          In addition, I am familiar with Navy
23 specifications, equipment manuals and qualified products lists which are used in
24 the construction and repair of Navy and commercial ships. 1 am also familiar with
25 the Navy regulations regarding the use, placement and repairs or maintenance of
26 asbestos products generally during the periods in which they were used and the
27 Navy regulations regarding such maintenance, technical manuals and warnings
28 permitted by the Navy.
                                             3
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1               3.    I submit this Declaration to attest to the level of supervision and
 2 control by the United States Navy and its officers over every aspect of the design,
 3 manufacture and use of equipment intended for installation on Navy vessels.
4                4.    During my service in the Navy as a Ship Superintendent, I was
 5   personally involved with the supervision or oversight of ship alterations and
6 equipment overhauls at the New York Naval Shipyard (formerly the Brooklyn
7    Navy Yard) and at the San Francisco Naval Shipyard (Hunter's Point).
 8               5.    During the 1940s and 1950s, the Navy generally utilized a
9 system of ship design and constrnction that established and set the designs of ships,
10 which designs were known to the Navy to meet particular pe1f01mance
11 capabilities. The Navy then restricted any deviations from such designs by any
12 suppliers and/or contractors. When a change in the design and/or construction of a
13 ship was required, the Navy would oversee, control and approve all aspects of the
14 change. Design drawings were prepared by the design agent for the Navy or by the
15 Navy itself. The Navy reviewed and approved the drawings and then submitted
16 them to the individual suppliers and contractors to use in the manufacturing, supply
17   and/or installation of the equipment and the construction of the ship.        These
18 pertained to the original designs, as well as changes initiated and controlled by the
19 Navy.
20               6.    I have reviewed vanous documents submitted by Buffalo
21 Pumps in connection with its removal and related briefing in William A.
22 O'Connell v. Foster Wheeler Energy Corp., et al., Civil Action No. 08-10078-RGS
23 (D. Mass). As an aid to the Court, I submit herewith as Exhibit 2 an affidavit of
24 Navy Rear Admiral David Sargent, Jr., and also the documents attached as Exhibit
25 L to the Sargent affidavit; and I submit herewith as Exhibit 3 an affidavit of
26 Buffalo Pumps' production manager Martin Kraft, and also the documents attached
27 as Exhibit C to the Kraft affidavit. I have read both affidavits, including these
28 exhibits, and am familiar with their content. Based upon my personal experience,
                                      4
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 l these documents attached to both affidavits are typical of the Navy's detailed
2 attention to and control over the content of submissions, and the type of
 3   correspondence that the Navy used to reject submissions of, and to require
4    corrections and resubmissions by, its various contractors. In my experience, such
 5   preliminary drafts and responsive comments were more typically discarded than
 6   retained, which may serve to explain why more such documents have not turned
7    up.
 8               7.    Any deviation from military specifications of equipment to be
 9 installed on ships would have resulted in significant problems and probable
10 rejection of the equipment. The Navy could not, and did not, permit its contractors
11 to implement any changes because every aspect of every item of equipment had to
12 be:     (I) functionally compatible with every other item of equipment and with
13 available materials from the Navy Supply System; (2) compatible with shipyard
14 practices, training, tools and capabilities; and (3) consistent with the ability of the

15 crew in maintaining the ship during its service using materials canied on board
16 when shipyard help was not available.
17               8.     In the 1940s, 1950s and afterward, the Navy had complete
18 control over every aspect of each piece of equipment.          Military specifications
19 governed every characteristic of the equipment used on Navy ships, including the
20   instructions and warnings. Drawings for nameplates, texts of instruction manuals,
21 and every other document relating to construction, maintenance, and operation of
22 the vessel were approved by the Navy. This control included the decision of what
23 warnings should or should not be included. Thus, the Navy controlled the decision
24   making with respect to instructions and warnings on every piece of equipment.
25               9.    The Navy had specifications as to the nature and content of all
26 written material that was delivered with each piece of equipment. The Navy was
27   intimately involved with and had final approval of all technical and engineering
28 drawings, operating manuals, safety or hazard information and any other wtitten
                                      5
      DECLARATION OF REAR ADMIRAL (USN, REI'IRED) BEN J. LEHMAN IN SUPPORT
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 1 information that accompanied a piece of equipment. The Navy determined the
2    nature of hazards to be subject to any precautionary labeling and the content of any
3 such labeling. In short, the Navy d!c.tated evety aspect of the design, manufacture,
4 installation, overhaul, written documentation and warnings associated with its
5    ships and did not permit deviation by any of its contractors.
6                 10.   The Navy specified the use and placement of insulation,
7    including asbestos insulation, on Navy ships during World War II and the 1950s.
8 Mechanical equipment for use aboard Navy ships was delivered without insulation.
9 This was to prevent damage to the insulation during shipment and installation, and
10 to allow the equipment to be effectively connected to other equipment and systems
11 on board, which connections as well as the equipment could then be effectively
12 insulated. lf mechanical equipment was to be insulated, it was not insulated by the
13 manufacturers, but rather by shipyard personnel.
14                Shipyards and shipyard personnel were solely responsible for
15   installing and insulating the equipment.    Insulation was installed in accordance
16 with plans, specifications, and schedules developed for and controlled by the Navy.
17   Based upon my experience, professional training, education and research, it is my
18 opinion that the United States Navy was aware of the dangers of asbestos by the
19 1940s. Despite such knowledge, the Navy did not provide any warnings. The
20   research by LCdr S. A. Forman, MC, U.S. Navy [Par. 13g, below] supports my
21 opinion.
22          11.   Based upon my expenence, professional training, education and
23 research, it is my opinion that equipment suppliers were prohibited from providing
24 any warnings to be placed on or to accompany equipment supplied to the Navy
25   without the consent and approval of the Navy.           Moreover, certain types of
26 warnings would not have been approved by the Navy given the necessary
27   pe1fo1mance needs and capabilities of the shipboard equipment, the ships and
28 Navy personnel. This would have included, but not been limited to, any potential
                                       6
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1 warnings associated with asbestos including, but not limited to, recommendations
 2   regarding respiratory protection, and repair and maintenance practices. This was
 3 due to the inability to effectively and comprehensively observe, implement, and
 4   comply with such recommendations under the multitude of varying conditions
 5 likely to be encountered by Navy ships at sea, and especially at war.
 6                All equipment and procedures had to be standardized to ensure that
 7 personnel were familiar with the procedures for operating, repaiiing and
 8 maintaining the equipment, and that the tools and equipment aboard ship or at
 9 pmts world-wide were available to pe1form such procedures. Thus, a contractor or
10 supplier could not provide warnings or recommendations without the consent and
11 authorization of the Navy.
12                12.     During the 1940s and early 1950s, the Navy did not have the
13 tools, equipment and/or personnel capabilities to meet or comply with any
14 potential warnings or recommendations pertaining to the health hazards of asbestos

15 aboard ship, especially under the exigencies of war. Further, the Navy limited the
16   areas of interest of each manufacturer to the equipment supplied by that
17 manufacturer.        Because equipment was required by the Navy to be supplied
18 without insulation, it would have been improper and unauthorized for the
19 manufacturer or supplier of such equipment to supply warnings or other
20   recommendations with respect to insulation, which would not have been within its
21   particular area of interest. As the manufacturer and/or supplier would not have
22   been responsible for the insulation, it likely would not have been aware of any
23   hazard associated with such insulation or required to determine whether any
24   existed, and thus it had no ability or obligation to supply warnings about insulation.
25   As the Navy would have been the entity that required the insulation, designated the
26   type and placement of the insulation, and directed a different entity to supply,
27   install it, or both e.g., the shipyard, the Navy's knowledge of any potential hazards
28   associated with the insulation would have been equal or superior to that of the
                                      7
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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     equipment manufacturers and suppliers that provided the uninsulated equipment.
 2         13.    Based upon my review of many documents regarding the Navy's
 3   hazard communication program, my career experience in the Navy, and personal
 4 knowledge of the Navy's hazard communication program and naval practices
 5 generally, I can state as follows:
 6                a.     Uniformity and standardization of any communication, and in
 7         particular safety information, are crucial to the operation of the Navy. The
 8         Navy could simply not operate if various personnel were trained differently
 9         and    received       additional   inconsistent   information   from   different
10         manufacturers.
11                b.     Asbestos insulation products began containing hazard warning
12         labels from the insulation manufacturers in the mid-1960s.         Prior to that
13         time, beginning more than two decades earlier, the Navy's own occupational
14         health program provided training, engineering and administrative controls,
15         personal protective equipment, and medical surveillance to prevent the
16         hazards of asbestos to shipyard workers.
17                C.     Any additional warning about the hazards of asbestos by an
18         equipment manufacturer would be only partial in scope as well as inherently
19         redundant, eventually obsolete, and almost certainly inconsistent with the
20         Navy's own training. The Navy could not permit unauthorized hazard labels
21         which might inte1fere with the abilities of sailors to perform their duties in
22         the heat of battle.
23               d.      At most, it 1s possible that manufacturers of equipment
24         delivered to the Navy without insulation could merely have told personnel to
25         follow the Navy's own mandates for handling asbestos.           This redundant
26         information is not informative, diverts attention from hazards inherent in the
27         equipment, and would certainly become obsolete. Equipment aboard Navy
28         vessels last many years and the Navy's asbestos hazard communication
                                                 8
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1        program evolved over the years to keep pace with scientific developments
 2        and changes in materials.
 3              e.    If each equipment manufacturer (and conceivably even the pipe
 4        and structural steel manufacturers) provided its own warning about asbestos
 5        insulation that might be used on or around its product, inconsistent warnings
 6        would certainly have resulted.      Many other hazardous substances (for
 7        example boiler feed water chemicals, fuels, solvents, heavy metals) are used
 8        in conjunction with the multitudes of equipment on a ship. If each was to
 9        warn about all the possible substances that might be used on or around its
10        equipment, sailors would quickly become inundated with inconsistent
11        information on myriad substances.
12              f.    Some types of insulation used by the Navy on equipment were
13       non-asbestos (e.g., fiberglass blankets) and any general warning about
14       asbestos on such equipment would simply be wrong. In fact, asbestos was
15       designated as a "critical material" by the Army and Navy Munitions Board
16       on or about January 30, 1940. See Exhibit 4. The Navy directed that
17       substitutes for asbestos, including fiberglass, cotton duck lagging and hair
18       felt, should be used where possible, including on low temperature pieces of
19       equipment in order to conserve available asbestos. See Exhibit 5.
20              g.    Based on my experience, the United States Navy, as the biggest
21       user of asbestos in World War II, and thereafter in shipbuilding, was more
22       knowledgeable about any hazard of asbestos than any of the vendors who
23       supplied it and upon whom plaintiff seeks to impose a duty not consistent
24       with or imposed by the above naval specification. In Par. 10, I mentioned
25       the extent of the Navy's knowledge with regard to asbestos. As an aid to the
26       Court, I submit herewith as Exhibit 6 an affidavit of Samuel A. Fmman,
27       M.D., with attached exhibits, with which I am thoroughly familiar from
28       various other litigations involving the U.S. Navy. Dr. Forman compiled the
                                       9
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1         documents attached to his affidavit while detailed by the Navy and under
 2         Navy orders to perform an investigation into the state of Naval hygiene and
 3         asbestos.   I agree with the conclusion of Dr. Forman that the state of
 4         knowledge of the United States Navy regarding hazards of asbestos was
 5         quite complete when compared to available knowledge at the time of World
 6         War II, and that by 1940, the United States Navy was a leader in the field of
 7         occupational medicine relating to, among other things, asbestos exposure. I
 8         myself, was exposed to asbestos in inspecting the work of insulating shops
 9         under my supervision during my tenure at the Brooklyn Navy Yard and also
10         in San Francisco. Accordingly, my interest in the Navy's knowledge in this
11         field was both personal and professional, and continuing to this day.
12         I have reviewed all of the exhibits attached to the affidavit of Dr. Forman
13         including the article attached as Exhibit C thereto, as well as the documents
14         listed above in sub-paragraph (f), which I saw in the course of my duties as a
15         naval officer, as either official United States Navy Documents or mticles
16         reproduced from recognized and reputable magazines and reviews of the
17         kind relied upon by experts.
18               14.   Based on my experience, the United States Navy is bound by its
19 own regulations and would not permit any vendor gratuitously to do anything not
20   provided for in its own regulations. The Navy would not allow any warnings to be
21 placed on any product without specific authority by way of an order or a
22 regulation.
23               Therefore, I conclude:
24               The information     possessed   by the Navy with respect to the
25 specification and use of asbestos, and the health hazards associated with its use
26 aboard Navy vessels, represented the state-of-the-art and far exceeded any
27 information that possibly could have been provided by manufacturers of Naval
28 equipment. Based upon the knowledge at a given period in time, the Navy was
                                      10
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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 1 fully aware of the recognized health hazards of asbestos and had a robust program
2 to control exposure of personnel and monitor their health.
3               There was no information concerning any asbestos hazard or danger
4 posed by any asbestos-containing product applied to any equipment on a United
5    States Navy ship known to a manufacturer of equipment that was not previously
6 known to the United States and the United States Navy.
7         It would be unreasonable to assume that the Navy would have accepted
8 gratuitous comments from equipment manufacturers about hazards associated with
9 a product they neither made nor sold and about which the Navy was already aware.
10

11        I declare under penalty of perjury that the foregoing is true and correct.
12 Executed this 2 day of March 2011.
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                                      11
      DECLARATION OF REAR ADMIRAL (USN, RETIRED) BEN J. LEHMAN IN SUPPORT
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      Curriculum Vitae of Rear Admiral Ben J. Lehman (Ret.)


                   EXHIBIT 1
                              TO DECLARATION
                    OF REAR ADMIRAL BEN J. LEHMAN (RET.)
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                                    Ben J. Lehman
                     Rear Admiral U,S, Navy (Engineering) Retired
        ProfesslonalEngineet, Safety Professional President- Mech Elex TexJInc.

    Education:
    College ofU,e City of New York [CCNY), Ila eh. of Mechanical Engineering    (1942)
    MassachusettsInstitute of Tech. JM.J.T,],Navnl Architecture {4 months}      (1942)
    U.S. Navy Post-GraduateSchool, Electrlcnl find MechanicalEngineering        (1945)
    HarvnrdUniversity1 M.S. in Meclianical Engineering                         (1949)
    Stanford University, Design Philosophy and Advanced Stress Analysis      (1957-59)

    Forensic Experitnce:
    Testifiedin courtover 50 times regarding;
    Ship Oesign,Constructionand Repair, ProductDefects
    Safety Engineering IncludingWarning$ and Trtiining;
    ConstructionPracticesandEquipmentiElectricalEquipmcrit;

    professional Recognition:
    Regislcrcd Professional Engineer: New York(1949), california (1953), [Emerilus:Alabama (1976),
                                       Louisiana (1976)] Florida (1976:lapsed)
    Certified Safely Profe,sional (1979-2004: discontinued in2004)

    CllrcerExperience:
     Ship superintendent and planning officer, [U.S. Navy- Ensign to Ledr]       (1942-46 + 1950-54)
     (Promotions in the Naval Reserve: C<lr-1957,Captain-1962, Rear Admiral-1977; retired 1982)
    Engineer, General Electric Co. (1946-48) & Bethlehem Slee! Shipbuilding Div.            (1949-50)
    Engineer, Bechtel Corp, (1954-55) & Sylvania Electric Microwave Laboratory                  (1955)
    Project Engineer, Kaiser Aircraft and Elcclronics (1956-57) & Beekman Instruments       (1957-59)
    Engineering Manager, Lockhe<d Missiles and Space Co.                                   (1959-69)
    Direelor ofEngineerlng, L-OckheedShipbuilding and Conslructton CO,                       (1969-72)
    Vice--PresidentEngineering)Litton Industries & IngalJsShipbuilding                      (1972-75)
    Independent Consul!ant                                                          (1975 -present)

    Affiliations:
    SystemsSafely Society                                        AmericanSocietyof Naval Engineers
   Society of Naval Architects & MRl'lneEngineers                Societyof Automotlve Engineers
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         Affidavit of Navy Rear Admiral David Sargent, Jr.


                    EXHIBIT 2
                              TO DECLARATION
                    OF REAR ADMIRAL BEN J. LEHMAN (RET.)
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                                                Civil Action l!0S-cv-1007&-RGS,
                                     United States District Court, District of Massachusetts


                                          AFFIDAVIT OF DAVID P. SARGENT, JR.


                STATEOFHAWAil                                    )
                                                                 )       ss.
                CITY AND COUN'IY OF HONOLULU                     )

                         DAVID P. SARGENT, JR., being duly sworn, deposes and stales under the

                penalties of perjury, as follows:

                                                  Baok:g,ound and E:i:perience

                         I. I am a retired Rear Admiral of the United States Navy, in which I served

                between 1967 aa.d 1999. J began my active na11al career in 1967 after receiving a

               Bachelor of Science degree in Mechanical Engineering .from Cornell University and

               teceiving a commission       in the Navy through the Naval ROTC program. Upon

               collllllissioningin    the Navy~ I attended the Cruiser-Destroyer Forces Pacific fleet

               Engineering Offi.cer•s School in a course focused on the operation and maintenance of

               engineering plants of World War II era warships. In 1974, I received a Master of

               Mechanical Engineering degree from the Naval Postgraduate School, Monterey,

               California. In addition, I am a licensed Professional Engineer (Mechanical) wi1h

               extensive operational experience in ship engineering, ship maintenance and at.-sea

               operations.

                       2. My assignments from 1967 until 1988 were primarily involved with the

               operation and maintenance of Navy warships. Thereafter, I held a variety of program and

               technical maDagement positions in the Naval Sea Systems Command program offices
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                  where I was responsiblefor the design,construction,fleet introduction,in-service

                  support, and modernization of various classes of warships. Upon selection to Rear

                  Admiral in 1994, I was assigned as Commander, Naval Surface Warfare Center, a diverse

                  organizationof researchlaboratoriesand engineeringstationsresponsiblefor researc~

                  and development of all technical aspects of Navy surface ships and submarines. My final

                  assignment before retirement in 1999was as Program Executive Officer for Aircraft

                  Carriers, Expeilitionary Warfare and Auxiliary sbips. In that position, I bad overall

                 responsibility for all matters relating to both tbe technical and programmatic details of

                 design, construction. delivery and support of both new and in-seivice aircraft carriers.

                 expeditionary warfare and auxiliary ships ofthe Navy.

                         3. I am now President of Sargent Enterprises, Inc., which includes two companies

                 serving the mcuitime industries. SEI Associates. an engineering services business,

                 p:rovides technical and management support to maritime industries. SEI Marine

                 Techno[ogies is a company that operates and maintains various test and demonstration

                 craft for research and development companies involved in developing new equipments

                 and hull forms for future high performance ships. I have served for many years in active

                 leadership oftlie American Sociely of Naval Engineers, and in200I and again in 2003

                 was elected to serve two consecutive two--yeru-
                                                               terms as president of that organization.I

              am also a member ofthe Sigma Xi Engineering Honorary Sociely, the American Sociely

              of Mechanical Engineers and the Comell llngineering Alumni. Association.

                        4. As a Navy engineering officer and program manager, I was often called upon

              to assist in determining conformance of shipbuilders and equipment vendors to drawings

              and specifications prior to acceptance by the Navy. The chain of command within the




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             Navy concerning ship design and construction involves several layers of authority,

             particularly   in the liDes of command for technical and contractual control over Navy ship

             design, construction, maintenance and repair, Ultimately, the Secretary of the Navy bas

             authority over the Navy including Navy shipbuilding design, construction and operalion.

            During the 1940s, J950s and 1960s, the Navy Bureau of Ships (BUSHJPS) Oater known

            as NAVSHJPS and currently as NAVSEA) controlled all Navy ship design and

            construction,

                      5. I am knowledgeable from my own Navy service, and also from my educalion,

            training, research and experience with the hjsforicaJ practices and procedures employed

            by the Navy in the design and cc»lstruotion of vessels and the operation of its vessels and

            facilities.

                                      Navy Warships are Unique and Complex

                     6. Warnhips must be designed to meet vezy demanding perfonoance requirements

           such as high speed and firing of weapons, the ability to safely carry and employ a vast

           array of explosives and ammunition, the ability to operate for long periods at sea without

           support or replenishment,      and do all these missions both in peacetime aod in combat

                    7. Navy war.ships are some oftbe most complex machines ever d_esignedand

           constructed.     They are high-speed, floating, heavily armed comnmnitites tbat must

           support hundreds of crew members and a vast array of complex systems for months at

           sea. Ships are the only machines sufficiently large, complex and mobile that the

           operators must live inside the machines they operate. Thus, warships of all sizes and

           types contain all the facilities of a community plus multiple the •=•ments        and

           ammunition.      Major characteristics   and capabilities include a sturdy and survivable. hull




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                    fonn, high peJformance propulsion systems, electrical power generation to support all

                    needs, fresh water distilling systems, food storage, prepara1ion, and eating spaces as well

                    as clean up, Jiving spaces, laundry services, medical spaces, library, firefighting and

                    damage control capabilities, and many other services.

                            8. An example will help to illustrate the immense task faced by the Navy in

                    designing warships. Among the vessels constructed by the Navy during the general

                    period in question were the so-called Fonestal class aircraft carriers. These ships were

                    designed and constructed during the I 950s and served the Navy into the 1990s.

                           9, TbeForrestal class carriers were 1,063 feet long. with·an extreme width of

                252 feet. They displaced about 80,000 tons. Their draft, or depth below the waterline,

                 was approximately 3 7 feet (about the height of a 4 sto,:y building). The overall height of

                 the ships was greater than the height of a 25 story building, and they bad 19 different
                0
                    levels'' or floors. The flight deck from which aircraft took off and landed was

                approximately four acres in size7and the hangar bay consumed an additional two acres.

                The vessels ba.d approxirnately 3,000 separate compartments or rooros, ranging in size

                .from small offices to engineering spaces the size of gymnasiums.        The onboard

                storerooms were equal in size to a six-story building. lt took about 300,000 gallons of

               paint to paint the entire ship. There were multi pie large food preparation and serving

                areas to feed the crew around tbe clock.

                          l 0. The Forrestal class carriers were capable of speeds in excess of30 knots

               (about 36 mph), produced more than 200,000 gallons of fresh water a day by dlstilling

               salt water, and canied several hundred-thousand gallons ufsbip and aviatiod fuel Each

               had eight large turbo-generators that produced enough electricity to power a good sized




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                  city. The Navy estimates that the strips had more than I 0,000 miles of electrical cable

                  installed and many miles of piping. The ships carried more than 80 aircraft each, and they

                  had crews of more than 5,500.

                            I J. Navy warships must be designed to operate effectively in ve,y har•h and

                 hostile environments, to survive battle damage and fight again, and to meet demanding

                 speed and maneuvering requirements. Over time, the specific types of enemies, weapons

                 and combat which Navy ships must f.ice has changed, from a focus on surface-to-surface

                 combat involving heavy guns to greater use of aircraftand missiles. These changes have

                 created fundamental changes in the design and constroctioo ofNavy vessels.

                           12. Beginning in and following Wodd War II>the aircraft carrier became the

                most significant type of surface ship. An aircraft carrier must use high speed to create

                wind over the deck 10 bmnch and recover aircraft The result was an overall increase in

                the speed demanded of Navy vessels of all types, whether carriers or the support and

                escort vessels that accompany them. To meet these demands, Navy designers bad to

                develop significantly higber horSepower propulsion plants. It was also imperative that

                this increased power be achieved withou1 significant increase in either the size or the

                weight oftbe propulsion plant, since increased size and weight would require even more

               horsepower.

                         13. The unique aspects of Navy warship design and development placed other

               requiremen1s on the Navy establishment_ Since lhere was no U.S. industry that e!tber

               qesigned or assembled these high performance propulsion plants, the Navy had to

              , undertake itself1be design of tblese complex and Slate-of-lhe--artwarships, and had lo

               develop ways to verify the performance and reliability oflhese new designs. To




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                      accomplish this, the Navy maintained an engineering establishment witb many different

                      engineering specialties. The Navy bad the most diverse and advanced engineering

                      workforce in the natinn. Additionally, verifying the perfom,ance of these: new propulsion

                      designs required that the Navy engineering organization build large shore-based

                      laboratories in which they assembled and operated prototypes of these propulsion plants.

                      These prototypes served many uses including verifying performance, validating

                      reliability, and developing optimum operating procedures.

                                           Navy Vessels - Concept to Operational-       The Process

                               Cost and Feasibility Studies

                               14. Prior to the 1940s through the 1970s and even today, the design of a Navy

                     warship started with the establishment of naval war fighting requirements at the national

                     level. Examples included Tcquirementssuch as the need to ensure that sea Janes in

                     intemational waters could not be denied by an cncmy the need to detect and neutralize
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                    hostile ships, submarines, and aircraft that might threaten. U.S. or allied coasts, theneoo

                    to transport and operate aircraft near enemy territory, and the need to traasport and

                    debark Marines anywhere in the world. From requirements sucb as these) various ship

                    concepts were fonnulated.

                              15. Rigorous feasibility studies were done on these concepts by both seasoned

                    naval operators and by experienced ship engineers and designers to validate and mature

                    the concepts, and to develop initial cost estimat~ for budgeting and congressional

                    funding requests.       A final ship concept design emerged, describing such parameters as

                    approximate physical size and displacement of the ship, what weapons and sensdrs would

                    be used aboard, what speed it was required to achieve, what range it must be ablo to




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                  achieve without refueling, and how long it must operate at sea without replenishment

                  Typically, it took a year or more to progress from a dermednew warship requirement set

                 to an agreed lo concept design to meet tho~• requirements.

                           :Prelinili1ary Design

                           I 6. The next step in the creation of a new warship during the linie periods in

                 question was the conversion ofthe concept design into a preliminary design package that

                 contained sufficient details of the structure and all ships systems to allow engineers to

                 verify that the ship would meet established requiremen1s- During preliminary design

                 Navy engineers determined all equipment arrangements, the weight and stability of the

                 ship. a detailed understanding of th&ship's displacement and powering requirements, and

                a much better cost estimate. Work included investigation of details such as identification

                of what materials and technologies existed or could be developed fo time to achieve the

                performance of each system, and ensuring that these technologies and design details

                could in fact be manufactured and integrated into a completed warship were considered

                and addressed.

                         l 7. The preliminary design phase was accomplished by dividing the very

               complex ship into many groupings and sub-groupings such as hull design, propulsion,

               electricaJ. deck equipm~nt, messing and berthing, medical, navigation. weapons, sensors 1

               and auxiliary systems to name just a few. During this preliminary design phase,

               engineers had t~ develop and document lhe performance, configuration, and location of

               each system and piece of equipment that is required to meet the overall shlp perfonnance

               requirements.

                        I 8. The preliminary design also had to comply fully with extensive Navy warship




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                  design GeDen! Specifications and other design guidance developed over many decades

                  of experience. Examples include aspects such as bow much damage.the ship must be

                 able to experience and still remain operable, what levels of shock from battle damage

                 equipment must withstand ~d remaio operational, and what fire fighting and damage

                 control capabilities must be included in the design. Al the completion. of the preliminary

                 design and related documen1a!ion. the Navy was confident that the ship and all included

                 systems and equipments woultl function as designed and would meet the war fighting

                 requirements.

                           19. Although the time to develop a preliminary design varied greatly depending

                on the size and complexity of the warship>typically for a destroyer-type warship~ the

                preliminary design required six months to a year and thousands of man-years of

                engineering work.

                         Development of the Contract Design package:

                         20. The next pbase in progressing from a ship design to an operational warship

               was tb6 contract design process) in which the preliminary designs were converted into

                documentation ofpwper           format and sufficient details for use in the government

               acquisition contracting process.          In essence, this effort was to udesign" the proourem.ent

               contract.

                         21. The complex ship systems and subsystems described in the preliminary

               design were typically comprised ofa myriad of individual mechanical and electrical

               components connected together in intricate ways. During the conltact design phase,

               Navy engineers had to confirm that sources existed from which the specified materials,

               equipments, and consumables could be obtained. However, usually there was no one




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              source from which the Navy could obtain these complex warship systems and

              subsystems. Rather, sources had to be identified for individual components that could

             later be assembled into tbe Navy's complete systems. Thus, the Navy typically had to

             procure, for each vessel, countless individualcomponents from dozens ofindividual

             suppliers and sources, Examples of components associated with just the propulsion

             systems on Navy warships include specific types of steel and fasteners, pipe and fittings;

             pumps, valves, turbines, condensers; electrical motors. generators, and switchboards;

            gauges. meters>alarms;boilers, condensers and reduction gears. During WorldWtrrI]

            and weJJ into the 1960s, virtually all equipment that was 10 be installed in warships was

            procured by the Navy and provided to the building shipyard as govemment-furnisbed

            equipment.

                      22. This detailed design of all equipment, subsystems, systems, and the entire

            ship alsa was required to comply fully with a plethora ofNavy design guid,mce

           developed. from previous experience. For example, the Nitvysets aad follows iotemal

           standards and requirements regarding such matten as leve]s of redundancy necessaiy to

           preclude single points of failure, standardization of consumables and spare parts alllongst

           different equipments, systems and with other warship c;lasses, crew operating

           environmental requirementssuch as temperature,noise>lighting, eqlllpmentlabeling,

           standard Navy identificatitm and labeling of decks, doorways, compartments, and

           equipment, and housekeeping mattern such as heating and ventilation, food storage

           p:repa,ation and serving, and laundry requirements.

                    23. The contract design package when complete included the enti;e set of Ship

           Specifications with detailed design infoonation, the contract plan for procuring all




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                  equipment as well as contracting for ship construction. and the multitude ofindividual

                 requests for proposals that were required to describe every piece of material, equipment

                 and subsystem that had to be procured to allow construction of the warship. The

                 development of the contract design package involved multiple government decisions.

                 Examples include decisions which were subject to various Navy and other federal

                 guidance and regulations, sucb as Federal Specifications, Federal Acquisition

                 Regulations and Defense Federal Acquisition Regulations.

                          24. The Navy developed specifications called, since the 1950s, Military

                 Specifications (MILSPECs) for use in the contract design package. Thousands of

                MILSPECs were developed for various specific materials, equipment, components,

                books, manuals, label plates, etc. These MILSPECs presented very detailed descriptions

                ofwbat the government required when procuriog the items covered by lbe MlLSPECs,

                including requirements such as chem~cal composition, dimensions 1 required testing and

                perfonnance demonstrations. required labeling, packaging and shipping requirements,

                and similar content.      These specifications typically cross-referenced and invoked other

                specifications.

                         25. The Nav_y maintained the responsibility to develop the MILSPECs and other

                staJJdards for the manufacture and supply of equipment used in Ureconstruction,

                maintenance and r~pair of Navy ships. Spedfications for any equipment intended for use

                aboard Navy ships were drafted, approved and maintained by the Navy. Once

                promulgated, only the Navy could make changes or modifications to those specifications.

               MJLSPECs were prepared by hundreds of Navy engineers highly qualified in specialty

                areas sucb as, among many other things, pumps, steam turbines, gas turbines, reduction




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                  geara, ship propulsion, and auxiliary equipmenl.

                            26. This specification system was initiated in the 1930s and was expanded in

                  both scope and detail for use in the procurement of the large number of complex warship,,

                  procured in the World War II timeftame and since. The technical specifications system

                  always included a disciplined revision and change prooe55to ew;ure technical

                 specifications were kept current and reflected changing requirement,, technology,

                 materials, and other related updates. Man.ufacturers of components, such as pumps,

                 procured. by tlle Navy for use in warships were required to comply with technfoat

                 specifications       in all details in order foTthe Navy to accept the equipmo.n1s being

                 manufactured~ tested, and shipped.

                           27. Examples ofMILSPECs issued by tbe Navy for centrifugal pumps of the type

                manufactured by Buffalo Pumps are attached as Exhibit, A and·B. Notably, among

                numerous other detailed requirements, both required that internal gaskets in the pumps be

                "asbestos sheet gaskets."

                          28. Navy specifications were colllIIlunicated to vendors such as Buffalo Pumps

                when the Navy (or private entities, such as shipyards or professional design finns) issued

                Requests for Proposal (furmerly called Iuvitations for Bid) for the manufacture or supply

                of certain equipment.         Compliance with the standards and specifications issued for

                equipment supplied for ultimate use aboard Navy ships was directly monitored by Naval

               Machinery Inspectors under both oftbe following divisions: (a) Machinery Inspe~tors

               µnder the Bureau of Supplies and Accounts worked on-site at vendor facilities, such as

               Buffalo Pumps' manufacturing facility; and (b) Machinery Inspectors under BUSHIPS

               carried out their responsibilities at the shipbuilding yards. The Machinery Inspectors




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                 ullimately worked for the Secrelruy of the Navy or the Secretary of War. These

                 Inspectors exercised primary, front line conrrol and direction over the work performed for

                 the Navy by original equipment manufacturers, regardless of whether the equipment was

                being constructed or ,upplied pnrsuant to a Navy or private contract. Buffalo Pumps

                equipment could not have been installed aboard Navy vessels unless that equipment was

                first determined by the Navy to be in confonnity with all applicable Navy specifications.

                         29. The incredible.level of detail contained in 1hese specifications is necessary to

                ensure complete and common understandingbetween the governmentand vendors of

                what it is the government requires and is committing to pay for, to enstirecommonality

               across systems with similar components, and to ensure that replacement parts. equipment

               and consumabJe -materials1 some provided by different manufacturers,wiU aJlperform ns

               desired. An acquisition contract typically invokes many different MILSPECs and various

               technical documents such a.s drawings prepared by the Navy's Bureau of Ships. Taken

               togetber, tbe contract and the incorporated materials present all details of what the Navy

               requires. 1t is through this detailed acquisition process that misunderstanding1 or

              rejection at the time of government acceptance inspection, is avoided. This process also

              mirumizes contract disputes between the goyernmeDtood industry vendors.

                        JO. Developing the contract design package is comparable to the effort required if

              a team was to simultaneously               develop the detailed designs and contracts to construct a

              small city including all the required services such.as utilities, hospitals, restaurants, and

              the like. Because of the complexity and thoroughness required, development of the

              contract design package for a warship such as a destroyer typically'took two years or

              more to complete, with thousands ofrnan~yearsor effort from cngineers1 logisticians,




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              contract and legal specialists.

                        Detailed Design

                        3 I. From the J940s through the 1970s,and even tosay, the next step in the

              creation ofa new warship                was
                                                        the conversion of the contract design into detailed design

             package that contains sufficient details oftbe structure and all ships systems to allow the

             building shipyard lo build the sbip and integrate all specified equipment in accordance

             with Navy requirements and specifications. The detailed design was typically

             accomplished by the construction shipyard -whether a Navy yard or a private yard -

             after the construction con~ct                 was awarded. During this detailed design phaseJengineer8

             bad to develop and document in detail the exact location, mounting details~and interface

             details of each system and piece of equipment in the total ship. Even where not

            performed by Navy personnel, the detailed design was also overseen by Navy

            representatives.

                      Warship Construction

                      32. The final phases in getting the warship operational included the construction,

            testing and trials, and acceptance by the .Navy. During World War Il and up until the mid-

            l 960s, some Navy warships were constructed at Naval Shipyards and others were

            constructed at private shipyards under Navy contract and supervision. Once the Navy

            selected a construction shipyard, that shipyard was required to comply with all details of

            the contract in the procurement of material and equipment, the construction of the ship,

           the testiag of equipment, subsystems, and systems and the demonstration to the

           goverument that all systems functioned properly. Ail consiruction and testing was

           overseen on a daily basis by the on-site Navy Supervisor of Shipbuilding team. Formal




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            acceptance of the completed warship was recommended by the Navy Board of Inspection

            and Survey only after the members of the Board had witnessed successful sea trials of all

            systems.

                     33. Constnlction of even a relatively small warship such as a deslroyer typically

            took three to five years, with larger ships requiring somewhat longer. During World War

            II, the conslrUction lime for warships was dramatically reduced through the concerted

            efforts of both the Navy and the industries involved. The Navy, working with the War

           Production Board, fostituted standaTdi.zationof warship designs} centralprocurementof

           shipsj major equipmen~ propulsion machinery 1 and ordnance 1 and allocation of key

           materials. Ind□stry went to twenty-four hour workdays with multiple shifts,

           prefabrication and automationof many processes, and multiple other time saving

           methodologios. The Navy and the U.S. Maritime Commission worked closely with the

           shipbuHding industries and increased the number of shipyards capable of constructing

           destroyers and larger ships from approximately a dozen in J 940 to aroUJ1d70 in about

           two years.

                                          Asbestos and Insulation in the Navy

                   34, As described above, the Navy requirements for aircraftcarriersand other

           warships of"\Vorld War II and later included the need for significantly higher speeds !ban

           previously. This reqiredhigh speed was achieved by the design and development of

           sophisticated high-pressure steam propulsion systems. Steam pressures of 600 pounds per

           square inch and the ability to superheat the steam to 850° F became    thenorm.
                   3S. The key to meeting this high horsepower demand was the development by the

          Navy of much higher pressure, superheated steam propulsion plants. With the increased




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             pressw-es came greatly increased temperatures and thus the need for much improved

             iIJsulation technologies, both for plant efficiency and for operator comfort and safety,

             These "high power density" propulsion plants increased the operatiIJg temperatures of

             machinery and piping, and they creall:d a need for greatly improved thermal insulating

             and lagging materials. The Navy maintained significant expertise in the important areas

            of heat transfer and insulation. As a consequence, the thermal insuJationneeds associated

            with various equipment aud systems was a significant issue in the design of Navy vessels

            from a number of perspectives.             Tbennal insulation served a numberofimportant

            fuuctions, as set forth, for.example, by the 1947 version of the-Navy's BUSHIPS Manual,

            a technical reference for Navy cngjneers, where Chapter 39 was devoted entirely to

            "Thermal Insulation":

                      39-2.     REASONS FOR INSULATING

                                (I) In every power plant there is a beat loss from all heated surlaces and a
                     heat flow to all cooled surfaces, Heat flow may occur in th:reeways; by
                     conduction, by convection, and by radiation.

                                (2) Conduction is the heat flow from one part of a body to another part of
                     the same body, or from one body to another with which it is in physical contact,
                     without displacement of the particles of the body. This manner of bent flow is
                     most important in i:nsulation as it is the low conduction which results in the
                    greatest temperature differential between a hot insulated surface and the
                    almosphere (as in steam piping insulatioa), or the relatively wann atmosphere and
                    a cold surface (as in refrigerating pl~nt insulation). Heat transfer from insulated
                    pipes or large blanketed or cemented smfaces {turbines, evaporators, etc.) to the
                    outer surface of their lagging is inchmed in this mode. Conduction is associated
                    with solids and comparison of materials in this respect is measured by a factor
                    called the "thermal conductivity'' which expresses rate of conductivity in British
                    thermal units (B.lu.) per inch of thickness per hour per square foot of area per
                    degree Fahrenheit temperature differential.

                             (3) Convection is the transfer of beat from one point to another withina
                    fluid, gas or liquid, by circulating or mixing of one portion of the fluid with
                    another. These currents are produced by warm fluid being displaced by heavier
                    cold fluid. It is ofinterest to note that convection reduces the effectiveness of air



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                         space insulation unless such space is very smelt

                                 (4) Radiation is the method of heat transfer by which a hot body gives off
                        energy in tho form of radiant heat which is emitted in all directions. Radianthea~
                        like ligh~ _travelsin straight Jines and with the speed af light The surface
                        condition greatly affects the ability of a body to radiate heat. DuU, dark, rough
                        finished surfaces arc the best radiators. Conve~ely, bright, shiny, smooth
                        surfaces are good heat reflectors.

                                 (5) In order to roirrimize the traosfer of heat from orto a body or surface
                        which is hotter or colder, respectively, than the surrounding atmosphere, thermal
                        insulation is applied. This thermal fosulation fa a map,rial or materials of low
                        thennal conductivity. (See par. 39-2 (2),) While increasing the economy oflhe
                        plant, tbe,maJ insulation also reduces the qmmtity of air necessary for ventilating
                        and cooling requitements and prevents injury of personnel due to burns from
                       contact with hot parts of apparatus. It also insures mo.re unifonn heat distribution
                       within equipment. Another function ofthennal Insulation is to prevent
                       usweatingn of cold sllrfaces on which atmospheric moistute condenses thus
                       causing undesirable dripping as well as accelerated corrosjon of the metal.
                       Insulation must be sufficiently effective to reduce beat losses and lower surface
                       ternperatu(es to a degree which will pennit habitable conditions in a specific
                       space or compartment.

            (Exhibit C, 39-2).

                       36. Due to the importance of' beat transfer and insulation in Navy propu!.sion

            plants and aboard Navy vessels more generally 1 the Navy maintained significant expertise

            in these areas. The BUSH!PS manual and other documents issued and continuously

            updated by the Navy contained detailed instructions for the insulation by Navy shipyards

            or private contractors of various systems and equipment, including, primarily, 1hemiles

            of piping associated with thermal systems aboard vessels. The Navy's specifications

            provided detailed instructions as to the specific "insulatingmateria1s to be nsed1 and also

            as to the amounts of those materials and the manner in which they were to be applied.

                      37. A 1946 article entitled "A Health Survey of Pipe Covering Operations in

           Constructing Naval Vessels" summarized the extent of and reasons for the Navy's use of

           ashestos-contaimng fu.sulation during World War II:



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                        The cbiefreasons for the wide use of amosite felt and pipe covering in naval work
                        are its low thennal conductivity, light weight, strength, and refractoriness. When
                        the felt and pipe cover were first developed, we were still building vessel,; under
                        the Washington Treaty ofLhnilations
                        in Tonnage, and every pound saved meant that much more armor, guns or
                        ammunitionfor a given displacement>fo say nothingof moreeconomicoperation
                       for the weight involved in insulation.

                       Amosite pipe covering weighs about 14 pounds per cubic foo~with a temperature
                       limit of 750 degrees F. as compared to magnesia with a weight of 16 pounds per
                       cubic foot[ ... ,]

                       The development of amosite felt slroted in 1934 when a need exfated to secure a
                       thermal fasulation lighter in weight and thermally more efficient than the
                       materials (blocks and cement or asbestos blankets) which were then being used in
                       destroyer turbines. . . . Origiaally amosite was us~d only for turbine insulation,
                      but it proved so satisfactory that ifs field of application enlarged to include
                      insulation of valves, fittings, flanges, etc. From the initial destroyer, it has been
                      used on almost all the destroyers built since that time and on all other combat
                      vessels built since before the-War.

                      Pipe covering was a later development in late I 935 and early 1936. Due to the
                      manufacturing problems involved. it took a longer time to evolve into a
                      satisfactoiy shape, and its firstuse on naval vessels was in 1937. Sinco that time
                      jfs use has spread markedly and it was used on the great majority of naval combat
                      vessels built during World War TI.

            (Exhibit D, p. 9).

                     38. The Navy's dictation of the methods and materials for insulation of thermal

            systems took various forms. As noted above, these included serial iterations of the

           BUSHlPS Manual's Chapter 39 on "Thermal !nsulation." See Exhibits C (1947) and ll

           (1960). The Navy also prepared and imposed upon Navy design engineers General

           Specifications for Machiilery for Vessels of the United States Navy. Those specifications

           included an entire section - Section S39 - governing "Thermal Insulation for Machinery

           and Piping."      The 1951 version of this document is attached as Exhibit F. Beginning i.n

           1962, the Navy began issuing a Military Standard intended "to amplify the general

           requirements for insulation of piping, machinery, uptakes, and mechanical equipment



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              covered in the General Specifications for Ships of the U.S. Navy or in ships

             specifications.     (Exlulrit G).

                       39. The Navy and/or its design agents prepared for the builders ofNavy vessels

             detailed drawings aod plans showing the precise methods and materials for insulation of

             various systems and equipment. Those documents - referred to as ''InsuJation and

             Lagging Scliedules" - implemeuted the overall requirements of the General

             Speoifications, and they provided the actual instructions to the personnel applying

             insulation as part of an integrated systern of temperature control and energy conservation

            consistent with the Nav;f s ne·eds in the operation of Hs vessels. These "Insulation and

            Lagging Schedules" were typically developed for each class ofwarsrup. Examples of

            such plans for the USS Fletcher and USS Sum11er/Geari11gclass destroyers ond the USS

            Essex-classaircraft carriers are attached as Exhibits H, I and J. The Insulation and
            Lagging Schedules included details on the materials lo be used, tho thickness, installation

            procedures, and finishing details for tens or even h\Jlldreds of tons ofthennal insuJation

            materials to be applied by Navy and private shipyards. Once the Navy selected a

            construction shipyard, that shipyard was required to comply strictly with all Navy

            specifications. plans and drawings in the application of insulation and lagging to systems

            and equipment aboard Navy vessels.

                     40. As the attached docwnents demonstrate, throughout the World War II and

           post- World War II era, the vast majority ofthennal insulating materials used aboard

           Navy vessels contained asbestos. Asbestos-containing materials offered many

           advantages over previous or alternative materials in meeting these needs, They were

           relatively light compared with previous materials, had better insuatiDg properties, did not




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                require excessive thicknesses in application,wore more durableand were resistant fo

                dissolving in or absorbingsaltwater. The materialsalso ser.vedas fire protectionin an

                environment in whiob fires were an ever~presentdanger.

                       41. Thus, the u.,e of asbestos in thermal insulation allowed the Navy to design

               and field propul.sion systems that met the demanding war fighting requirements of World

               War IT and later. The iroportance of asbestos to Navy warships is attested to by the fact

               tbat it was assigned a bigb priority in the U.S. government's critical materials allocation

               process. Asbestos was in short supply during World War II, and its use was controlled

               rhrough the W'M Production Board p~cess.       A very large percentage of asbestos was

               allocated to the needs of the Navy and U.S. Maritime Commission for use in insulation

               for ship c:onstmction~

                      42. The Navy's demands for asbestos-containing insulation were extraordiDaty.

               For example, the Insulation and Laggjog schedules for destroyers of the Navy's Si,mner

           and Gearing classeo - relatively small vessels of which the Navy constructed

           approximately 200 during World War ll - specified nearly 24 tons of asbestos containing

           !henna! insulation be installed. A 1979 Department of the Navy letter (Bxllibit K) recites

           the following estimates of the quantities of thermal insulation aboard different types of

           Navy vessels of the J 950s and 1960s:

                             Destroyer - DD                      87,634 lbs
                             Guided Missile Cruiser - CGN       123,770 lbs
                             Submarine - SSN                     62,465 lbs
                             Replenishment Oiler -AOR     78,515 lbs
                             Large Harbor Tug- YTB                 6,858 lbs

           Larger vessels, such as aircraft caniers and battleships - required multiples of those

           amounts. Taken as a whole, in both new construction and overhaul, the Navy applied




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                thousands of tons of asbestos materials aboard its vessels from the 1930s through the

                J970s.

                          43. Due to the complexities oftbe ship design and construction process, and the

               global nature of the Navy's approach. to selection and procurement ofinsufotion and

               Jagging materials, manufiictuers of components such. Buffalo Pumps were not consulted

               by the Navy with respect to insulation   oftheir equipment.   Moreover, they had no control

               over the types and quantities of insulation products to be used in conjunction with their

               equipment, Jlor could they even be certaia whether or not any insulationwould, iu fact, be

               applied to their equipment due to the variety of circumstances and potential uses of tbe

               original equipment onco aboard a Navy vessel

                         44. Above and beyond the tens or hundreds of tons ofthennal insulation used,

              other asbestos materials were ubiquitous aboard Navy vessels. These materials included

              electrical insulating materiaJs, .flooring, refractories and sealing materials,

                            Written Materials Regarding Equipment Supplied to the Navy

                      45. Technical specifications referenced in the procurement documents -for

              components such as pumps have, since at least the 1940s, included detailed requirements

              regarding all written materials supplied with pumps. Manufacturerers were required lo

              supply drawings and plans, as well as technical manuals for equipmenL The applicable

              specifications included strict instructions regardng the labeling of and packaging of the

              components themselves, and for all technical documentation that was procured with

              them. Examples ofMILSPECs          for pumps during this period are attached as Exhibits A

              andB.

                      46. The Navy had precise specifications as to the nature of any markings,




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               coµununications or directions affixed to or made a part of any equipment supplied by

               manufacturers such as Buffalo Pumps for ultimate use aboard Navy ships. Such

               manufucturers would not have been pennitted, under the specifications, associated

              regulations and procedures, nor under thi, actual practice as it evolved in the field, lo vary

              or to deviate in any respect from the Navy specifications in supplying equipment,

              including affixing any type of warning or caution statement to equipment intended for
      ,•,
    -· .
              installation in a Navy sblp, beyond those specifically required by the Navy without prior

              discussion and express!>d approval by lbe Navy.

                        47. The Navy also had precise specifications as to the nature ~fwritten materials

             to be delivered with equipment supplied to the Navy, which included engineering

             reference materials to assist tbe naval operators and maintanence personnel in servicing

             and maintaining such equipment and to assist the Navy training establishraont to develop

             instnictional materials and courses. These written materials are and were generically

             known as "instruction books'' or uteob:aicalmanuals.'' Through specificatioos        1   the Navy

             required that certain equipment be supplied with a defined number or'copies of one or

             more instruction books or technical manuals.

                      48. Navy personnel participated intimately in the preparation and review of these

            instruction books and technical maouals in a standardized format used by the Navy.

            These manuals included safety information to the extent- and only to the extent-

            directed by the Navy. Manufacturers of components and equipment were not permitted,

            under the specifications,         associated regulations and procedures, nor under the actual
                                                                      .
            practice as it evolved in the field, to include any type of warning or caution statement in

            instmction books or technical manuals, beyond those required and approved by the Navy




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                 without prior discussion and approval by t_heNavy. The Navy dictated, reviewed and

                 approved the contents of all teclmical manuals, including any cautionary language or

                emphasis. The N~vy approached this process for review and approval of te<:hnical

                manuals in an exacting manner. 11often created lengthy memoranda detailing word-by-

                word line edits to the content of technical manuals submitted for approval, including the

                wording ofinstructional material and wantings. Examples of such coirespondence are

                attached as Exhibit L.

                         49. The reasoos- for tile Navy's detailed control over and review and approval of

               all written communication regarding equipmen1 jt procured was to ensure consistency of

               that information wilh the overall goaJs and priorities oftbe Navy in its operations. The

               Navy employed miJJions ofuaifonned           and civilian personneJ aboard thouso.nds ofvess-els

               and at hundreds ofland-based facilities around the world. The information provided with

               regard to equipment had to be consistent with the Navy's overall evaluation of the

               appropriate types and level of infonnation its personnel required to efficiently perfonn

               lheir job responsibilities     under a variety of chcumstances.   ln addition, written

               communicationsregardingworkpractices, including safety precauiionsandequipment,

              had to be coordinated with the training ofNavy personnel, the physical circumstances in

              which they performed their work, and the tools, protective devices and equipment and

              other materials available aboard Navy vessels and at Navy installations.

                        50. Based upon my knowledge of and experience in the design, inspection and

              procurement of components for use on Navy vessols, the Navy would not have permitted

              Buffalo Pumps or other equipment manufactuem to place asbestos-related warnings in

              technical manuals supplied with pumps for Navy ships during the 1940s, J 950s and




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                 1960s.

                                                       Navy Organization

                          51. Consistent with the sweeping scope of its mission and responsibilities, the

                Navy is comprised of many different OTganfaations,each of which is specialized in focus,

                talent and experience. These organizations work together in accomplishing the very

                complex and unique sequential efforts from the defining ofnaval war tigbting

                requjrements, to designing sbips and weapon,sys1cms that will meet these requirements,

                and then contracting with industry and other government agencies to procure the vast

                array of required equipment and materials and to construct and test warships. this diverse

               Nary organization can be descnOed in four major groupings:

                       -- Secretary of the Navy (SECNA V) and the Chief ofNava! Operations (CNO)
                          headquarters staffs (CNO staff is referred to as OPNA V)
                       -- Operational Fleets
                       -- Technical Bureaus (now called Systems Commands)
                       -- StatfCol))S (Mcdlcal, Dental, Logal, etc.)

                       SECNAV and CNO Staffs
                       52. The staffs of Secretary of the Navy (SECNA V) and the Chief of Naval

               operations (CNO) are involved in the analysis of national naval war fighting needs, and

              the development of specific war fighting requi~ments that must be met. At a top level

              for warspips, these requirements include such things as the types and numbers of ships

              needed; 1he capabilities for these ships such as speed, weapons to be installed; types and

              numbers of aircraft to be embarked~ the range and duration at which these ships must be

              able to operate independently at sea without replenishment; and the reliability    ot'systems
              that must be guaranteed in order for the Navy to meets its war lighting mission. These

              staffs are manned by a combination of experienced umfozmed Navy personnel with




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                      extensive Fleet experience and career~ivil servants.

                                OperationalFleets

                                53. The Operational Fleets are the Navy's warfighters who control and operate

                      the various ships, aircraft, and other equipment in the Navy and Marine Corps. There are

                      several numbered Fleets (e.g., Sixth Fleet, Seventh Fleet) with regional geographic

                     responsibilities around the world. These Operational Fleets have always worked closely

                     with the headquarters staffs in the development of naval warship required capabilities.

                               Technical Bureaus

                               54. The Bureau System was established in !842 to provide the Navy with

                     necessary technical and management controJ. By the early J940s, there were six bureaus:

                               -- Buxeau    of Naval Yards and Docks
                               -- Bureau    of Ships (BUSHrPS)
                               -- Bureau    of Supplies and Accounts (BUSANDA)
                               -- Bureau    of Ordnance and Hydrography
                               -- Bureau    of Medicine and Surgery
                               -- Bureau    of Aeronautics

                    In the J 950s, a Bureau of Weapons (BUWEPS) was formed by merging the Bureau of

                    Ordnance and the Bureau of Aeronautics. In the 1960s the bureau system evolved into

                    what are now called the Systems Com,nands where BUWEPS became the Naval Air

                    Systems Command, BUSHIPS became the Naval Sea Systems CoT!lilland (NAVSEA),

                    and BUSANDA became the Naval Supply Systems Command.

                              Navy Staff Corps

                              55. The various staff corps of the Navy are comprised of professionals such as

                   doctors, dentists, and lawyers who supp~rt all aspects of the Navy i" their respective

                   specialties.

                             56. The Bureau of Medicine (BUMED) has always had a very significant role in



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                   both tho design and operation ofNavy warships, in addition to its fundamental role-in the

                   overall health and well-being of Navy personnel. AU ships have medical facilities

                  inregrated into the design, both for notrnal medical support of the large crews, and for

                  treatment of battle injuries. Small ships such as destroyers have a modest infil1Jl"'Y space

                  and other spaces that can be converted for moilical use while at battle stations. Larger

                  ships have much greater medical capability, with aircraft carriers being fully equipped

                 with several operating rooms for surgery and large hospital wards for sick and wounded

                 personnel.

                           57. HOMED also plays a very significant role in the operation of Navy ships.

                 HOMED estabtishcs the medical policies and procedures, both prevenlive and curative,

                 which are utilized on ail Navy warships. Additionally, the crew of each warship includes

                 medica] personnel who are involved in preventive rnedicinr'.l,
                                                                            crew training,health

                 inspections, and treatmentof ailments and injuries. Sma.11ships such as destroyers

                typically b.ave one highly trnined enlisted hospital co,psman assigned, and large ships

                have both physicians and hospit.al corpsmen. Aircraft ca:rriershave numerousmedical

                doctors and surgeons with various specialties.

                                       Responsibilities ilJ Warship Design and Construction

                          58. Responsibilities for the various functions associated with warship design and

               construction In from the World War JI period to the l 970s were as follows:

                          SECNA V and OPNA V Staffs

                          59. Working closely with the Operational Fleets and Bureaus, these staffs had the

               responsibility for defining naval war fighting requirements, developing concepts of

               operations and ship concepts, and requesting congressional authority and funding to build




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                 warships.

                           BUSHIPS

                          . 60._ ·The Bureau of Ships was comprised of a broad assortment of engineers and

                 technical personnel, and was responsible for all technical aspects ofNavy warships,

                Included were the preliminary designs of ships, the detailed design of equipment and

                subsystems, and development of the contract design package, BUSHIPS, aided by

                BUSANDA, had the responsibility lo develop the contract design package and the myriad

                invitation for bids required to actually procure and construct the ships. All U.S. Naval

                Shipyards were under the direct command of BUSHIPS, as were the resident Supervisors

                of Shipbuilding who performed tbc same _gov_emmentsupervisory functions at civilian

               shipyards. Thus, BUSHIPS was responsible for both the new construction 3Dd fulure

               repair and overhaul of ships at both naval and private shipyards. BUSHJPS and

               BUSANDA each had on•site Navy inspectors at various vendors' plants that were

               responsible for verifying that the vendor complied exaotly with all provisions of that

               vendor's procurement contracts. BUSHlPS was also responsible for the design and

               development of equipment repair and maintenance standards and procedures, and for the

               development of Navy Specs/MJLSPECs that related lo ships and sbip equipment.

                        BUSANDA

                        61. The Bureau of Supplies and Accounts was comprised of a variety of

              professio!)als with specialties in areas sncb as gove'tllDient contracting, logistics planning,

              financial and busfaess management, warehousing and parts distn'bution management, etc.

              BUSANDA,          in addition to on-site and continuous support of BUSHIPS and other

              recbnical bureaus, also provided all Supply Corps officers to the Operational Fleet. The




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                Supply Coq,3 officers were assill,lledto both ships and Fleetstaffs and were responsible

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                       Affidavit of Martin K. Kraft


                    EXHIBIT 3
                              TO DECLARATION
                    OF REAR ADMIRAL BEN J. LEHMAN (RET.)
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                           William A. 0 'Connell v. Buffalo Pumps, Inc. et al,
                                    Civil Action 1 :08-cv-10078-RGS,
                         United States District Conrt, District of Massachusetts


                                  AFFIDAVIT OF MARTIN K. KRAFT


      STATE OF NEW YORK                    )
                                           )       ss.
      COUNTY OF NIAGARA                    )

             I, Martin K. Kraft, being under penally of perjury, declare and say:

             I. I began my career with the Buffalo Pumps Division of Buffalo Forge Company in

      1980. 1 have held various positions with the Bu!TaloPumps Division of Buffalo Forge

     Company, and, beginning in 1985;-With Buffalo Pumps, Inc. I currently am the Production

     Manager.

            2. I am knowledgeable regarding !he United Stales Navy ("Navy'')'s involvement in and

     control over !he design and manufacture of pumps ii purchased from Buffalo Pumps, Inc. and the

     Buffalo Pumps Division of the Bu!Talo Forge Company (collectively, "Bu!Talo Pumps") because

     I have participated in !he design, manufacture, and lesting oflhese pumps. I also have conducted

     a review of available documents and infonnation regarding similar mailers prior to my

     employment with Buffalo Pumps.

            3. Buffalo Pumps has for years made and supplied pumps for Navy ships under contracts

     between Buffalo Pumps and the shipyards and/or the United States of America, specifically !he

    Navy Department.

            4. At all relevant times, a Defense Contract Administration Services Management Area

    ("DCAS") inspector was assigned to be present al Butralo Pumps' manufacturing facilily in

    North Tonawanda, New York. The inspeclor was responsible for conducting process
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      surveillance lo assure compliance of work being done pursuant lo Navy contracts. The DCAS

      inspeclor examined pumps al various phases of conslruclion and al "hold points" specified in the

     _contract to detennine wheU1erBuffalo Pwnps' work complied with the conlract and applicable

      specifications. The inspeccor had the authority lo reject production ofa particular pump at any

      point if its construction deviated from specified design, material and perfonnance requiremenls.

      Additionally, lhe inspector observed testing of pumps and provided final acceptance of pumps

      for shipment to the Navy when speci fled.

             5. The manufacture of pumps for use on Navy vessels is governed by an exlensive set of

      general and specific federal standards and specifications, chiefly military specifications known as

      "MilSpecs." The MilSpeos governed all aspects ofa pump's design and construction and

      specified the materials to be used, including malerials such as gaskets and packing used in

      pumps. Among the most commonly-applicable MilSpecs for Navy pumps manufactured by

      Buffalo Pumps have been Mil-P-17639 ("Pumps, Centrifugal, Miscellaneous Service, for Use on

     Naval Ships") (atlached as Exhibit A) and Mil-P-17840 ("Pumps, Cenlrifugal, Close-Coupled,

     Navy Standard") (attached as Exhibit B), and !heir predecessors and successors.

             6. As can be seen from the attached Mil Specs, the Navy issued specifications governing

     numerous aspects of lhe pump design and manufacture, including the designalion of malerials to

     be used in construction. Among numerous other requirements, the specifications stale that

     "[p ]ump casing join IS shall be made up using compressed asbestos sheet gaskets." (Exhibit A, at

     3.4. 1.5; Exhibit B, al 3.26).

             7. The initial conceptual design for pumps on all classes of Navy vessel was developed

     under the direction ofBUSHIPS, and later NAVSEA. When Buffalo Pumps began lo participate




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       in the design phase of a new pump, the Navy provided perfonnance requirements dictating the

       weight, size, power output, speed, and other relevant design parameters of the pump.

              8. In the design phase of the pump project, as in all other phases, the Navy retained

       ultimate decision authority over the design of the pumps. If engineering disagreements arose

       between the Navy and an outside design consultant, the Navy controlled the design adopted. All

       pumps supplied by Buffalo Pumps to the Navy were built in accordance with the Navy

       specifications or other technical documentation identified in applicable contract documents.

              9. Not only did pumps manufactured and supplied by Buffalo Pumps for Navy vessels

       have to meet detailed and precise Navy specifications, but each pump's configuration was

      controlled by the Navy's specified performance requirements for the vessel or class of vessels in

       question. In other words, the pumps for a vessel or class of vessels were engineered for a

      specific application and were custom-built.

              10. Equipment designed and supplied for the Navy usually was not "off the shelf'

      product. Pumps built for use on Navy ships were subject to different and much stricter design,

      manufacturing and perfonnance standards than pumps that Buffalo Pumps manufactured and

      marketed for commercial, non-military customers. Through its specifications, the Navy imposed

      requirements that made the pumps it procured different in fundamental ways from pumps

      supplied for commercial apPlications.

              11. Most significantly, pumps supplied to the Navy were required to and were designed

      lo be resistant to combat conditions and damage. Navy specifications imposed strict standards

      for "shockproofness" - i.e., resistance to combat damage to the vessel and/or the spaces where

      the pumps were located. (Exhibit A at J.I; 3.3.15; 4.J. l 0-17; Exhibit Bat 3.1; 3. 10; 4.2.8-15).

      Compliance with these shockproofness requirements necessitated unique design and engineering




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      10 ensure the necessary strength and durability for battle conditions. The Navy's shockproofuess

      testing subjected pumps to impacts designed lo simulate the effect of torpedoes, bombs or other

      explosives striking a vesseL

              12. The Navy also dictated other characteristics unique to Navy pump applications thal

      differctl from pumps sold lo co1mnercial customers. These included, for example: stringent

      endurance requirements, and the testing to document them, that differed from standard

      commercial standards and expectations (Exhibit A at 4.1.2; Exhibit Bat 4.4.2); use of different

      metals - gun metal, nickel-copper alloys, specialized bronzes, and other materials - not

      frequently used by Buffalo Pumps in non-military applications (Exhibit A at 3.4.1.7; Exhibit B.

      at 3.2.1-2); "standard" Navy sizes for input and output piping and, therefore, for the associated

      nanges on the pumps, that differed from those in commercial industry (Exhibit A at 3.3.16.8;

      Exhibit Bat Fig. 1-6.J; special hardware and fitting.s that differed from those in standard use in

      commercial applications (Exhibit A at 3.3.22); and specialized welding procedures different

      from standard welding used on commercial pumps (Exhibit A at 3.3.2.4).

              13. In addition, Navy specifications or other technical documents identified in applicable

      contract documents required Buffalo Pumps to submit for approval and acceptance by the federdl

      government drafts of any manuals, drawings or other written materials required to be provided

      with regard lo pumps it manufactured for tho Navy. These requirements were far more detailed

      and stringent than those imposed by commercial customers. (Exhibit A al 3.5; 3.6; Exhibit Bal

      3.27; 3.28).

              14. This approval and acceptance process was not merely a process of submission by

      Buffalo Pumps of drawings and manuals. The Navy's review encompassed all aspects of the

      technical munuals and other wrillen materials submitted to it for approval in the pump design and




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      manufactureprocess. Based on my experience and my review of historicalmaterials,I am aware

      that the Navy required specific changes to the content and wording of manuals submitted by

      Buffalo Pumps and other naval equipment manufacturers, These changes included specific edits

      lo cautionary and instructional language, and including warnings and cautions. Examples of

      correspondence or this type are attached as Exhibit C.

              15. Once those manuals, drawings or other written materials were approved and accepted

      by the Navy, they were assigned Navy identification numbers, essentially becoming Navy

      documents.




                                                          Martm K. Kraft

      Sworn lo and subs,cribed
      before me this '-/'ll>cJay
      ofMarch, 2008.




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                                      (a)       Letter from Todd Shipyards                Corp, (Gibbs & Cox, Ino,)
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                                      (b)       DetaU Specification           for Thlilcling Ocean Escort
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                            Enclosure,          Two copies      ot (A)
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                            for distribution      approxiJJllltely 6o de;rs after final approval.

                                    h,.        . Tho Supervisor's        responaa    to the above is requested                b;y
                           .Jul.Jre.·1966.
                                                                              TODDSIIIPYARDSCORPORI.TIOII
                                                                               (SEATTLEDIVISION)
                                                                              llY GIBBS & COX, DIC,
                           Rll/jo                                             W, C, BAC~
                                 Buffalo Pumps
                                                                            ~r~
                           CC I
                                   llui'falo, N,Y.
                                   Todd, Seattl<>                          · R, P, ~1TLTO!f


           .~@@Wit¼~=,~~~f~~~~;~
                             ABCOE?~?!J~LMNQ?~~STUVWXYZ
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          Case 4:19-cv-00326-DMR      2-1 Filed
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'                             ,   .                                                                                    -,-


                                                                                                                              6,   /-J"-t:,.~-1.JY?
                                                DEl0,2 Claas/1!47(2-"2618-ll)                                                  June   15, 1966


                                                Frau                       Todd Ship,yarda Corp,
                                                                            (Seattle Division)
                                                                           J!y' Oibba & Cox, Iqc.
                                                                           21 West Street
                                                                           llev Yark, ll,Y. 10006

                                                TOI                        Buttalo Pumps, Ino,
                                                                           llorth Tonmmnda, llav York
                                                Bubjoot1                   m:1052- Dl.stillsr Feed Pmp Purchue Speoifioaticm
                                                                           Ho, DE10,2•5l1•M4710 Todd Purchase Order DES 203:3
                                                                           l'rel.1ndnsr,- Equii-nt Manual

                                                Jleterence a 1
                                                       (a)                 Letter fraa Buffalo Pumpa, Inc, to Oibbs & Cox1 Inc,
                                                                           (:3-18-66-64) dated March 15, 1966

                                                       (b)                Buffalo Pumpa, Jno. Technical               Manual for Distiller
                                                                          reed Pump llEl.05'2 Clsss Ships

                                                     lo         ni.· Design J,gent hae reviewed Jleterer.ae {b) as per Referenoe
                                                (a) and considers it satiofactor;y   subject to the following comments,

                                                                  (a)     £2!!!
                                                                           (1)    Change •Tealmical      Manual" t<> "Equipment Manual"•

                                                                  (i,)    Title    Pl>.ge
                                                                           (1)    As noted 1n paragraph        lal,
:- ==··• -:
                                                                  (c)     Approval     and Pro::ur<llllllnt Reoord Pr.go

                                                                          (1)     Add "Page• after       "Reoord" ,
                                                                          (2)     Del.eta "Baaio" and add _•For" a.tter "Data•,

                                                                          (3)     Connent lal   herein     applies.

                                                                          (4)     Dalete "Approved B,y<I a.nd 1.naert •Approval. Author1.ty".

                                                                          (~)     Insert   "Puroha'!•"between         110r"   and "Order",



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                                        ~·::...\Y.~.~-~->'iZ::"~--~ :;....
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                       l,    (o)    (Cont'd)

                                    (6)   Dalata    "Date• colunn,

                                    (7)   Replace •Vessels•          with "Ships",

                                    (6)   Add •Quantity- of Equipment• column, between "Quantity
                                          of Manuals" and nBuilding Yard" ,
                                    (9)   Change •Quantity        ot    Manuals" :f'raa   •86• to •711•,
                                   (lO)   Deleta all re:f'erenoes to equi?19nt uaed on ships
                                          bui1t at Todd Shipyard,, Inc,, San Pedro, Cllliforniar
                                          i,a,J DE-10;;, m-10;8, JE..lb6o, DE-1067, DE,1071,
                                          JE-1074 and DF..-1076, Gibbo & Cox is the Approval.
                                          Authal'ity,. onJ¥ for ship• built at Todd Shipyardi! Inc,,
                                          Seattle.     Appronl. :f'or equip,nent used on sbipa other
                                          than tboee built at Todd, Seattle,       111UStbe granted
                                          b;y the aognizant Raval authority,
                            (d)    List   o:f' Ef:f'eotive   Pages
                                   (1)    Deleta    "E:f'i'eotive Pages• upper le:f't corner,

                                   (2)·   Delete    •rront    Matter•     upper right     corner,

                            (e)    Table o:f' Contante
                                   (l)    Deleta •contente•          upper le:f't hand corner.

                                   (2)    Cowuent ld2 h"rein applies,
                            (:f') Liat    of muetrati0Jl9
                                   (1)    Delete "List       of Illustratione•       in the upper left
                                          oomero
                                   (2)    Canment ld2 herein          applies,
  Case 2:22-cv-00097-HCN   Document
        Case 4:19-cv-00326-DMR      2-1 Filed
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                      i


                                       IE10S2 Clus/S47(2-26l.B-II)              •3-

                                             l,   (g)   Pap 'Iii
                                                        (1)   Delete •JProntispieoe•,

                                                  (b)   Page 1•1•2
       •
             . ...·<
             •
                          ~
                                                        (l)   Add •Prelubed"    aft.er   •Ball•
 ·=· :.<-:d
  ·. -,:•.•·-!                                          (2)   Change "length"    i'rao 2 1 -7•7/8•   to :U-7/8•
                                                  (1)   Page 1•3-l
                                                        (1)   Delete item J, "Lubrioation of Motar• llinoe the
                                                              bearings are prelubricated and sealed and require
           :··.::_   -~
                                                              no lubrication,     ·
                                             2,        In addi t:l.on to t.be above comments the unufaoturer   will be
                                      required to inalude sn eleot.rioal      notion  covering the motar. Thia section
                                      will be !'urnisbed b,y the motor manufaoturer.      The Table of Contents should
                                      include the mot~r notion.
                                           3·,      By separate carrespcadeDCe,_ to the SUpervieor, t.he DoaiilJl
                                      Agent is r8QU88Ung that a NAVSHIPS!lo, be assigned to this manual,

                                            li1       It is requested that      the Jl1ll1Pimnu.taotnnr         resubmit   the
                                      eubject Equipment llarrual• inc1¢.1og     the eleotrioal       seotion,     for review by
                                      the !Jesign Agent by July 5; 19b6,          _
                                                                                  TODDSIIIPY.IRDSCOOP<RATIOli
                                                                                  (SEATTJB DIVIS IOii)
                                                                                  BY GIBBS & Cot, DIC,
                                                                                  W, C, B&OHMUI

      ~-.- ...·"'. : :                                                           ~r~
                                                                                  R. P • FlJLTOJf
                                                                                  By direotion
                                      FJ./al .
                                      001   SupShip 1 11,Y,
                                            Todd, Seattle
                                            Todd, tf,T,
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                                                                                         7-.;:L?- 6 ~ - I J7        ?
                     DEJ.0!,2 Class/S47(i•3376-H)                                        July 26, 1966


                     From:                  Todd Shipyards Corp,
                                            (Seattle Dl.vieionl
                                            By Gibbs k Cox, Inc,
                                            21 West St.raet,
                                            Hev York, II. Y, looc6

                     To,                   Buffalo Pulllpa,
                                           Horth Tonallanda,        H,Y, J.lil21                                 ·,
                     Subject:              DEJ.052 Class     - Distiller      Feed ?ump •
                                                               Purohaso Specification   DEl0,2-517-M!ino
                                                               P ,0, DES-2033 • Eq,u.pmant Manual, Reviev of

                     References:
                           (al             Letter   i'ro!l Jlu1'falo Pumps Inc.      to Gibbs & Cox, Inc, dated
                                            June 30, 1966 (7-l-66-66l,               ·         ...

                           (bl             Bui'i'alo Pumps Inc, Equipment Manual for Distiller·              Feed
                                           Pump ror DEl0,2 Class Ve•eols.      ·              ·
                           l,        Reference (bl forwarded b,y Ril!erence (al hae been reviewed
                     by UIS Design  Agent and is considered satisi'actoey  subject to the fol-
                     lowing co1!111lSnts
                                     r

                                   (a.)    Onthe    cover    and titla    p,,ga delete "Bureau of Ships" and
                                           in its pl.ace     insort:•Ha.val    Ship Engineering Center,
                                           Wa.shington,     D,C.•                                    .
                                   (b)     Page 1-1-1 under "Pump"
                                          (1) After "Aot•ial Shut oti' Head" insert.           actual    data,

                                          (2l   Delete   "structure        borne noise   Group C", ·

                                 (c)       Paga 1-1-2 under •Overall d:l..l!o,nsions of assembled           unit•
                                           height ahould be •22-1/8",

                                 (dl      Page l-1-h - Paragraph l-l-3 a.dd •and Resilient        Mounts•
                                          following    "!bunting SUbbase".     In second sentence after
                                          • ... ,foundation•    a.dd •to reduce sound transndsaion•,




          r-
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                 OEJ.Q52Class/S47(2-3376-N)


                          l.            (Cont'd)

                                (!)     P~     l-3-l,   Paragraph      l-3-l
                                        (l)    IJr;,dar"Wandng• add the toUoving          "!lever Ullo water on
                                               elsotrioal   fires.       _Use CO:!.•.Al.so add "When sorvicing
                                               pu11p, disconnect       tro11sources at eloctrlcal    power llllid
                                               tag ••

F;';{;!::j                              (2)    After • Pump priming",   add •Insure
                                               plotaly filled yl. th liquid, n
                                                                                                that   plU1IP ·i•   00111-


                                (g)    Page l-3-l   Pare.graph l-3-2 the stop 2 ai'tar                 "primed"      add
       ·1
        .,                             "and vented,    Then close vent valve.•
                               · (b)   Page l-3-2 Paraera,ph l-3-5 under "Vibration•,  in the second
I;;j::~,:ii      ....-.                paragraph delete •to acceptable l1lld ta" and specify these
                                       limits,   Also identify  the locations for taking readings;

                               (i)     Page l-4-l, Paragraph l-4•2 in the first   sentence under
                                       "Trouble Shooting• delsta "Listed belQII" a.re• and substitute
                                       •Table- - - lists•  at end at sentence add "and remodies• •
                               ( j)    Page l-4•2  - Delete paragraph number l to !, and substitute
                                       table in the fom •Trouble, Probable Cauao, Remaey"     in-
                                       cluding:

                                       (l)    For 11110Discharge•,    Probable Cause should include Pllmp
                                              not prilll<ld, Speed too low,• Impeller collj)letaly plugged,
                                              Plngcod suotion line or stra:IJler, Pump not rurml.ng and
                                              Impeller ·locked,    Also indica.ta corresponding    relllOdies.

                                       (2)    For ''Inaui'tioient   Oischarse",    Probable Cause should·
                                              include Air leaks in suction or stufi'il!g box, Speed
                                              too lov, Clogged suction line ocroen or illlpeller,
                                              Mechanical detects•      ',/earing rings vorn1 Impeller
                                              dsmged,      Also indicate    corresponding  remediee.
                                       (3)    For Insufficient        Discharge     Pressure,      Probable     Cause
                                              should include     Spebd too Low, Air or gas••                in liquid,
                                              Wrongdirection         or rotation,      lleclumiaal Defector
                                              Wearing   rillllS womJ Impeller          dafflaeed. Also indicata
                                              ·corresponding remedies,            Jlor Air or eases in liquid,
                                              remeeyis •Check suction             for leaks,     Vent i'requenU:,,•
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                  D!:l.052 Class/347(2-3)76-H)


                       l.     (j)    (Cont'd)

                                     (4l For "I/Ose of Suution, • Probable Cause should include
                                          Air or gases in liquid, Defective Casing Oasl<;et.
                                          Also indicate corresponding remedies,
                                    (S)   for "Y.xcessi va Power Conewnption•, Probable Cause
                                          eho1ll.d include Speed too high, llechanioai Defects,
                                          Shaft bent, Rotating element binds,      Also indicate
                                          corresponding remedies.
                                    (6)   Add '?rouble  •Stutting box overheats or excessive etuf-
                                          t'ing box laaksge",    Probable Cause should include
                                          Insufficient   cooling water to stuffing box, Excesoi vely
                                          worn paaking, Lantern ring. installed   between wrong
                                          packing rings, Excessiff pressure in stuffing box, Seal
                                          cage plugged.    Also indicate corresponding ro111Sdies,
                                    (7)   Add Trouble  •Noiq Instal1ation    or l!:xcessiff Vibration•.
                                          Probabl~ Cause eboul.d include Loose lll0llllt1ng bolts,
                                          Mechanical defects, IIJll)eller or ..,tor imbalanced, Air
                                          or gaaes 1n liquid, Foreign matter 1n pump, Ml.ellligment,
                                          Also iudicate oorresponding remediea,
                             (I<)   Page l-4-4 Foll<ndng paragraph 2 under '™'earing Rings•, add
                                    the following, "Resilient   Mounts • Jll8lceregular checks on
                                    resilient  1110unts, A no:rmal. ssrtlce lite ot S )'eal'tl is expected
                                    unless daniage or prior loss of eftoctiT8119sft require earlier
                                    replace1110nt. Resilient 1110untsshould be replaced llt such
                                    time when their perfomance is deemed ineftecti ve or &a
                                    specified  by current BuShipa instructicns".

                       2.         By separate correspondence to the Navy, the Design Agent has
                 requested   the assif!l}lllent of a IIAVSHIFS·munber. ·
_._.
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 -. ·:. :.
                       ),        The manual shall include an Electrical  Section.  Thie
                 approved section will be forwarded by the l!lOtor manufacturer for insertion
                 by the pump 111S.11ui'acturer,
    Case 2:22-cv-00097-HCN   Document
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                                                    - 4-
                    DKJ.CJ52
                          Clnas/S47(2-3376-N)

                         4.         It is requested that the pump manufacturer's acceptance of
                                        be fonnirded to the Design ARent by August l!,, 1966.
                    the above eo111111ents
                    Resubmittal 1.s not required.




                                                         TODDSHIPIARDCORPORATION
                                                         (SEATTLEDIVISION)
                                                         BI GIBBS & COX, INC.
                                                         W. C. BAC!IMAH      .

                                                        ~/{,L~
                                                         R. P. Fulton
                                                         By d1reot1.on

                    RH/jo
                    oc1   SupShip, N.Y.
                          Todd, Seattle
                          Todd, New York




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   Case 2:22-cv-00097-HCN   Document
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     ·····:·r·::_
                                                                                                          Horeb ,, 1966


                                      Frail:                Todd Shipyards C<>i:;,oratioo
                                                            (ae1.ttle Division)
                                                            By Gibb a & eoi:,    Inc.
               ,, .                                         21 west street
                                                            liew York, Bes York 10005
                  ·•:·
                                      Toi                   Aqu&•Chem,
                                                                     Inc,
                                                            22!> !fortb Ck'end Ave,
                                                            W,,.ukesha, Wisaonain !>3186
                                                                 Attn:   Mr, R, E, Buttner

                                      Subject1              DE10$2 Clase - !Jistill.ing Pl.ant ~ DietUlor DiBtillato
                                                                           Pump & Distiller    Sea Water Heater
                                                                           Drain Punp - Purchase Specification
                                                                                lio, DE1C!,2-!>17-115800- p.o. DES--2016
                                                                                Prel!E:in,i:cy Tecbnical Manual -~ Approval of

                                      Referenoea,
                                               (a)         Letter i'roa .Aqna•Cb°"'t Inc. to Gibb:, & CO%,Inc,,             elated
                                                           9 !fOV61llber 1966 (11•14-66•120)
                                               (b)         Pral:l.minor,y Teclmical Manual tor Distiller          Distillate      Pulilp
                                                           & D1sti;ller   Saa Water Heater Drain Pump

                                               (o)         }'ralir.Jinary   Technical   llanual for AqUa•Cb<R, Inc,       12,000 Gl'D
                                                           Flash T;>pe Distilling       Pl.act (Model S!>OOFL2B)
                                               (d)         Milltery     Specification    MII,-H-l,011E(Ships)

                                             1,       11<>:f.,,.enoe(b), :forwarded via Reference (a), bas been exanined
 ·:, .-~'
      ;;_.i=i                         in conjunction vitb Referenco (d) ond tho subject purchase order speo:l.tioations,
 __.,;
       .-
          .. :
                  .                   In this regard, Rs:ferenoe (b) 1• consideroo. satisfactory
                                      dietribution,
                                                                                                      :for publication
                                                     subject to tbe manufacturer• a 0Ollij)lianoa with tbe fol.lolling
                                                                                                                       end

                                      cOiiEMnta:
                                                     (a)   Caver La,yout

                                                           (1)     Dolete •Bureau o:f Ships" and :Insert · 11Jie.val Ship
                                                                   SystOOIS Co:mumd•,
:.; :·        : : ..
. ··:·.:.
      :·..:-:                                              (2)     Insert   the opproprie.te RAVS!IIPS!lumber, lmBll 1.veilsble.
                                                     (b)   Title    Page

                  _.;
                                                           (1)     COllll<&nts
                                                                             1.a,l   and 1,a,2     appl7herein,
Case 2:22-cv-00097-HCN   Document
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                             D:s1o;2 CJ.asa/&$8(2-6207•11)

                                   1,            (Cont 1d)

                                          (c)   .lppl'oval and Procurement Record           Pai•
                                                (1} TIie eppropriata IJAVSIIIPSHumbershould be added under
                                                    tbe Approval Data and the Certification  Data columne,
                                                (2)      1'11•approval autborit:,     should be delineated              es !oll0ll81
                                                       -•Approved b,y Todd Shipyards Corp, (Seattla D:lviw.on)
                                                        (G!.O) letter D:j:10$2Olase/$8 (2-6207•1), dated
                                                        March !/, 1968
                                          (d} Table o! ContGnts & List of lllustrations
                                                (1)      It is noted that tbs ms:nual doaa not contain tbe
                                                         appropriate motor and controller     inoorta :lor ea,,b
                                                         plllllp, Aooordinsl7, the approved inserts should be
                                                       - added,- wh001available,   Additionall:,,   tha Table ot
                                                         Contents should be revised to indicate a separate
                                                         chapter tor ea.oh pwnp, motor and controller,
                                                (2)      Pursuant to camnent 1,d, 1, it is recomme:1ded that
                                                         each chapter of tbe,manual be divided b7 an appropriate
                                                         separator,
                                                (J)    Ol Page 1-1, :!Ilaert Section 7, entitled Motor and
                                                       Co11troller, and add the appropriate pnge nUllber,
                                                (4)    In l:!Ila with oO!illllant1,d, 1, the motor and controller
                                                       dravinge should be included as illul>trationa,        The
                                                       appropriate page nwbors should h indio<Ltod on
                                                       Page l•il,
                                         (e)    Section     1 • Qeneral Data        (Distiller          Distillate     Pump)
                                                ( 1)   Oil PIii• 1• 1- 1 add tho phraaa          IIAt    Rating•     1n conjunction
                                                       111th tho 1,09 BHP,

·•.-   ·.. ·. ·,                                (2)    The Militacy Speoi!'ication for tba motor should be
                                                       obangerl to I-IIIrlf-17o60B, Additione.l.ly", the Design
                                                       Agont notes that tbie into:rination is also :III error
                                                       on Figure No~ 1-6-1,
Case 2:22-cv-00097-HCN   Document
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                        DS10,2 CJ.ass/s,8(2-6207-W)                    -.3-

                             1,    (e)    (Cont1d)
                                          (3)    It 1e noted tha.t .i>h• we1&hts for the subject equip-
                                                 ment, shovn 011 Page 1-1-2, are olllcula:ted wa1gbts. '
                                                 !rhill :l.nforut1on should be refl.eotia therein.
                                          (4)    Ol Pac•1-1-2, undar liafareno• Drawing_s, tha lllll!lual
 ··- ......,...--1                               should list tbe appropriate number for re£erence ..
 '--~;..·{-~; ::·~
 ... .,....-.·... !
                                   (f)    S1>Ct1cn 1 • Detailed         DeaoripUon
                                          ( 1) Under tha paraaraph             on tha casiJlC, Pace 1• 1• 3,      mm
                                                 tba followillg        chmgea1
                                                 (a)     Delete tbe word 118,pis:ot• 1n tha eeoaru:I sentonce,
   .. :'.,____ j
                                                         and insert the vord •Stepped••

                                                 (h)     In the fourth aentenco, 1dent1fy tha dre.:ln plug
                                                         as Po, 110, (34), the vent cock as Po, No. (26),
                                                         encl the nansed ee&l watar cannoot1on as Po,
                                                         !lo, (41 ),
                                         ( 2)   Revise the last s..,tanoe of the paragraph                   an tho motar
                                                braokot to read as foll0Ws 1
                                                •The motor braokst            contains   drain   fitting•    ubiob ""'7
                                                be used to remove leakage            tram.the     stuffing    box•,
                                  (g)    soct1an       3 • gparat1ng Inetruot1one
                                         (1)    Inammcb as the motor, uUlized· for this :ln.et.Uation,
                                                111equipped with sealed bearings, 811T reference to
                                                motor lubrioation    is inappropriate,      Tb<orefore·, Item 3
                                                und11r Section 1• 3- 1 should be ditlllted,

                                  (h)    Saotion    4 • Maint011ance
                                         ( 1)   Tb• second SGntenc• of lt<m 2 undllr AnllUal Mailltenanoe
                                                Prooadur•, Page 1-4• 1, ehould be revised as follaws 1
                                                •Wilen clea:ranoe bu 1ncroaBC1d. to d.oul>le the initial
                                                ?"1.w,  the original. ol&aranoe, as shown on Page 1-1•2,
                                                should be reo:tored by replao:lng the affected. parts••
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                                             1.     (h)    (Cont 1d)
                                                           (2)    The Trouble Shooting Table, on pages 1-4•2 to 1-4-S,
                                                                  should ba moditied to aooolllllOdate the following:

       -~-'·...                                                   (a)   !Jnder •Jfoiq Installation•, delete the Caase end
                                                                        Rm~ tor •sp1oif10 Gravity or the Liquid Too
               _:::.                                                    l!igh•, Revis• the. rom~ for n Spead Too l!iih" to
                                                                        road as tollowaa •Cheak the Driver for l!igh
                                                                        Speed,. Refer to tho Applicable '£rouble ShooMtJa
                                                                        Tabl,tsn,
                                                                  (b)   00111111ont
                                                                                  1,h,2,a applleo to the section on •l'llllp
                                                                        O'lerloads Driver•,
;:W~_i1i1                 3"   ••   -




                 ·"=··                                            (c)   In addition to th• present raoed;r for • Suction
                 ..<·-:
               : .,·
                                                                        Litt. 'loo l!igh• under the topio •Pomp Loses Prbie
                                                                        After Starting•,    add the tallowing remed;r, •Chock
                                                                        tht Level in the Buppl;r Tmk" ,
                                                                  (d)   Caml>ent1,h,2,o appllH to the oausa or •Suction
                                                                        Litt Too H:18h•, unde'r the topio at •Pm>p Disohqe
                                                                        Praesu.ra LQvtf,
                                                                  (e)   !Jnder tho topio ot •Lair Capaoit;r" revise tho
                                                                        r...u,d;y, for • Speed Too Lav'',to read as i'ollovu 1
                                                                        •Check Speed ot Jlrl.~•and Rotor to the Applicable
                                                                        T<'ouble Shooting Tables• , ·
       .-':.   -.                                 (i)     Section 1•4-5' -_ R<>asseeblz (Pq:e 1-4•2)
 ..-:·_
    h.-.                                                  (1)    The second slZltonoo in Itea 7 ·shouJ.d ba revised to read
                                                                 ae tallows,  •coat both sides or the ga.skot vith a
                                                                 graphite-oil mixture.•
                                                          (2)    In Itm 9, delete tha word      •correct• and insert    the
                                                                 word n Collllect.• .

                                                          (3)    Delete Ita 11, and iruiert the i'ollovine•       •Start the
                                                                 Unit and Check tor Lee.ks• •

                                                  (j)     Table of Contents      (Distiller   Sea Water Heat<!%'Drain Puiap)
                                                          (1)    Calaellts 1.d. 1 to 1,d,4 inclusive    eppl;r to Pagos 2•i.
                                                                 and 2·11,
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                                  DB1052 0laas/s,8(2-6207-ll)               -s-
                                        1.           (Cont'd)
                                              (k)   G.sleral. Il:>fomatim     l'l!ga 2• 1• 1- & 2-1•2

                                                     (1)    lhder General DIits, ci.late the wards "Close Coupled•
                                                            end 1nsert. •FJ.erlhl:r•CoupJ.edn.

                                                     (2)    Del.eta •Buttalo Shop Ordara • !>!>0373-U:X:,,,
                                                                                                        eDd :lneart
                                                            •Class - D-1, P.orisootaJ., 11111:1-Stegen.
                                                     (3)    llatveen tho itOJlll o£ •total. Head, PSI" end •~ocit'io
                                                            Oran t1", :ln.sOl't • Liquid Handled - we.tar•
                                                                                                         •
                                                     {4) Delete •Rotation - ccwn,or :further qualify this it<n
                                                         to ind1oato tho location frCIII lmioh tho rotation ia
                                                            viewed, 1.e·. CCWas viowed i'rCIJI the pump. end, or COW
                                                            as vioved fraa the DIOtor end,
 :."  .. -:-~-:.·
                                                    (S)    Comment I •• ,.3 applies   to the Waight intormation     on
                                                           Pago 2-1-2,

                                                    (6)    Und&• Oonera1 Dato. for the Motor, Pago 2-1-2, lllid tho
                                                           following:  nKilitary Spooification  MIL-»-17060!1•,
                                                    (7)    Comment1 ,a ,4 applies ·~o the raferonce drawing informa-
                                                           tion OD Psge 2-1-2.
                                             (l)    Dat..Ued Description•       Pages 2•1-4 ~ 2~1-S
                                                    (1)    In the sec0lld paragrO!)h under the topio of •C,,oing•,
                                                           correot the spelling o£ the word •Labyrinth•.

                                                    (2)    Under the topio ot •llearings•, after the last sootenco,
                                                           add tba following,   •llote1 See Table 2,4, 1•,
                                                    (.3)   Oil Pege 2-1-S, under tho topic of I,ubrioo.tion,       add the
                                                           following:    •Note: See Tabla 2,4, 1•,

                                             (11) Installation      - Seetion 2
                                                    (1)    en Page 2•2·.3 .-ovise Itea,   11 to resd aa follows,

                                                           •It it bec011ea oecoseery to reL"Uin th~ pump and li!Otor,
                                                           so that the originel dowels between the pamp or motor .
                                                           &lld the subbas• are no longer 1D ~t,           drill and
                                                           re1111new dowel holes and install   ow dowels. l3a anre
                                                           that all hold dOllll bolt& are drlDID up tiibtl7 11hila
                                                           dr11llns and rooming dowel holes• ,
..•        1 ..    -
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    ,.,.·,·-.~,--_~;,   DB10S2 Class/S.',8(2-6207-N)                -6-

                             1"           (cont'd)
                                   (n) Troubl• Shooting
    . =.,__.._,•.•.                      ( 1)    !!'hetrouble Shoot.insTable, 011Pages 2-4-2 to 2-4-S,
     . ~·-
         , ..... .                               shOQJ.dbe IIOditied to accommodate the tolla1fillg1
    ·-:
                                                  (a)    ccmment 1,h,2,a applie11 to th• sectioa on
                                                         "Roioy Illstallationn, aDcl to tbe sacti<lII 011
                                                         "Pmllp OVll!'load!II Drivern.

                                                  (b)    Ccmraent 1,b,2,o applioe        to tho caw,e ot nSuoticn
                                                         L1Et Too lj.igh• under the trouble ot nPunip ;Losee
                                                         Prime atter startilla• and tho trouble ot •Pllnp
                                                         Diaobarge Pressure l<iw",
                                                 (c)     co:rment 1,b,2,e    applies     to the trouble ot •Lov
                                                         0apaoit7",
                                                 (d)     Under the trouble ot • st>utfiDi Bal: Overheats•,
                                                         add the tollo!d.Dg oe.uso end remeq 1 • ]i,p:roper
                                                         Illstal.lation ot Sesl Cage and Packing --- cheek
                                                         to see that the Soal 0age and Pe.oldnjJ are :!nsertod
                                                         1n the propor sequonce (See J'is, 2-6-2)•,

                                  (o)   Adju,rtments and 'l'este - Psga 2-4-6
                                        tl)     Revis• tho •Preosure Teet• procedure            to r,,ad as follows,
: ~-.. :                                        "After c0111pletereassemb:cy; ..tart the IIIlit, Caretully
                                                inspect tho unit tor leeks, end carrec:ha.s roquiredn,
                                  (p)   JJaintenanoe md Rep&ir - Sootion 2•4-S
                                        (1)     QI Page 2-4-9, tmdar the topio of gaskets,            delete· the
                                                last a111tmce and 1naert the tollcnd.n(: 1
                                                •Coat both eide of the gnskets vith gr;phite            and oil
                                                before replacing the gasket.a",
.   :.... · ..·
                                  (q)   Rotor Illstallation•       - Pege 2•4-10
                                        (I)     lhdar. Ii-- S, on Page 2•4• 11, delete          the socow:I s,mtence
                                                GIid 1nse.>tthe follovu,g1

                                                •RecODDocttho piping,         it discameated,      aid Btart the
                                                untt•.
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                  DKlC'.,2
                         Oluo/$8(2-6207•1)                     -7-

                       2,           Die IIUbject umw. llbOllld b■ rnised     in aoaordance vith
                  the 1'oraeoilltJ, UpcmNoeipt o1' a 11.VSlllPSJllmber 111dc,:111p:U.1noa   vi th
                  tha a.boft, t!la l!Uufaotur■:I' sboul4 affect pi,t,Uoatiari Uld dist:ribatian
                  1n ■coordanoo vith purcbue order requ11'•1111ta,

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                  be 1'orvardad to tba :aaimraoturer u soon aa it beoou1 a,raihhJ.e,

                          4,            It aboul4 be noted that ai,tion on RefC"eno■ (o) 1o tbe
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                Strategic and Critical Materials Reference


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   for other ·purposes, manganese of this quality                               is indis.9ens~blo        in the . \
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   an alloying element where the additioni<li' mengmiesa proi\v.ces properties.
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  E¾B,491_; 954,503_;·:and                                  509,932                  long t·ons,     StcEil it5ot production. for:·theso
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  a year. of: approximately   full cnpµci ty .ste·d pr.eduction,   as w~ulil cortainly
  be noccssary duI'ing a corrcspor~ding ·pO~iod of a ~8Jcl? v:ar effort 1 t'!OU:ld..
  require . about a mHlion long .tons of metallurgical       grade ore, for tho
  steel industry    alone,  ·      ·          ·

         ' U.S.                        ·o!!:EE!PORT8 FOR C0!1Sul_l'TIOJ.'LLOEG TC::s(35% or more Mn)
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                            ·Gold Coast·                                                               125,858                                    242,923.
                             Brazil                                                                    ·29,698                                   · 42, ?13
                             Bri tisli    India                                                         25,480                                        105;935
                             Cuba                                                                  131,423                                           89,544
                             Others                                                                  .4 086                                          10 ??l
                                                                         Total                     483,588                                      . 62? ,129
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  addition  .cOn;3idc:p·e.blo ferror.iangar..esc .was, im:portod• The me.ngnncso content
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     .has held up commercial production in Ceritriil Anie.rica; nut is' is ho:pe()..
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      into the United States                                          during                   193~.                                                 ,.·
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        .. · . The PNblol)\ of suppl,r pr,csorttcd by mercury (quicl:silvm•).          i'.
        from ·i,..natJ.011al dcf,:,n~e. point of viol', _is apparont.   Th~ c 1viliau \
        and military uses ure lndfspensuh1o to a l'1rgo cl,c,groo snd. it is . 1
        doul:itfUl whether thil United States, oven witll oxtro;-:mly hir,h
       Jiricos;.can     supply-its.m,ods      oi' th.is metal oyer an cn;:tcndod
        oniorgency per;tod, ··•·it.s mHitary, uses ~re principally·. in tho•.
        ml\ilutaoturo of fulminate fqr dqtprtqting high explosives,           drugs,
        dental amalgli1!1,antj_-.i'c:n1iing paint for sliip bottoms and -for many
         industriril aotivittos      rnrteing from iho production of f;old to tho                   (
        disinfection     oi' soods,- In addition ,to:tha foregoing, ita•. civilii'.n              /
        use.s ir.cludo tlvi gonC!ratiO)l of J;OW<lr from mercury boilers' .              .
        m~roury v.apor le.nips' and the manufiic~ro of felt.          Tho t,vorago                                             C        /       •


        OIU!Ualconsumption pi' mercury in t_hc United States fqr tho last/                 . /
      · ten yoars .has been aoout 28;000 flnsii:, (?6, lbs. ,ooh) •. DUl'_in~phn/ .
     . periQd•l91? and 1918, ~ur nvorage corisumptj.on was            35i~;abovo. thq,t ·.·
       .f'.or: the preceding .thrO.o ycaru •.• Tho :i.nfor.onoc may bo mado_t)lat       ; ·
        .the po$si 1>10 inCTOflSO.ill 0011siJ.mption.to 1)e oxpoctc;d in V!f'r·l'IOUid
        b<i:approximately 35%greater tl)an · that: of the. preopdji,g norpally
        high yeo.r. While many substitutes. have; \loon dovolripo·d,             , .
        particularly      load, nzide a~ '~ sul)sUtutc for mcrdury fulmtr,a~e'
        mercury remains Wldisplacod i'oJ;. many. impyrtant irtdtistrilil· llrid              . .(
        mil:,._i'tO.ry
                     uses.                              · ·       ·          ·                             · .·-_c.   \ ·   -..f~,, ·
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              Under normal. conditions,       t'wo-thirds of the world's output of
         mercury c.omes from· Spain, and the United St/J.tos ranks third,         The
     · only other prosimt so,urce of mercury in quantity in tho Wostel'l\
        Hemisphere is !,'.oxico, producing 11bout half as much ail .the U.S •. ..-
         The United Statos ranks as the krgost consuming counti•y of mercury,'
         normally using approximately 30,000 flMks of which roug,'lly half is
         imported,       Self-sufficiency    in P1orcury could be made posciblo only
       . ttt prices grofltly abovo thoso prevailing c.t present _and.the. period
         01' self-,sufi'ioiency'     would probably. be very limited at c.ny pries,

               Mercury prices havu advnncod materially within the !l",at year
         chiefly duo to the Spanish Revolution when tho productton of thnt
         courttJ;Y was limited· n_nd the European situation which .has Since
        .dovelopod. ·· Itiis   rOpllrted that tho entire Spanish mercurl• production                                                        .
         for·l940 has boen. obligated nt a value of v.pproximJ.tolY $200 por
       • f'lt(sk. .V/orld price is presently around ,!1180per. flo.sk whereas for
         y<iars it has boon under. $100, ·        ·

          .. While mercury is an °important strutogic material,      it is not
       anticipated    thr,t us difficult    a problem of emergency supply will
       bo encountered: as the.t of· some o.f the other higher priority     striito-
       gic materials ·such as tin, rubber, mangiineso and chromium, largely
       ·du,> to: our parUal · sclf~sufficiency    and stocks normally maintained
       by ind us try,
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         . Ther3are ~~1e~o~s kihds and :::: uses,df                      .·Wedd                                                                                                                 tto,11,t\.
        tion may b~ div:lde,i into two main ..kinds: ••.(1) Waste"and scrap•mica, i 'C
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       ··remaining 2(;%;•Onlv,with the ·1atter· are •we concerned fro!ll a·:c,::, ,/···,,;
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  . - - th~_higber c_ost .of lahDr .. in thaj; l'cgion as oomparod wit:1. tho Middle East
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        ' /.<;,-J..rik~l{1}::"~i~    prod~c1;i~ll'.of crtidc ··rubber in 11oxico, all of
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                     If' a shortage of orude"rubber occu;s, 1;h1r~                                                                           ;uii~r-Y;iiilunclo119te<i;,;<.
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             <fonsumption of reclaimed rubber wnouutii :to about 140 1000 }qn~ ton".a .( i
             year,. but reclaiming plants. operatine; at full eapaqity•could produce-< ,
             considerably more. It is estilllated that reclaiming lllaI1:ts operating- &t·.
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                 The. SYUthotic ;rubl:iers ,utd rubber obtainQd frO!l\ guayuleoari )io u'sEidiin.'•
             some cases as substitutes    for i.'llported crude rubbop, ·. At •present ·the 49.:.
         Jilestic ·production or. synthetic rubber ·is ~mall-; @d.t.here.is•nq_cpm-./
        .moroial production <Jf.'gu~l"        rubber. in. t;his qo~t:r'y/ :rn,.t;!Ie.eycn:t;;qr·~
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         purposcs · better than crude 'rubboi' • ~.IHlrtj,cularl,Y in.th~ coil .re#<itenfc c". ·'
         fiel-ds; ·cost's, lim:evor, et pr0~011t fol' c:~cood that·h-:r·,i;i,;,-   natural pr6dubt,
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               . Sttites is R5,00Q,   long t?ns ,mm.1olly or n;,pro~imatoly 45 p,crcent of
              · 'world cmtPu~i··· /ill .a.,ru.ysis_ Of U,S, :tin c0nsumpt1nn shmm· that
                 pcrcontngO~ _o:r_·U:so. oro .us f'.ollm·rn: tinpla:to 41~' sold01.; 22, babbitt 8,
 i
 -i              h_r_onze7, i;1olliJ.psiblo tu.bo's_ 4, · gnlVGnizihG, _:t·yp~ -m()tal, -:Co~l; · tinning,
 ~               _tornoplate and cilcmfool.s ov.ch. approJCim(ttely 2,,                              ·
                                                                                                                                                                   , ..
                                                                                                                                                             ............
                         ThO woI'ld~s principal          prioduccrs. ::>f-_tin or0 aro tho M!:"J.oy~.States·,
                 Nqth0rland_ E, In_diCs,_ :Boiiyia_,, Siru;i- and Chinni             Drr,:>ing tho pQst. five
               , yoars- 8'.!,%·0i"_foroig1, J/Ui•clluscs ,,ma obtnincd from As-in, .. 1a;r;from·
                 Eur.ope and .1% alsm'1i10rQ~ Boliviarr orO. ·is. sent to Europe: for· rcfini'ng
                 _boouuso t:1cra are ..110.smo1tlng :('noiliti0s           in tho Western H.omisphorc
                 except: one. of. smnll c_apnc1.ty: in /u'gentina, encl. also bocauSe thO~o ores
          /"'~ · hci.rc -cmisiderC.blc     ir.yu.rltics._     At Eul'-,_ponn rci'inerios     they arc · ·
                 11swe·0t·01lOd1_1 bY mixii_1g w;tll other      ores of purer conto_nt~-_

                       Ti~_ rurionffothO:r }Jnportent    nnd high priorit~,r ·strn.togic ·.Ho.tOrials_,,,
                 is now bOing ctcq1.1.ircdtor d. nationcl     st;oc~c-Jfilo, rcservo·, · Dor.mstic     ,
                r"o.souI'ocs Of ·virgin tin offer no ht,pe whatovor for· omorgonc~,r
                '6xploitati0n,·     Do!'lost_ic p1'oduction of tin during tho period 1901-1938
                hes beon Jess ·thl:.!l O, l/~ of ·ou-r nnttonal                               Consnmptiou,:
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                                  TWlgsten is the heaviest of the baee metals, its ~ensity
                         be'ing .tile same as that of gold,     It has 'the highest meiting point
                         and highest modulus of elanticity of all the metals, 'Tungsten iS)                     .
                         anelement req\lired to give alloy steels r.igb tension characteristics,
                          In ·industry it is .widely used·for high spaed tool steel, lamp
                         filar,1ents, non-ferrous alloys, -electric     contacts· and ·e.1ectrodea,
                         and also in tho cheml.cal industry i'or verious ·uses,        Iri the -form
                         of_ tungsten carb.ido it has __still   further uses: A strictly       direct -
                        .,,,ilitary _use is· as an-fu.loy i'n armor~piercing ~ullot cores, ·.

      ',,                      .Tungsten moves into· oonswnptfon in thfa country principally      --
                         i_n the form of· ore or concentrates,      It is markotod on the basis'·
                        of a short ton.unit        of contained W0:3, A short ton unit.is-one
                        l)Orcont,  ·of
                                    ..
                                     .
                                       a 'short· ton or 20 .pounds,
                                                '              '




                              ]i'o1•tunatcly,       twigston   does not offer   as -great   a. problem. as
      ----~...._·some· of the other s:Greiogic _ininer·-~1s·m'ainly b0caus0 · we produce· sOm.o·                      /.
                         or·o~- nesds,- R.ol'.'0over 1no1~~bdoil.um.    sor.v9s''n,_sa.-,_substitute .ill so~·
                         uses including high speod tool stc<1l, /- Nc;:::-,rr,;l        ·an11ual corisillnption
                         is astil!latod to be between 4,500 and 5,000 snort tons· 01' concentrates                ,
                        · (60% wo 3 ), _:;In.tho last 14 yoai;s tho United States imported 50%· ·: , ·
                         more -tungstOil
                                     I   . · co.:1contr8.teS
                                              •.·  ... . .   ·than·. it  nroduc·cid~
                                                                     . . •.  .                   ·              ·

                    >          '
                          In 1938),hi:r<Unitod    States _1io.s
                                                              ..,;ppare;i.tly thq ssccmd large$t
                  :world prod),1cer, domestic output befog th_c highest of, record, _-'rfui _
                 - domesti9 ..-tungst0n i:i.dulltry,:· is protec_ted b,• ,Ltari;t'f ·or-_50-.·conts·,-:-<
                    por 1po1fr1cltungstOn contcnI on imported ore$ ahd coriceritratos, ; China
                 .,.emd Bj,irr,1anorinally produco. most>of .. the worlcl 1 s ..tungston oro, . : -
                  ' _Pihar' importa.iit foro:i.gu produciir~ ore Bolivia; Pcirtiigal, Malay. -
                - /Statos ·and Aus_trulia, . · .. - · , . : -. - ' - ·- -,- .': '. i · - -    .
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            I
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                                              .. AIJJMilMI. :

                  .l\l\l'l!imunwas 1'ormerly liste-i as a strategic      material Md \placed
                                                                                                 \            \
                                                                                                                     it
                in that category about the time the trend beg:m toward its many in-                          .;
           . · dµst.ria:i uses and tho advei1t: oi' tM all metal aeroplane• · The increased                   i
             · use of the 1hetal, the supply of bµuxite (the ore from- which the ..metal:                     i
            . 1s··derivad) ,· tl'.\e question .of the nd.oquo.c:rof productiotLa,nd fabr~cat-;·               l ,;
                ins facilities,     "11tendedJo pose a problem of national suftici?ncy/                        I
              -in a n>.!!jor-.emergency,·· After sevoral. years· of r3search, and_ci:mtinu~d
                technic'!l developments in that: industry             a
                                                                 thorou13h· survey of mater~als               [·
              . and faci1iti~s    matched against requirements reveals. that no .particular
             . problem is presented, · .              .                   ·          ), / , ·
                                                                                                ·            'I
                                                                                                               I
              · \ · 'l;h~ prinaipai uses for aiuminim1 ~re in the fields 61: ai~;                     l~~.     f ,
                                                                                                               i·
            . and·_water transport Ociuipment and. general inclustrial .and gtructural ·
               appUcation     in).ts many nlloya; forms, shapes and castings,;• 'Its ·
           .. lightness ruuf strength are r,:rlJnofactors influencinwits
               sider~ble aluminum is t13od in: cooll:ing utensils
                                                                                 use. Con-·'
                                                                    nt,d' many 'still too.ay .
               think of. the motal.prl.ma1;ily ir\ connec·tion thnrcwith, . Such use by
                                                                                                               l
                                                                                                               1·



              no means• constitutes     its -major industrial applice.tion no_~Ol'e than                     ._ll·
              wire and nails could be .said to be the principal        product pf t!!_e stool
               industry,               ,_.                                        '   ·
                  .      '.       ' '.: \<                                                                        I
l'I
                                                    ;!·'   .                  -.    .           -,
                  WhUe our own reoarvcs. of bauxite m::e.b;r no _nwMs small, for                                  i )'
            various ·economic reasons w¢ normally import largo ronoW1tsmostly
i
:1
.,
 '
      !.
            from Sol!th America. (Dritish nnd Dutch Guiana),   Of our metal imports
            Canada ' ·supplies the major portion and Europe the remainder, _.,,.
                              .
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 I
            ·, . WORLD
                     PRODUCT~

                  AllJMINUJ[
                                        AilJMTh'UMANDBAUXI1'EIN :,i,:r;•RWTONS!>'OR1938:

                                                                              BAUXITE
                                                                                                                  !+
            Germany
            United States
            Canada
            France
           . u.s.s,R.,
                       ·
                                   165,000
                                  _-130,190
                                    65,000 _
                                    45,300
                                   _43,800
                                                                 , Frarice ·
                                                                   Hungary-
                                                                   Yugoslovia
                                                                   British Guiana ·
                                                                  ·Surinam
                                                                                            682,·440
                                                                                            540,718
                                                                                            396,368
                                                                                            382,409
                                                                                            377,213
                                                                                                         I
                                                                                                                  l
              Nqrway · ·            29,000                         Italy                    360,837 .
             ,Srri.
                  tzeriand         ·27,0.00                        TJnited States           32!/,0lti
            . Italy                 25,800 ..                      u.s.s.R.                 250,000
              United Kingdom        23 300·                        Neth. India              24!';;354
              Japan                 17 '0 0.00,
                                          '     /
                                                                   Greece                   179,886
              All others             5 900                         All others               117 2.§2.
             Total 1938            578,800                                                3,862,000

             Estimated Pro-
               duction. 1939       64?,400                                              .. 4,406 1000
             *Source - Minerals_yeurbook.1939.                 (revised   figures   of April 1940),
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                                             fillBESTOS

               · Asbestos is· a mineral fiber,    It is a general tenn applicable.
          to any   of  several mii'.erals which exist in i'ibrous form but which -
         'differ in chemical composition and in some physical cha1•act_eristics, ·
          Asbestos is non-:infJ.ammable arid is only slii;htly noted upon by acids,
          Its fibrous struoture perntits .it to be ilpun into yarn or-'thread, ;
          wovep. .into oloth, or felted in'ao ah~ets of packings iri the same way
          that a vegetable. fiber may be treated, but,.'unlike vegetable fibor-          •'·
      '- it consis_ts o_f inert,· incombustible mineral m"ltter and is, therefore,
          fireprool:', weathe:rproof, and highlS,- re·sistnnt to chemical·aotion,       ...
         Asbestos o·re is genernlly quarried, the• high grade ore. beip.g sorted ./.
        · 9ut liy hand,         •. ·,.. ·.      .- . . .         . -     .. . . . . - /,.

                  Asbestos may be ·termed indispensable to modern· life, · As the
            chief co1istituont of· brake-band linings and clutch faoings it is·
            essential to automot.ive transport;     in the form of gaskets 'and pack-
            ings '.it is a necessary part of steam-driven machinery; .as a heat..     .
            insulator it p 1.c,ys an important 'role-in both household and factory'··
      ·., construction an.<ioguipment; c.nd 001"-binedwith o_ementft is employed ,.
         '· in the m~ufactura· of vast· 'l,uantities of roofing and other building-
           materials.

                The iJ~ited States is the largest asbestos-consuming country
           in the world but produces only e smalt ·fraction of its requirements ·
           o:Craw 1\lt\terials, · In 1938 -.sales from domestic production amounted· to
       --,,5 percent of the quantity and 4 percent of the value of domestic
       - requirerr.ent.s.           .                      < /   "'",              •      , •



              . . Th'e voiun\e of asbeistos consume.d in the u. s. depend~ primarily
          011two grea1i,-in<iustries - ·automobile manufacture and the building
         trades,       The\ plotted· consmnption curve· of asbestos has        a.definite" ..
          relationship\to        t)lgso'·.or automobile prodµction. and btd.ld;[ng oon-
        . structi01t,      ·. ._,__/,,..,
                                     ·            ·      ·     ·     ·        ·· ·            . _-~----
              . '.['v10,of
                             ,,..
                         ;OSGible methods. to be consiO,ered in meeting ;~mergenc:y
                                                                                                ---
        . needs wln1o we .denied· imJ?orts · are: -Jl) St_iinulation ;or dome:stic _pro-
          duct,ibn, /which bear~ lHtle promise; •encl (2) s_ubstitution of other.:
          mat~rials for the major nses of asbestos which probably-_would bo · ...
          th\i main method utilized;    thus freeing all availabl~ 'otooks for ab-
          solutely essential uses wherein• subsUtµtes are unsatisfactory,:
          T,1ieblJ~ldin(l trade could vrel,l carry a largo part of the substitute .·.·.-.
          J,urden •by the use of mineral, •slag .and giass wool _and .other ~ub- ....-
          1st_itutes should the. necessity th<,rnfor arise, .•        · ·· · ·   · ·

              . fran. ~mergency we tr~Uld, if ne~essary, Vl\lolly Ol'• ;.,;tialiy  ..
         cease exports 01' manufactured asbestos· products,. 'Expo:rts of such :
         product\! for 1938 were·.vuluod· at approximately $2;5oo,ooc(compa,r,ld ..
         with imJfrts of Ulllll'1!lufnctured l\Sbcstos valued :roughly at $~1 000,000.
              C$.n~da is by far the. world's greatest producer             an~
                                                                     '~upplies
         most of our import<,, · The u;s,S,11, /Soutneril Africa and Cyprus are
         major producers, ..Somo'18 othe1•' countries produce asbestos: in-yary-
         ing amo\11lts.             ·          · --                      ··      -
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                  <                  ,,(;~*){i;i{J1{ttittorws conies from.the. ba~k of an ..oak tree.or·v1hi.oh.·                                                                     ·) i.·,!
                       • tlier,fare, two                                                ,31lber andQ11ero11s
                                                                  SJlaoierI ~ (<:i.u~rcu&                 occidentalis),
                                                                                                            For                                                                          , ..
                        ·..:reasoJ\s'which naiiure ·alone controls, this oak tree gro1~i,in pommercial'                                                                                  ; 1,
                         ·•~tands only Jn areas, borderi)1g the !f-editerraneen Sea and till ,_attempts·
                        . to jSJ;e.blish corJ;: forests .in· this cotmtry nnd elsewhere have \thus fur                                                                                 L
                         · been •®.successful,· Muc11of the. Wnd on. which the cork troa gl.'ows is                                                                                    I\
                                            1 ,tile two .principal. crops being oork and pigs,
                          A.aso~cro]l;\,0.lld.                                                       The pigs
                           ~oot. out the,11liuerbri,1sh r,na,am p(ir.ticularly .fond· of thG .cork o.ak


t                 .-
                         , <icpri!S,. Unlikeieur own ouk trees, the cork oak is ·an avergmen·, the ;
                       · Jauvas ro;i~inb).in[t om: holly -leaves minu.s the .shar1> points,
                       _-·_.·,        -.-,_   ...   '.'         '..   ; .-   ,.   .       ·• '   .·..   .
                                                                                                         ·
                            "' . ; Virtua,llY all or. .the physical P"operties o:f' cork ar'o. based eit~br
                                                                                                            ..
                                                                                                             ,
                                                                                                              !
                                                                                                                 .   .       ·,   '         -     .   .   .   .       '.   '   .( .   f
                                                                                                                                                                                      . I
                                                                                                                                                                                        r
  .:':

  )\
                            directly o:r i;>dire9tly upori its-unique .cellular constrtiction nnd it, is ..
                        ·.. these physfoal 12.ropertios which Qccount for itil r=i.'•vtl.rious uses,/ .The'                                                                             I.:
                        · most importnnt •Of tho physical. 1,r_ciparties are buoyancy, c6mJ:rfessipility,                                                                              ·1
·"'
  .-,
•··•.•
.
   •.,.·.·1·                resilial'l.ce; J;'8Gist!lllC0t() moisture and liquid· ])Oli(itration, f,l.'161/ol'al
                            <J.U!Jlity;..low thermal conductivity,. ability.to       ab1mrb vibration; sta-
.:o:;.
 . ";         '             bility,•                 .          . . .                 .                  J.                                                       >                     r·
                                          ,- -_- ...   · -    .            :·  .  .. '.      /_ ..·- _·: '. •,,:  ..                       -.,.



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                           "_"_;..____                    ___                         .                                                                                         ,


                                                                                                                                             '!.-"""
                                                                                                                         '            __



                                  . The. wod.d •_s supply of: coo,k cqrr.~s from e. -~otnl ·    approximately
                       . tho' size of,'thuStnto            of Now Je~sQy, stretching i,Ji;•anari!'Ol'lbel.t for.·
                            m6re than 1 1000 mi~es. nlcmg the. northorn·coo,st ,of P.frica\and mora thsn
                            l,50D_milQs along the coasts ~f Portugal, Spain orid Fr.and,o, Annual·                                                                                      r
                            wqrld p;roducition is about 250 0000 tons of 1•aw cork or which the major •                                                                                 '
                         . producers u<innally aru: Portugal 35%; Spain'3CY;I; Algaria·.15%~- Owing
                          · to ita great disproportion of bulk to weight, ravr· c6rk is .generally                                                                                      f
                            shipJ?od .inml.x0d cargo ·vesaela from the Mediterrlllle!lll Area, ·A shiploaiJ
                            of, cork·.only would.neoessit~te v1Q.terballast,                                         "-
                                 .Th~ cork .indllstry in th~ U,S, wi~h few exception$ i.s located on the
                           Aj;lantic seaboard from i.tarylrui.d to New York andfnvolves· chiefly five ·
                       . : major production classes,       These classes with apuroximate J?rodudtion
                           value.for 1937 .are: .. cork stoppers and natur;l.1 coi•k spocialtias,
                           $3,500,000;   cork ins1Hatlon products, $6 1 770,000f. cork composition an,1'-.,
                           ~omposition'products,     $5,100 1000; cork tilu $115 1 000; and corlc marine '·
                        . goods, $130;000,. ·..         .   - .                            -

                         . . . ' CC>rkis often 'brokon into as many as 100 to 150. grades before. it
                         ,starts .inoving through a manufacturing· pl!lllt from whioh it may emerge
                        • in almost endless.w1rieties of products tor use in connootion vlith
         I                ·ot~l.'. products from. automobiles to watches~
         I
         I.
                                 /
                                 U;S,. imports for .1938 were approximately ao,ooo tons; ·re])resenting
         \                 about 4o%o:i:.the world production, · Owing to its. many industrial a'ld
         '               ·comme1•cial uses a shortage. of cork in a major emergency .would entail


   Jl
                           serious dif!ioulties,     :Even though substitutes are available and prac-
                           tical in a number of cases there. m,e others whereby substitution might
                        ' temporarily ·disrupt roass l)rouuction ].lrnotices of? therQ may be .a· short-
                          .age of a particular    sub~titution such ns rubber, itself a stategic
                           material,    Conservation, substitution und nt least soma degree of con~
         I
         l.
         l
                           trcil of cork stocks would bf necessary in an emergency ·were we denied
                           imports,

         !
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                                          GRAPHITE
                                          ---        .
                                                     .
                                                                               _,.
                                                                                 .
      .Sometimes called pl)llllbago or black lead, this mineral ·consists.of
 crystallized  carbon, CheJll.ically it is identical with the diamond but
 the widest of differonoes oxist in pl1ysicnl characteristico     botw0cn·tha
 two - one is the softast of minerals, tho other the h~dest,             ·    ·

    . .-Natural graphite lllBY.be ~ither crystalline   or 8!llorphoue, · Crystnl-
 line or flake gmphita is co=nly          understood to mean graphite in crys- .
 ta1s··o:t sufficient  si.ze to be ·•nsible to tha naked eye; ,much of the
 so-called runorphou"1  igraphi te shows a crystalline  structure under the
 microscope, but its_ paz·ticles are small and its ap:t,earance is relativ_aly
 dull,    Crystalline  graphite occurs either in veins, as in the Ceylon·
 deposits, ,or es flukes _disseminated in schists or other kinds of rock
 as in many of the deposits in the United States, · tlost deposits· of.
 amorphous graphite. are tho· result of the alteration      of coal heds by the
 intrusion of igneous rooks;. wnorphous graphite ie also made e.rtifioinl•        ·
 ly by means 01' tho electrio furnace, . Some amorphous graphlte marketed ·
 is contaminated with ~cal, 9oke, or other amorphous carbonilceous mnttor,

       (}raphite i~ used principally     "in'the foundt1· and steel industry tor
 l~nings, 'fc.cing, ruid for C6ro wnshos, rind crucibles,      for pai!l.ts and
 pigments, peac_ils, crayons, oonunutator brushes, stove polish, in lubri-
 cants and for the l1l!lllufactiire of elect:,:odes, · Amongthe many uses. to
 which high purity.·graphite,     either of natural or artificial      type, is
 especially well adapted muy be mentionod .brush<is for electrical          machines,
 speciaJ. i'urnace blooks, carbon raiser (fo:r rnising tho carbon content · ·
 of stee).), battery (dry-cell,) gr:;,.phito I electroty_pin~r -eraphite · and othBr
 grades used in brako,·linings, -clutch facings; oillol!s lienrings, graphite
 greases, rubber.~ompounds and.mold~, powder glazing, boiler graphite
 and radio resistors,'.   Military-uses     for graphite arc principally      for
 foundry· and crucible ~iork, Pllintil and pigments, olectrical      lll!lchino
 brushos,. e_lectrodcs a)ld dry batteries,
            .        .   •.     ·   ...   .,-~-·
                               .:✓,.


          Domestic supplies_ o;C---g°raphito.are drav/ll prinoipally from Coirlon,-
  Madagascar, Mexico; D,!in Ch6scn: _Cl,llla,lc.normally supplies all our im- . . __
   ports (itsually loasthrui 1,000 tons a year).of·a:rtificio.l         graphite to- ·
   gather with as mu~h as 300 tons of flako end_ somewhat lnrgor qunntitios
   of amorphous pr ultra~=ll        fli,\ko gl"i,phito, : The world's .largest
  ·sourcos of gfophite .aro ili C.cintral Europe but the matqrial Js mostly· _
   too low-gra1fo for export O"l"ersaas~ Actually graphite: has boen" mi.ned 1n
 · almost evory Q01mtr)• in tho world from Gree_nland (60 tOns.in_ 1,37) ·to
   South Atri~a (69 toM   in     1937); yet .cbylon .und, in later years, Mada-.
   gasc ar mi;ve been tho onl;)' /,:c,unt1•ie11that. have been able t<i got high
   enough prices for th~ir raw graphite. to permit it to be s))ipped to· in:. ·.
   dustrinl.:nations   all over tho world, ·_.Even K6:rorui (Ohose11)graphite has·•
   a r'lther, limite_d market _andMexican gr'lphite, notwithstanding its purity,
   is '1.11 shipped 1;o tl\e_United States,      Of a total world oiltpµt of:. _-. ·
   200.,000 metric tplis, the V,s.s,R, · recently hns been c:to_clited ~tli fur-
  niahin/1 over 40 pe;rcent; Gormany and Austria combined; over 20 pori:ent; ,<••·.'
   Chosen, another ao     percent; ond Mexic.o, .5 percent;•. Although the ton-. _._ .
· nnge mined _in·Coyl,on and Madagascar seldom exceeds ).5 percept .of the,
  world's total, the vallie iof their o,1,1tputis probablyJ:rfleast           Jµtlf ,
  of _the _world's toto.i, :,         ·                                   · ·
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                                                           ·HIDES


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                                                                                                                      I1,,\r
                                                                                                                        1··
                     of. _the-~arg~r en1rnel.s; while, -technicul:ly, 11Sk1ns1t.are _de~~ived_     from·.·          , .1
                                .animals._:~ _The·-interinediate size be,tl-1een·u:lo.r;~e ~"skin" nnd a :
                  ··:.:,,,Smriller                                                                               :; 1 ~ !I
                                                                                                                       1
              .     _sllilill. ','hid~". is.known to.the trade cs a· "lfip'!,. The. term;-_hov,ever, is.               [        ·
                   'not' very clearly d,et'ined; being used Viitii various meaning$ in dif:t'er~                       I :,,'
                   . ant; parts 'of tbe .viorld,o.           .     ..           .          ',         .                L

                             ffe beavie;
                    andbelti.ng leather;
                                              grud~s of hides ,i~ generally t1Mufactured int,6 sole ·
                                                    those of extra large surface.-. "spready" ~ides ;.
                                                                                                                       I1•
                       aro· ci:fteh \lSed·for upholstery;_·and in some cases'hides e;ro split into . _
                       severill l~rs;       ,or 'thiclal.essos, c,nd by this raei:uis used for the pro- ,
                       iiuotfon of boot \lt>P<?'s.     or.a variety known to the tric~e fS -"~ide Leather:•,.
               . . A,su !'loneral rule,,, hides, boqcuse ·or: their greater· tnickno;,s,,_.ate :par• · '
                 · · ·•ticule.rl.y the r:,:,; material of .. tho solo and hoav,• loathe:r'tannor,           while'
          .. ........ sldt1s go nnturally into· th~ p1•ocoss of m~ing. upper           ~Jioai.     bag, . and ..
                       glOVe_·-10:uthz.r,·· 1rh8.s.B:tvi0-indu~t1,•ie·s ·are:.entir.ely .,80!)arat0 ·and -~istinct.-,
            --~: .. -      ,•           '        .. ·                    .. -     .. ._,;>''  --          .

                           . The hides used· by s610-lonth0r tnn,ners;.:m'this country are of both
                   · foreign and domst;,o origin,          'rhe chief s6uroes of imported hides are
                      the meat'-:t'reezini; plnnts 01' South Ame:L'icu,_wliicl).in :recent :,ears havo
                      bacome'a dominont 1'aoto1••not only in the world's si,11.Ply.of beef' and ·
                      nmttm,,. b.ut or. hi.dos·and.sheepskins as waii, .. Bouth American. packer·
                     'hides arc_ lalo,·m ,,p thB,trade us "FrigGrificosfl, m1d.aro,.preferrod by
                      man'.ytanne1•s ovor•'atl other va1•ieties, _South American green-salted           ·.
                       hides ·f'1•omsmo.llor killing-pl_anta ai•e known .as "Saladeros" and        ....
                  · :·::_,~nto.derpS
                                   11,        ·   · ·    -    ·



                              01' tho many differont' hides, cattle bides constitute tho bulk of
                      the.world's      supply of hidos and skins~ · '!,'hoyoomprise at lonst 60 per~
                      cont of th$ total international         trade in hidos and a nmch ·larger pro- .
                      portion of the annual prod\,ction,          Calf ai',d.sheop skin? oonstiti1to- an
                      ll.dditional 25 peroont of the total,         The.,chiof domestic supply is de-
                    . rived :i:romthe great n:,eo.t-paokirig establiah1n0nts of the· Middle-\'lost;
                      ''Packer" hides not only dominate the .markets in this country, .out exer-
                      cise a strong influence on hide markets·througbout the ·world, Quite a
                      l&.rge 'supply also ooraea.from the smaller_ abattoirs in various cities,
                      Both·•city"'and      "country" hides, which.compare t6, "Saladeros" and
                     ·"Mataderos", coD]!liand,   a .iawer price than. 11PackE>r",. because they are not
                   · as.:,,' rule so viell takeli-off or cured,· .. All hides.are bought and sold on
                      a b·asii/:o:t' so many cents per pound, J'hey are. classified         by: (1) Geo-
                   ·. gra]lhical origi1:t; (2} Take-off; (3} \;/eight and sex        at  the a'lillllll;
                  · ' (4l .. Freedom
                         .     ....  .
                                       from def<icts,
                                           .   . . .
                                               .
                                                       ·       .·    ··.. -    ·· -. • .     · .·

                             wft;iithe except ion of tbe heavy type hid~s prin~ipaii:r us~d,:for
                      sole'. loath~r, .it is bulieved tbat no, particular    emergency problem will
                     ba encowitered .with the !t,ide sup:\)l:i', sincEI we are to a large degl;'Oe
                    . self-sufficient    in tllis iteni, Many.substitutes    are available and their ·
                   • ·11aeis' growing rapidly,     There; .is also a tendency towards. decreased,    .
                     im,litary lo.ather requirements as bilrness ruin other animal. transnort
                   ' tlquipmont give way _to mechanization,• · ·                             -
                                    _:-,- ..-
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                                           IODWE
   .   Iodine is a non-metallic element widHy distributed· in nature.,
 It occurs'in bluish-bk.ck rhombic ,p'.J.ata5·, of metallic lustre, -pe.cu-·
 liar Odor, acrid taste and neutral ronctiol\; SJ.)8.l'inglysoluble in. . . .·
 water, readily so in ether, and in alcohol, also in an aqueous _solution
 of potassium iodide ot sodium chloride.    It .volatilizes  slowly at
 ordina1•y temperatures, and produces a dark-blue color with gelatinized
 starch.. in cold solution,  ·
      IodiM     islargely usod in medicino both externally-and internally•
Externally, .it- is used as an antisoptic in the. form of tincture·:_or :!Jl
solution,    lt is also used as.a germicide and counter-irritant,        It is
also used _in many powders, and ointments,       The tincture of iodine, by.·
far the most popul1;1r, v:hother of alcoholic or aqueous solution, is
cheap, easily prepared, convenient to use and above·a11 highly effective,
This combinatio:i. makes iodine patticularly'well      adapted as- a gonerel .· .
antiseptic,·   Tho salts of iodine; runmoniwn,.potassiwn and strontium do
not possess the germieidal qu0.litias of the clement itself,        but are
used int<ernally
           '       e,s llltorativos.',.




       The commercial uses of iodine_ e.nd the iodi.dos are vnrinus and
oxtensive,      Small amounts ·or iodine are used as a chemical reagont in
laboratory work and' similar sir.all amounts .in _va1•ious organic compounds
and dyos, but the'chief· dellllll1.din .the· chemical·'rield is· in the _produc-..
tion 1f the sensitizing     s0lutions used in the. manufllcture of photographic.
f'ilms,'plil,tes and papers, Withiil tho .past te,•1years ·considor0.ble !llllcunts ·
of iodine' have been addod to· M,ttlo feed end to for.tilizer · for soils low ·
in iod_ine,       ·                  ..                    ·/
                     '
        Formorl:(sixty p~roent            of
                                         the y1orldl S ,;n:nual ;rl,ductiol_l of iodine -
· was produced in Chile \end twenty percent· in Scotlantl, · .Rel1;1tively small
· amounts were produced 'in Jup~-~ Franco· ruid. Java, . Vlorld production and . ·
  trade of iod:(_ne Mvo undorJsOhe_significant ch,angos in rooont yoars with • ..
  tho Unito_d States, formprly dependont upon a foreign monopoly·for' its                   1
  supplies, ·emcrgin_g _ail-the worid s second.largest
                                         1                    prllducer, ima.capabio · _-
  of obtubing_its      ontirc requirements fro:n·domostio soarcos, The.old                .
 method of obta!nin/l this ,impcrtan:f; item was from kelp, it is nr,v, produood
  in this'count;ry.from     S<llt brino's obtained frrm abandoned oil wolls,
  In 19~0, prior to./the · utilization      of domostic rosiJuroes, _tho prioo of'
  iodine was approxi1,iatt>ly $5,00 per p01md, ·.since that time ·tl\e price.'
  has gradua~ly declined to .around $1,_60 per pou.id~ This item, hoviever; .
  is boing mttinto.ined on tho critical ·list because of its high degree of
  ossentiaU:ty ond because. tho. industry iS Young Md .H is f'el{ that•
  some difficulty' may bo encountered in maintaining domostic prnduct:i•fa·
  to the degree nQCessary. fr,r emergency neods, .There is no satisfactory
  substitute for this item for field uso as lil1 anttseptic for,the iirmeci
  fore.es. ·
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    . !K,,

    ·I■J
    . ~,~J¾
        ~~i                                Klll)Ok·is o. _vegetable dov.n obtained. from the seed. p<lds o :f a widalY ·        L    I
        ~'

        -,~
-                                    distributed    tropical tree which is indigenous to Southerp_ As ~a and the
             ..,                    :ifast--Indies,    Java is the ieading center of commercial P'('oduction,     ·
                                    During recen1i y~ar$ _soroo.Jmpok has been .harvested ana_ exi)o:r:--t,ed frcm tM.
             l                    \:i?hil:).ipirie !$lands, wl:!ere fon'l!lrly the wild crop was a1101vod to go to
    .        ~                      \~ste~·-                                                     · ·       '· ·    ·
             -,,                                                                      . I ..




    -~J                                        Commoroi.a.lKapok. is a soft, Iustrou~ 1 inelastic fiber' having a 10,q
        tf?                             specific gravity, lt is too.brittle           for spinning; however• . iiho cellular

        ilI''·                          structur'l alld shape of the fib.~r together. with its _low spec.i ;,t"ic gravitY
                                        renders it_es}Jocially ada~table fo1• use as a stuf.flng mnter:i,!al, for life•
                                        saving equipment; .Pillows, mattresses ood upholstered furn:i.;turo,
                                    . , filler
                                                                                                                      - 'Asa
                                                   for· 1-+~esaving oqui~1'!Elntlt p_ossesses marked ad1antp'.e;es over other
                                        commercie.l filler.a,      Certfl.m·,-ooher t:opical tibe~s, th\J-t. is~- pachote, rad



    '·~q
         I                     >---' simal andhalsa




                                        ,
                                         efficient
                                                of
                                         quantity
                                                             possess qua~1ti':!-which rtmder t11omupp~ox::i.matoly as
                                                       as kapok for use 1n .11.e pr6se1'Ve.rs, · Ho;wver, the so. a1•e
                                  _, ri.etthor w•olucod in the Unit.ad Statos, nor else)vh"ero in sui'+ioient
                                                          importonc6;.     . -. .           ::,_,,, , .
                                           Tho estimated avorage annual world priiduction\ for the year 1938 wns
                                         922 tons, of which. tM Dutch East Indies was ,tM 1,mjot• :Producer,                 Th0
                                     200
                                     United  States imported
                                                      . .-
                                                              6 1 2[i4
                                                                  .
                                                                       tons.of
                                                                           . .· .
                                                                                  kapok in . 1938 .and
                                                                                                  I  .
                                                                                                       -9,3?9
                                                                                                        '    . .
                                                                                                                 tons , - in 1959•
                                           The rrlni:i;~l suhs-titutes, which_caii be used in' lifesaving ~ppliances
                                     are British Indian •"Kapok'\ (an inferior pro.duct, not genuine kapok) and
                                     reindeer haii:,
                                                                            OPIU'.l

                                            Opium is ·the coaGulated miLl<:yexudate, obtained by incisl.ng the-/,
                                      unripe capsule.·of the white poppy (Papaver. somniferum) an annual· her.b,
                                      indigenous to Asia, but cultiv;,,ted olsowhere,       .  ·         >-,,
                                             Crude ophlln is ~repared in irregular lumps or cakes of dark bro,·m
                                      color,    There aro .som1;twenty alkaloids <>f opium of'. which morphine and
                                       codeine aro the most J.lllportant, Morphine has been classed as tlio most
                                       important .drug in medicine for relieving pain, -The drug ia permanent
                                     • and doea not deter.io.rato, but finished P!-'eparations become lllluse,ble,'.,,
                                       However, tho eonte)lt of alki,lo~d!ll salts can bo recovered with only
                                       tho· losses incident to processing,      , . '         ..         . .    ..
                                              The principal- world sources are British India; Turko;, Asfa,and


                   -~!
                   ~.q
                   ~}:1


                   f,l
                                     .. Yugoslavia;     Importation· is contr.olled by tho. mircotics Di~ision of the
                                        Treasury_Department b~ allottin~ 'specified quotas to. recognized illJjJorterS•
                                        Shipping routes a.re via the J.loditerranean and Atlantic sen lanes, Two•
                                        thirds of the imports are made in United States bottoms, In 1925 author!•
                                        .ty was granted the surgeon General of the Army to accept and store in



                   I\
                                         reserve, stocks oi' opium or prepc.rations thereof, suitable for medicinal
                                         use which h,ave.been ceized and C')nfiscated by the authorities, At the · -
                                         present tirna the amounts .received in this !".llilllOraro considerod sufficio1rt
                                         for all-military   usos in a national omorgoncy,
                   \:""'5'_,
                   \Cf'.:.-_
                                                                               -26-
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                                                                 OPTICALGI.ASS
                                  This is another of tho formerly. strater,io niatorials · reoontly i
                             lowered to the ci•itical list mainly owing to illlproved condi tione
                             and facilities  for domestic production and to the accumulation· of
                           · stockpile reserves,     -     ·      : :.            · , ·.   · · ·                                                   ~
                                                                                                                                                       Il
                                                                                                                                                       '
                             •     Practically no optical glass Ohd_.-0ompa,:,ativelyfew opt1c111·
                             ins~ruments wore manufnctured in the Uni tod States prior to the
                           · Wor;t,dWar, All our needs in military optical glass and instru.l.
                                                                                                                                                       t'
                             mon:t;s-,•rere of necessity tupplied by importation because Europe,/                                                      l
                           · :ind particularly Gennany, hod a monopoly on the industry,·     . - ~,                                                    I
                               _ -Opticnl instrunients are essential
                             forces for no army or navy is properly
                             Vidod, with en adequate suppl;c,pf field
                                                                                          equipment for the al'lll£ld
                                                                                          equipped unles·s :f.t is -pro- -
                                                                                          glasses, cameras,_ fire     -_ ·.
                                                                                                                                              ,I
                                                                                                                                              ..       ·;
                                                                                                                                                        i
                             control nnd rongo :t:i.nding instruments,                    microscopes and lenses,                                       I
                                  As tho rrsult of·tho intensivo develo~ment'and experimenta- · ·
                             tion oonducteC: botwooii.April 191? and Juno 1918, we Wlre at•the
                          · end of that timo manufacturing optical glass in sufficient qu®tity.
                                                                                                    . _                                                 I
                                                                                                                                                        i\ ,,
                                                                                                                                                       ·11 :1
                           · and _quality to ortcctually moat ossontial requirements of. the f!t:r:my                                              -I              I

                             an_dNavy, At the ·end of August in 1918 there ware five plants .pro~                                                  ,,'
                             ducing optical glass in su:t:ficiont ou:t,put to moot military ~d naval - ,i ·                                             iI     •
                             noeds.                                                                                                                    ·t
                                                                                                                                                        [
                                   Since th~ World war Al11aricnnJiu,.n~~~turors havo hod dif:t:iculty
                             in s\io_cessfully ccmpeting .with :t:oroign producors having sources
                             of>cheap· skillod· labor at· their commond,           ;· - - ·· -,. · · ·.
                                                                                                                                                       1
                                  . .   . ·. \- -,   .   .   -    .·..   .   .   :.   '              -   .·      ''.
                                                                                                              _--.         _ ·-.-.. . .
                                                                                                                       . _··.:
                                                                                                                             _            .
                                                                                                                                                   - ,
                                                                                                                                                        'j·
                           . - Wi,th the 'adv,urtago .now obto.ined; namely, a _GO  percent tariff
                           on .blanks. an~: a ·oori•espondingly higher .import duty on :t:inishad . · _·                                                   i
                                                                                                                                              --:1
                           ProducJs, _our domestic industries are· furnishing approximately.• 00 _·                                            ...·''
                         __psrceit~.6~_ batter of.present peace time: needs.- Howev<ir,,oonditioifs'                                               "' j
                                                                                                                                                           !   C

                           hav(l_.-been·S\lch in the .industry tl)at domestic produoUon is not         ·· ·                                                 '~
                           <!evTloped to a. point vrherpJnports can be exc;tuded, · . .         ·. .·.

                    ./     I While the' sit~ation                 or
                                                        the .United states is ~tini.tely  be~ter
                 ·.' ·.at·the present time than-.at.tlie beginning of'l91?,-.tho· Etcquisition
                       0 :r,war re~ervos was consido.red necessary     and the supply PNbleJJI in. ·
                       any future. emergency ,is thus. minimized to the oxtent reserv!J    stocks-. ·
                       on hand will meat requirements ~til
                       expanded,              ·· ·· · -     · · -
                                                                  production facilities
                                                                             -" ·
                                                                                         .con be




      ·,;_,~·--·-·   - -~-~-; -
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                                                        FHF.:troj,
                :       .       . 7                                                                      \ .
               . Phen01° {Ci;lfuOH), sotnotim.,,i o flll.eil crystal co.rbolic e.ci<t or hydr9xybcnzeno
        1"s:0.··C:ol~rle.:ss;·_p·oi130n0)Js·solid_ '?f·chr.::r.•':'.Qtoristic
                                                                            odor; · It· is n :t:m.tl.li'-~l··
                                                                                                         coal
    , . ttll' pro-duct rind _:is!)].so produced· eynthe'tic,!lly,       · Its. chief use" .is in tiie
      m!lllufacture of synthetic          rosins er.d piantics,        Other us,es aro for
      · proservativ,,s/     mitiseptiris,     solvonts,;dies       end pharqaceuticals,·.    An importn,nt
      . nii_lit~:rf. ·usQ Jn i~-- th~ ciemtt'act~e:: pf c;,el'!:iain• typeEr·of. Oxplosiiros used ill /.
     __quantity by _th_efil'medforces·,                                  .                 .              /
       .    '       .       '   '     '.   .   '   '                                                             ;·
           : : The -in_croas_irtg}i_C?olr,pr:m~t     ot_:·:tli¢,.i:,lnn:tics_·:indu·stcy'-"1:ill:,rsi::lliiO· _/
       increasing       !)roiiuction of phenol.· From 1929,-to 193::l.thc-,ci.,'lriual produotidn
      ot   phenol i!'.orcased :!'rem 24 million p6w1qs to 33 mUlicn pounds, a1i,1.                          l11 \-
     · 1937 h~d _doub~~4-·to .-re9.ch_.an nctn?l,.··.pr:qi'it•.ctioll-'of65 mil,lion r,om1a,1:;-.)           . In· :
       19~,-.thc,.'lnst       yo(jr for whic!l a ;l'ullproduotion             return he.s booiJ..:c·omji-iled;
       the -output -of phenol decrocw0d t<>··ab0ut 44/, mj.llion pounds, Jl'i auc·ordruic<>
       with _gcne~al .bu'E::inE/s5    ,conditi_ons. · ~hf 1939. production .wi:;s~rol;Jc.bl~r.cloSe
       to the 193?_ output.·          Tona.ency in chc·industrJ            fs to fe.'ior thc.~ncr8asing
       dey(}lopmcnj; ___ of_ rucilitioS.    for. ym:at~s!ctm,·1_11g     ·sy_nthotic- phenol, a;3:rigr,inot
       naturnl phe:101: In-cbntr:·r.st to· condition~ c.t. the'tll110 or .th0-Wbrld War,
                                                           ti:
       natural phencl ·1;:·rm-r cor.s~d.orod. a'E:- r:Jsor.veor additional sO\lrce -~o.. '
       supplcmoat tho . r,roi:uctic,:;
                                 .       .
                                            of· . synt!ie.tic
                                                        /
                                                               phe:101.

             Fo; civj.li~n ~s~, .pl~6!101'}3_~- imp_ortont bnso for ;nmiy ,phenolic_ I'csins~
      one of the. oldes·t and most wideiy :used of all the. synthe\;ic resin or· plastic
    , groupa,     For ..militoo.-y purposes practically      all of the roquir!la. phcn9l is.
      for the manufacture of amonium picrate,           al though primarily for ·they'
      manufacture of _pj.crio a~id. _.PhenOl !'!1ay_be regarded ns an.-inteimedj_ate
     'product in the 1nenufacture· of jJicric. acid, starting with: the easer,tial
      rawmaterials       of benzene; ·sulfuric    acid_, nitrieaeid;       caustic soda'(and
    · chlorine for the chlor 0 benzoi procesi,).          Whether the pforic acid is·
      ·considered to be made by tM phenol_process• or by the chlorobenzolmethod .. ·
                0
      wouJ.d ·deteil11ine whether there actually would be a substiin.tial miliiacy.           ·
      requirement for phenol as such,          Th~ raiv lll!l.t•,rials v,hich would be
      required to. make picric acid directly          by° tho ohlorobenzol. process, wou.ld
       include those materials. required to tr,akci. phenol, althou,;h phenol itself
      would. not be produced· by thi>.t method; .. In thic;raiJpoct, there is actually
      no mil:i'tal'.'y substitute   available  for picric acid,

             Ili."1958, from a· total production of 44,500,000 pounds or phenol, about
      35,000,000     pounds of pbenolic (phenol-formalde!lydo) resins were pr'cduceci.•.
      This group consti tutud 34% of all c_oal tar rosins and· 2f1i/,of nll synthetic
      _resins produce:l ill 1938.
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                    Plat;inura is one o{ the rare and m•acious motals which has many-uses ·
              in industry,     It. is necessary in the making of sulfuric an_dnitric acids
            . and is used in many laboratory instruments,·- electrical·       contacts and in ·
              the dental alJ.d_jewlecy industries,     In rece1\t years Alaskan platinwn -
              production.-has _shm•mphcnominal increases.        Output (chiefly placer
              platinum) has advanced progressively       from 11,552·owicos in 1935 to.
              49,380 ouncws 1n 1938. Chief world producers are ·canada; -about ono __,-      i- ·
            · half; u,s,s;R,,     South Africa, U. s. and Ccilo.mbia:iu'the order named:'. '
              In tho event ·or a shortago oi' platinum ·during an. emergoncy, it is
              belfoved that a substantial      amount c.ou!.d be obtaincd·•in <the rorm or
              jewolry from tho large domestic supply availeblo _in this form, ·A ·
              limited_ amount of ·platl.num is. still hold in rcsorve from tho supply·
              acquired by the.Viar De::;,artment in 1917-18,
                               I                      .              •   ,       .
                                                                                      ·

                                                               . TJ\Nlmm MA.'rERIALS
                                                                                   .                                                          i'
                                                                                                                                              i
                       A. ta1111irigmat_orial is a.sublltano!)C:posseastng-, pi,opsrt1e_Si11iJb,ll.cb
               convert raVT"hide into·,. pnrmanent,- :non-putresoible material,  leather,
                                                                                                  ·will                                       u
                                                                                                                                              r ~
              The. principal materiala uood in tanning are obtained fran certain barks,
              woods; fruits,   nuts, etc;; which contain tannic acid,     Cort_ain metallic.
               salts, such ·as chromium salts, nrp sometimes utilized ·111tanning; however,
           ~-'those are us ally used in co11jw10tio11with veg~tab).c :materials;
                                    ,I   .                                                    /          ·.\


                    Th_omost -imp'ortant natural ~ourcos -of. tanning ma.torie.ls are:· Roots
            .·conaigne; Woods - chestnut ond -quobrncho; Barks - oak, hemlock, wattle;
              mangrove, ~d larch; Le·e.vos - s·umac. · or these mat_erinls ch0stn1.1t·;:oak,.
              hemlock, lnrch; sumac and -cone.igno.r::ro ·indigenous to the United· States,
                                             ~-.,...,,;-;:·'
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            • / In ge11ere.1_,,-t';m1ingextracts <iro prepared by.leechlilg tannic ;acid
           bearing vege:linblc mderials with. hot water: .. Tho resulting liquor,_.:.ci:>ntaihing
           tannin ,r is condensed, usually· in. vacuum ovaporat<>rs; until .it contains -
    i 1 ·· twenty-five    percent tnnniil. · In this .condition it is ·marke.ted as tannin.
      IC . extr,aot. ,' Some producers continuo .t.he evaporation untii tho extract is
     ,I· rod\iced to .a solid_ ·or pov1der ond JP,~:rket it in this .form;. · ·
     :1;           ,                                             .           .       .   ..       _- -         .·,. ,-: . '   . : ·.   , ..
     ,       . /     Don,estic coi,swnption is ..estimated to be in tho neighborhood of:
               5bo,ooo;ooopounds onnuolly                      or
                                                   which npJ!['oximateJ,y f'.i:t'ty .percent is
             . imported. · Imports are duo to _the preference Qf tanners for foreign . •
              fnater:\lnls, either rrom quality or price considerations,-cor           n combination·
             1
               of the two, Tho bulk of imports is derived from· SouthJ1111oricn, mainly
            : from .itrgentino. and Paraguey, •These imports, arc pi ther iri ·the form. or: ,_·:·_·
               cOJIUllorcialextracts or as r<>wmnterinls• to be oxtrq.ct<1d i_n.this ·cowitry/ •
                    Tannie acid rondo·.chomico.lly encl other. synth~ti~ mat~riills ,have bc~n
              plncod :futthe _market and tried by the tilnning industry; .however, none ·
            . of thse h,:,s proven o.ssatisfactory   its ·thu materials obtn_ined from yegotabl!l
              sources.'•. Conti.nuous r_esoarch is being .001:tducted _toward the. dcv~lopment ·
              ot a satisfactory substitute_ for ·tho natural product,             - · ·· ·
                                                                             -29.:.                                    ..
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                                                                                            VANllllI11M

                               This element is a metal widely distributed,         It is found in conunorcial
                         quantities   in a limited n,.nnbor cif operations,   principally ·i.n four_ countJ'.'.ies
                         of which Peru normally is _tha moat important.        In 1938 the United··st..,,tes
                        became the. largest vmrld proclucor, Greatly incree,sod output in 'the_ .
                         Paradoic Valley region_ in Golo1•ado m·relle·d _tho ·!domestic __
                                                                                         total.· The oi,es -·
                         of vana~iwn most frequently found are ce.rnotlte, patro11it_e, roscolite.
                       · ond vanadi'lito.    United States production of vanadium -oontained ilf.-a.11
                         t;•pcs of ores from flhich it was recovered totaled l,613,J.55 pounds" >in.1938·
                         compe.red with 1,086,125 ..potmds in 193?, .Po.spite tho_-largo_ increasc:in •
                         domestic prcduOticn imports for consumption in tliis country. inorensod.
                       _Impo1ts wero 1,384,320 pounds in 1938, · ·

                      .           Ferrovanadium is ·used in the manufacture of stool alloys •. The
                            metal is also alloyaa with copper •. · Salts of vnnadiUJT\nre used to_color
                            pottocy ond glr.ss; .and nlso aro used ·as mordants iri dyeing, - "Red Coke"
                            or crystalline   vanadium oxide is used as a catnlyst in the prep1¢'1Ltion
                            of vanadium com:pounds.-                                                       ·


                                                                                                  WOOL
                                                                                                                          •·        .   .   ..           l
                             Wool is the most important animal., fiber, _nnd tho heal.th and well-
                      being of-,both the __c-ivilirut pouulntiori' and the armed forces depends to
                       a: considero.blo ext\in:t upon tli~ supply• bf this mat9ri.al.. . I11 normn_l
                       time~ wo ,import a .consider"lilo supply f?'om the cou,iltries of Europe .
      j                nnd from ,'lrgentinc., 'lJrugu.ay,_Austrnlfo, ·south Africa and ·Canada, · In_
                    ·. timo of war, bqth.-our Ariny arid Navy ttro olothed in wool, •:t1-t110iit
      t             ; imports thore·viould be s13ffous ,shortagos of: th.is :material,, .. The ·
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   ·.!l                princi:po.l ntilitary·uses      of wool' ore in tlie manufacture of ·01othing,:-c.                                        0
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                       blankets·; felt, horse oq_uipmapt,. bunting and. flannel;                -        --
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                        / . puring 1939 vre imported 98 1193,000 pounds of. app:;>rel )'iool while
                     -'producing 441,897,000 pounds during tho sell!e_period,
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                    /military      uses for wool is j.n the supply _of unifol'JIIS,_;These shouid be
                       available as fast as porsonnei- for tho armed forces is _mobilized.
            -... / ·\'loolan cloth must bQ available_ befora·manufacture               co.n·-11t'11't,.At least·-.·
                 , 90 days will he required to conver"t; tho· nocessai-y rsvf ~10011ntci                   cloth ; .
                       unless a sufficient        su:pply°'of unifol'lll cloth is available .at ,the begilllling .
                       of ney 'emergency. · It is very doµbtfui that ,;uch will be tho case for a·>
                       major emergency mobilization, -Ways<and meroi.ii£11'<>          boini considal'ed for the
                       purpose -of providing ri ·resei-vo of suit_ab].e wcio].cn_ci<>th,-·· Such u·roservo ---•      .-•-
                        could be rotated by. current military uso :!'ran this resarva replacement' • _.·
                       .boing made at tho time with_ nmi clotli purchaseo, 1'r9m-tmni111l-;approprtat1011s
                       -provided for unitol'lilcloth for the reguiar establishment.··                · ·-      ·
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                              ADMINISTRATIVE HISTORY

                                           OF

                                THE BUREAU OF SHIPS
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                             FIRST DRAFT NARRATIVE
                       PREPARED BY THE HISTORICAL SECTION
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                     linoleum,       Dlllrino PlyYood for emergency repairs                      and for a Turse number of

                     applications          where fire      and water are destructive                   elements.

     h               Shark Repellent           Kit      A materio._l for the protection                  of personnel         from

                     attack      .by sharks     has been developed,                A water eoluble         material      and a

                     chemioal      have been combined and enclosed                     in a. unit deaiB11ed to attaoh

                     to the individual             U'l_ers life     jaoket,     The unit         has a quick opening device
                     for immediate          uee,

                     Salt     Water Soap and Laundry Methods                    Conservation           of fresh      water aboard all

                     ahipa     is of major importance.                As a large        amount of water is required                    for

                     uao by the ship •s laundry,                  a ealt   water      soap and tnatruotions             for itll' liae in

                     laundry     practice       baa been developed            which eaves from 5,000 to 7,000 gallons

                    of fresh       water per day on a orutser                 claee     ship,

                    Mess gear of High Impact Strength                         Glass -and china tableware               suffer         consider-

                    able      damage from shock due to gun firing.                       Tableware        made of glass         end of

                    plastic      material      baa been developed             which reduce.a this           breakage         to a minimum

                    under battle           oonditione     of today,

                    Asbestos-Glass           InaUTution Lagging Cloth                  _Aa?-:lottage of asbestos              fiber     and

                    fa91litiea       for weav1ns cloth             necessitat_ed        development        of an alternate.              By

                    twistins      an asbestos         yarn around a glass             yarn,     a g),ass-nsbBstoa            yarn was

                    produced      whioh aotually          produced a better             and more workable            cloth     of about

                    1/2 the weight           and which used about             1/2 the asbestos            used ii:J. the Standard

                    asbestos      cloth,

                    Resin-Bonded       Bearing       Stripe.          Lignll!l1 Vitae     baa been the standard                bear:ins

                    material      for stern        tubes for yeal's,          A natural         rubber     bearing     stdp      was

                    found to be more satisfaotory                   than wood, but the shortage                    of natural         r.ubber
•l
                   neoeseitatad        an alternate         for r0;bber bearing               strips     or going baok to wood.
1d
                   The resin       bonded materials            were developed           and hav_e gi'ren satisfaction,


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                  Affidavit of Samuel A. Forman, M.D.


                     EXHIBIT 6
                               TO DECLARATION
                     OF REAR ADMIRAL BEN J. LEHMAN (RET.)
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                                 AFFIDAVIT OF SAMUEL A. FORMAN, M.D.


              COMMONWEAL TH OF MASSACHUSETTS                      )
                                                                  )       ss.
              COUNTY OF MIDDELSEX                                 )


                     I, Samuel A. Forman, M.D., being under penalty of perjury, declare and say:

                     I. I am a medical doctor specializing in preventive medicine and occupational

             medicine. I received a B.A. degree from the University of Pennsylvania majoring in

             history and biology, graduating magna cum /aude in 1973. I attended Cornell Medical

             School, graduating with an M.D. degree in 1977. I also received a degree in public health

             in 1977 as a result of a joint program with the Harvard School of Public Health.

             Thereafter, I became board certified in occupational medicine after attending a residency

             at the Harvard School of Public Health.

                    2. In 1977, I went on active duty in the United States Navy, and I performed my

             internship at the Bethesda Naval Medical Center in Bethesda, Maryland during 1977 and

             1978. I remained on active duty in the Navy until 1983. Thereafter, I continued to work

             for the Navy as a civilian employee until 1986. My qualifications and credentials are

             more fully described in my curriculum vitae, a copy of which is attached as Exhibit A.

                    3. While on active duty in the Navy, I ran an occupational health clinic at the

             Naval Weapons Station at Seal Beach, California, and assisted in the medical programs at

             the Long Beach Naval Shipyard. Among other responsibilities, I assisted in the asbestos

             medical surveillance program for over 2,000 employees. At any one time, I was

             following 200 cases of asbestos disease.
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                4. In 1982, I was assigned to the Naval Environmental Health Center at Norfolk,

        Virginia. While stationed there, I designed occupational medicine programs with regard

        to Navy-specific occupational diseases, performed health hazard evaluations, inspected

        the occupational health programs of government facilities as part of the NAVOSH

        program, carried out epidemiologic studies, and trained Navy doctors and nurses in

        occupational medicine.

                5. In 1983, a Navy JAG officer for the Naval Medical Command requested that I

        become part of a team to locate, digest and organize government documents for

        production in asbestos litigation. Over the next year and a half, I investigated the Navy's

        historical handling and knowledge of various industrial hygiene issues, including

        asbestos disease.

               6. In 1985, pursuant to Navy orders, a copy of which is attached as Exhibit B, I

        completed my review of Navy knowledge and practice in industrial hygiene, including its

        awareness of and response to health hazards of asbestos, as a formal assignment. My

        search for documents took me to the National Archives, other warehouses and storage

        facilities for record of the Navy's Bureau of Medicine and Surgery. I was given full

        security clearances for and access to these facilities. I also conducted research at private

        facilities such as Harvard University's Countway Library of Rare Books.

               7. Following my research, I published an article entitled "U.S. Navy Shipyard

        Occupational Medicine Through World War II" in the Journal of OccupationalMedicine,

        Vol. 30, No. I (Jan. 1988). A copy of that article is attached as Exhibit C.
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                8. On the basis ofmy research for and regarding the Navy, I concluded that the

        Navy's occupational health programs have paralleled, and at times led, the development

        of occupational medicine and industrial hygiene with respect to asbestos-related disease.

        From my review of countless Navy documents and my studies while employed by the

        Navy, I acquired extensive knowledge as to the state of Navy knowledge and awareness

        regarding the hazards of asbestos. Based upon that review, I conclude that the Navy's

        knowledge in these areas was quite complete when compared to available knowledge at

        the time, and that by 1940 the Navy was a leader in the field of occupational medicine

        relating to, among other things, asbestos exposure.

               9. Based upon my review, I am aware that the Navy knew by 1922 that asbestos

        exposure was a potential health hazard, and that its knowledge and awareness continued

        to develop throughout the following decades. This development is evidenced by, among

        numerous other documents, the following:

                       a. Louis I. Dublin, Ph.D., et al., "Instructions to Medical Officers," U.S.

               Naval Med. Bull. 17:883, 885-86, 897-899 (1922) (listing "Asbestos workers"

               among "Hazardous Occupations"). The document, a copy of which is attached as

               Exhibit D, originated from the Division of Preventive Medicine of the United

               States Navy Medical Corps.

                      b. Handbook of the U.S. Navy Hospital Corps (1939) (workplace

               inspection checklist includes: "What precautions are exercised to prevent damage

               from pipe covering compounds? What asbestos hazards exist?"). A copy of this

              document is attached as Exhibit E.
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                     c. Annual Report of the Surgeon General of the United States Navy

              (1939) (describing asbestosis as "an industrial disease of the lungs incident to

              inhalation of asbestos dust for prolonged periods" and noting risk "continued

              exposure to present occupational conditions"). A copy of this document is

              attached as Exhibit F.

                     d. Ernest W. Brown, M.D., "Industrial Hygiene and the Navy in National

              Defense," War Medicine, vol. I, 3, 11-12 (1941) (listing asbestosis among "chief

              occupational health hazards in navy [ship ]yards" to "workers engaged in the

              manufacture of asbestos insulating covers" and describing appropriate measures

              for control of asbestos exposure). The author of the document, a copy of which is

              attached as Exhibit G, was a Captain in the Navy Medical Corps.

                     e. U.S. Navy Department, U.S. Maritime Commission, "Minimum

              Requirements for Safety and Industrial Health in Contract Shipyards" (Jan. 20,

              1943) (describing sources of asbestos exposure and listing appropriate

              precautions). The document, a copy of which is attached as Exhibit H, was

              approved by the Navy, and an introduction was co-signed by Secretary of the

              Navy Frank Knox.

                     f. U.S. Navy Safety Review, Vol. 4, No. I (Jan. 1947) ("[e]xposure to

             asbestos dust is a health hazard which cannot be overlooked in maintaining an

             effective industrial hygiene program"). A copy of this document is attached as

             Exhibit I.
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                 I 0. All of my opinions set forth herein are held to a reasonable degree of

         scientifie certainty.



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        Sworn to and subscribed
        before me this 23rd day

        of~

        NOTARY PUBLIC
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                                EXHIBIT A
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                                     SAMUEL A. FORMAN, M.D.
                                              One Research Drive
                                                  Suite 301B
                                              Westboro, MA 01581

                   (508)-948-6010               (508)-948-6095 fax            (617)-945-9645 home
                                          sforman@statysone.comemail

     EMPLOYMENT
     2005 - present                 Consultant, Cambridge, MA
                                    Expertise in population-based case management, disease management,
                                    predictive modeling, proposal writing, professional publications,
                                    toxicology, and general management of health-related enterprises.

     1997 - 2004                    StatusOne, Westboro, MA
                                    Senior VP, Chief Medical Officer and Co-founder
                                    Services, consulting, software and Internet services helping risk-bearing
                                    health organizations care for their frailest members. Develop predictive
                                    models, organize and execute medical management services, formulate
                                    client relationships, contribute professional papers and monographs,
                                    evaluate competitive offerings, and represent SlatusOne to medical
                                    audiences. A Principal Investigator of the CMS Medicare Coordinated
                                    Care Demonstration with Washington University Physician Network. Led
                                    proposal writing for American Healthways CMS conlracls.
                                    StatusOne is an American Healthways Company since September 2003.

     1995-1997                      Blue Cross and Blue Shield of Massachusetts, Boston, MA
                                    Medical Director, Clinical Improvement
                                    General management responsibilities lor pharmacy, home care, and
                                    several health care joint ventures. Lead clinical improvement projects
                                    involving all specialties in a 100,000 member integrated delivery system.
                                    Provide general Internal medicine care.

     1986 - 1993                    Procter & Gamble Company, Cincinnali, Ohio
                                    Consultant, later Associate Director, Occupational Health
                                    Manage U.S. self-insured health programs for 30,000 employees
                                    comprising the detergent, paper, pharmaceutical and food divisions.
                                    Build epidemiologlc function, design, contract for, and execute studies.
                                    Model programs reapplied worldwide. Manage 5 physicians, 3 nurses
                                    plus support staff. Deliver clinical services to technical center staff and
                                    senior management. Direct 70 site clinics and 60 part-lime physicians.

     1984 - 1986                    Coastal Emergency Services, Inc., Virginia
                                    Clinical services in emergency and general internal medicine.

     MILITARY SERVICE
     1982 - 1986                     Navy Environmental Health Center
                                    Norfolk, Virginia
                                    Lieutenant Commander, later GS-14 Consultant In the occupational
                                    medicinedivision
                                    Set standards, review complicated disability claims, apply statistical
                                    methods to health care delivery, inspect clinics for QA and UR, lecture on
                                    professional topics, perform epidemiologic studies and health hazard
                                    evaluations, manage development and implemenlation of clinical
                                    information management system.
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      Samuel A. Forman, MD                                                 Curriculum vitae


      1980 - 1982            Naval Regional Medical Center
                             Long Beach, California
                             Occupational Medicine Service; Head, Seal Beach Naval Weapons
                             Station clinic. General and occupational clinical and preventive programs
                             for personnel at conventional, nuclear capable, and special weapons
                             industrial base. Manage asbestos medical surveillance program at Long
                             Beach Naval Shipyard.

     1978 - 1979             USS St. Louis (LKA-116) and USS Duluth (LPD-6)
                             Based al San Diego, California
                             Ship's physician
                             Western Pacific operations, general office and emergency practice.
                             Vietnamese refugee assistance.

     EDUCATION

     1993 - 1995             Yale University School of Management.
                             New Haven, Connecticut
                             Master of Business Administration
                             Concentration In Organizational Behavior and Operations. Total quality
                             management, health administration, finance, marketing, accounting and
                             statistics. Coordinator of Yale/Columbia Graduate School of Business
                             Negotiation Colloquium.

     1979-1980               Harvard University School of Public Health,
                             Boston, Massachusetts
                             Master of Science
                             Residency in Occupational Medicine

     1977 - 1978             National Naval Medical Center,
                             Bethesda, Maryland
                             Internal medicine rotating internship
                             Assistant senior intern.

     1976-1977               Harvard University School of Public Health,
                             Boston, Massachusetts
                             Master of Publtc Health

     1973-1977               Cornell University Medical College,
                             New York, New York
                             Doctor of Medicine
                             MD-MPH program.

     1970 - 1973             University of Pennsylvania,
                             Philadelphia, Pennsylvania
                             Bachelor of Arts maqna cum laude
                             Majors in biology and history.




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                              Unpublished 1932 Study of Asbestosis Among Manufacturing Workers:
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                              Ducatrnan AM, Forman SA, Teichman R, Gleason RE: "Occupational
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                              Ducatman AM, Yang WM, Forman SA: "B-Readers and Asbestos
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                              Forman SA: "U.S. Navy Occupational Medicine Through World War
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      Samuel A. Forman, MD                                                   Curriculum vitae


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                              With Occupational Exposure to 1,2 Propylene Glycol Dinitrate," Journal
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                              Exposure," Journal of Occupational Medicine 24(11 ): 932-934, 1982.

                             Forman SA, Castell DO: "Food Intolerance and Peptic Ulcer Disease,"
                             Gastroenterology 75(1): 162, 1978.


     ACADEMIC AFFILIATIONS
                             Organizer of Healthcare 2005, Yale School of Management, Feb 2005.

                             University of Cincinnati, adjunct associate professor of medicine, 1989 to
                             2003.

                             University of Cincinnati, chairman of the post-graduate Medicine Advisory
                             Committee, 1988-1990.

                             Eastern Virginia Medical College, adjunct assistant professor of family
                             practice and community medicine, 1983-1985.

     LICENSES and CERTIFICATIONS
                             Licensed to practice medicine in Massachusetts, Virginia, California and
                             Ohio.
                             Board certified in Occupational Medicine.

     MEMBERSHIPS
                             Member, American College of Physician Executives, American Medical
                             Association, and Massachusetts Medical Society
                             Fellow, American College of Occupational and Environmental Medicine.

     INTERESTS
                             General management within health related businesses. Innovations,
                             strategy and leadership in the cost effective delivery of medical care and
                             the maintenance of high patient funclional status.
                             Enjoy travel, rowing, writing fiction, numismatics, history, and antiques.
                             Company surgeon of the Lexington Minutemen historical reenactors.



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      US Navy Shipyard                                                       Occupational                           Medicine
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      Samuel A. Forman, MD, MPH



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                    894.                l>IVLIIOII'01'- l'lllll'Blf'IIYa   XIIDIOlllL   r.a.zrn.
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           plntor that is so constructedthat It ean be worn tinder a welder's                                                                                 of all cues, b111>       f9r 011~'·8.2 percent of the lost-time
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           shield, ia hebi&-  recommended 'for uae b:rthose exposed' to metal
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           ·to inexperience alql)ng'many of the weh!era' helpera, ca:relesan...                                                                                     of aDperviaor. in .claaaea of .40 to 60 have been.initiated.'
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            ind failure of the welder lu maw iustancea to· llbleld hla work                                                                               supervisors in ruardin8'the safety and health of their men. · ,
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            about In the yard to and from jobs and to and.from work. •
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 Salt Lake City, Utah 84111
 Telephone: (801) 323-5000

 Attorneys for Defendant Viad Corp. f/k/a
 The Dial Corporation

                 IN THE THIRD JUDICIAL DISTRICT COURT IN AND FOR

                           SALT LAKE COUNTY, STATE OF UTAH

  HOWARD WADE AND
  DEANNA LYNN WADE,                                   NOTICE OF NOTICE OF REMOVAL
                                                      FILED BY DEFENDANT VIAD CORP.
  Plaintiffs,

  v.
                                                                    Case No. 210907011
  INDUSTRIAL SUPPLY COMPANY, INC.
  et al.,                                                       Judge Randall Skanchy

  Defendants.




         PLEASE NOTE: Defendant Viad Corp. f/k/a The Dial Corporation (“Viad”) sued

 erroneously herein as successor-in-interest to Griscom Russell Co. (“Griscom-Russell”) filed the

 attached Notice of Removal with the United States District Court for the District of Utah, Central

 Division on February 14, 2022 pursuant to 28 U.S.C. § 1442.

 DATED 14th      day of February, 2022.
                                              Respectfully submitted,

                                              CHRISTENSEN & JENSEN, P.C.

                                              /s/ Rebecca L. Hill
                                              Rebecca L. Hill

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                                 CERTIFICATE OF SERVICE

         The undersigned does certify that on February 14, 2022, the foregoing Defendant Viad
 Corp.’s Notice of Removal was electronically filed, as required by the United States District Court
 for the District of Utah, using the Court’s CM/ECF filing system, which will provide notice and a
 copy of this document to the following as a e-filer:

        Richard I. Nemeroff,
        THE NEMERFOOF LAW FIRM
        5532 Lillehammer Lane, Suite 100
        Park City, UT 84098
        Attorneys for the Plaintiffs




                                              /s/ Rebecca L. Hill
                                              Rebecca L. Hill




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